Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 1 of 189




            EXHIBIT F
             Part 1 of 4
                Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 2 of 189

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 9,733,811 B2                                                                                               Page 1 of 2
APPLICATION NO.             : 14/059192
DATED                       : August 15, 2017
INVENTOR(S)                 : Sean Rad et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:



         In the Claims

         Column 25, Line 20, after "enable" insert --initial--.
         Column 25, Line 26, after "enable" insert --initial--.
         Column 25, Line 28, after second reference of "user", delete "both".
         Column 25, Line 31, after "regarding a", delete "second" and insert --third--.
         Column 25, Line 34, after "of the", delete "second" and insert --third--.
         Column 25, Line 37, after "the", delete "second" and insert --third--.
         Column 25, Line 39, delete "determining to prevent" and insert --preventing--.
         Column 25, Line 40, delete "in response to" and insert --after--.
         Column 25, Line 41, delete "both".
         Column 25, Line 41, delete "positive" and insert --negative--.
         Column 25, Line 42, after "the", delete "second user and the second".
         Column 25, Line 43, delete "user has expressed the positive preference indication".
         Column 25, Line 44, delete "regarding the first" and insert --third--.
         Column 25, Line 46, after "regarding a", delete "third" and insert --fourth--.
         Column 25, Line 49, after "representation of the", delete "third" and insert --fourth--.
         Column 25, Line 51, before "potential match", delete "third" and insert --fourth--.
         Column 25, Line 53, delete "determining to prevent" and insert --preventing--.
         Column 25, Line 54, delete "in response to" and insert --after--.
         Column 26, Line 43, after "enable" insert --initial--.
         Column 26, Line 49, after "enable" insert --initial--.
         Column 26, Line 51, after "first user", delete "both".
         Column 26, Line 54, after "regarding a", delete "second" and insert --third--.
         Column 26, Line 57, after "representation of the", delete "second" and insert --third--.
         Column 26, Line 60, after "the", delete "second" and insert --third--.
         Column 26, Line 62, delete "determine to".
         Column 26, Line 63, delete "in response to" and insert --after--.
         Column 26, Line 64, delete "both".


                                                                                      Signed and Sealed this
                                                                                Twenty-first Day of November, 2017
                                                                          .(~~·::·-.····---·-·....~

                                                                          (:;....//
                                                                                                               Joseph Mata!
                                                                                               Peiforming the Functions and Duties of the
                                                                                        Under Secretary of Commerce for Intellectual Property and
                                                                                        Director of the United States Patent and Trademark Office
           Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 3 of 189

CERTIFICATE OF CORRECTION (continued)                                                           Page 2 of2
U.S. Pat. No. 9,733,811 B2

     Column 26, Line 64, delete "positive" and insert --negative--.
     Column 26, Line 65, delete "second user and the second".
     Column 26, Line 66, delete "user has expressed the positive preference indication".
     Column 26, Line 67, delete "regarding the first" and insert --third--.
     Column 27, Line 2, delete "third" and insert --fourth--.
     Column 27, Line 5, delete "third" and insert --fourth--.
     Column 27, Line 6, delete "third" and insert --fourth--.
     Column 27, Line 8, delete "determine to".
     Column 27, Line 9, delete "in response to" and insert --after--.
     Column 27, Line 19, after "first user and the" delete",".
     Column 27, Line 33, delete "electronically receive a plurality of user online-dating".
     Column 27, Line 34, delete "profiles, each profile comprising traits of a respective".
     Column 27, Line 35, delete "user and associated with a social networking platform;".
     Column 28, Line 6, after "enable", insert --initial--.
     Column 28, Line 12, after "enable", insert --initial--.
     Column 28, Line 14, after "first user", delete "both".
     Column 28, Line 17, after "regarding a", delete "second" and insert --third--.
     Column 28, Line 20, after "representation of the", delete "second" and insert --third--.
     Column 28, Line 23, after "gesture, the", delete "second" and insert --third--.
     Column 28, Line 25, delete "determine to".
     Column 28, Line 26, delete "in response to" and insert --after--.
     Column 28, Line 27, delete "both".
     Column 28, Line 27, after "expressed the", delete "positive" and insert --negative--.
     Column 28, Line 28, delete "second user and the second".
     Column 28, Line 29, delete "user has expressed the positive preference indication".
     Column 28, Line 30, delete "regarding the first" and insert --third--.
     Column 28, Line 32, delete "third" and insert --fourth--.
     Column 28, Line 35, delete "third" and insert --fourth--.
     Column 28, Line 36, delete "third" and insert --fourth--.
     Column 28, Line 38, delete "determine to".
     Column 28, Line 39, delete "in response to" and insert --after--.
     Column 28, Line 50, after "control enabling", delete "the" and insert --a--.
         Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 4 of 189
ATTORNEY'S DOCKET:                                                                     PATENT NO:
083523.0118                                                                               9,733,811
                IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
Patentee:                Sean Rad et al.
U.S. Patent No.:         9,733,811
Issue Date:              August 15, 2017
Serial No.:              14/059,192
Filing Date:             October 21, 2013
Confirmation No.:        1044
Title:                   MATCHING PROCESS SYSTEM AND METHOD

Commissioner for Patents
Office of Data Management Attention: Certificates of Correction Branch
P.O. Box 1450
Alexandria, VA 22313-1450

Dear Sir:

                       REQUEST FOR EXPEDITED ISSUANCE OF
                  CERTIFICATE OF CORRECTION UNDER 37 CFR § 1.322

          It is respectfully requested that a Certificate of Correction be issued in accordance with
the enclosed Form PT0-1050.           The errors involved are Patent Office errors and supporting
documentation is included that support this request.           These documents are (1) Response
Accompanying Request for Continued Examination dated May 26, 2016 that includes
amendments to the claims; and (2) Notice of Allowance with Examiner's Amendment dated
March 31, 2017 that includes further amendments to the claims.
          No fee is due in association with this request for a Certificate of Correction. However,
the Commissioner is hereby authorized to charge any fees or credit any overpayments to Deposit
Account No. 02-0384 of Baker Botts L.L.P.
          It is respectfully submitted that significant errors are present in the printed patent, that
correction thereof in accordance with the enclosed Form PT0-1050 is required in order that no
misunderstanding will occur.
                                                       Respectfully submitted,
                                                       BAKER BOTTS L.L.P.
                                                       Attorneys for Applicant

                                                       /Chad C. Walters/

                                                       Chad C. Walters
                                                       Reg. No. 48,022
Date: October 23, 201 7
Customer No.: 05073
Phone: (214) 953-6511
  Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 5 of 189



              UNITED STATES PATENT AND TRADEMARK OFFICE
                     CERTIFICATE OF CORRECTION

Patent No.:        9,733,811
Dated:             August 15, 2017
Inventor(s):       Sean Rad, Todd M. Carrico, Kenneth B. Hoskins, James C. Stone,
                   Jonathan Badeen

         It is certified that errors appear in the above-identified patent and that said Letters Patent
is hereby corrected as shown below:

Col. 25, line 20, after "enable" insert --initial--.
Col. 25, line 26, after "enable" insert --initial--.
Col. 25, line 28, after second reference of "user", delete "both".
Col. 25, line 31, after "regarding a", delete "second" and insert --third--.
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Col. 25, line 37, after "the", delete "second" and insert--third--.
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Col. 25, line 40, delete "in response to" and insert --after--.
Col. 25, line 41, delete "both".
Col. 25, line 41, delete "positive" and insert --negative--.
Col. 25, line 42, after "the", delete "second user and the second".
Col. 25, line 43, delete "user has expressed the positive preference indication".
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Col. 25, line 46, after "regarding a", delete "third" and insert --fourth--.
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Col. 25, line 53, delete "determining to prevent" and insert --preventing--.
Col. 25, line 54, delete "in response to" and insert --after--.
Col. 26, line 43, after "enable" insert --initial--.
Col. 26, line 49, after "enable" insert --initial--.
Col. 26, line 51, after "first user", delete "both".
Col. 26, line 54, after "regarding a'', delete "second" and insert --third--.
Col. 26, line 57, after "representation of the", delete "second" and insert --third--.
Col. 26, line 60, after "the", delete "second" and insert --third--.
Col. 26, line 62, delete "determine to".
Col. 26, line 63, delete "in response to" and insert --after--.
Col. 26, line 64, delete "both".
Col. 26, line 64, delete "positive" and insert --negative--.
Col. 26, line 65, delete "second user and the second".
Col. 26, line 66, delete "user has expressed the positive preference indication".
Col. 26, line 67, delete "regarding the first" and insert --third--.


Mailing Address of Sender:                                        Patent No.         9,733,811
Baker Botts L.L.P.
2001 Ross Avenue, Suite 600
Dallas, Texas 75201-2980

Form PT0-1050
  Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 6 of 189




             UNITED STATES PATENT AND TRADEMARK OFFICE
                    CERTIFICATE OF CORRECTION

Patent No.:       9,733,811
Dated:            August 15, 2017
Inventor(s):      Sean Rad, Todd M. Carrico, Kenneth B. Hoskins, James C. Stone,
                  Jonathan Badeen

        It is certified that errors appear in the above-identified patent and that said Letters Patent is
hereby corrected as shown below:

Col. 27, line 2, delete "third" and insert --fourth--.
Col. 27, line 5, delete "third" and insert --fourth--.
Col. 27, line 6, delete "third" and insert --fourth--.
Col. 27, line 8, delete "determine to".
Col. 27, line 9, delete "in response to" and insert --after--.
Col. 27, line 19, after "first user and the" delete",".
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Col. 28, line 32, delete "third" and insert --fourth--.
Col. 28, line 35, delete "third" and insert --fourth--.
Col. 28, line 36, delete "third" and insert --fourth--.
Col. 28, line 38, delete "determine to".
Col. 28, line 39, delete "in response to" and insert --after--.
Col. 28, line 50, after "control enabling", delete "the" and insert --a--.




Mailing Address of Sender:                                              Patent No.        9,733,811
Baker Botts L.L.P.
2001 Ross Avenue, Suite 600
Dallas, Texas 75201-2980

Form PT0-1050
                        Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 7 of 189


                        UNITED STATES PATENT AND TRADEMARK OFFICE
                                                                                                              UNITED STATES DEPARTMENT OF COMMERCE
                                                                                                              United Slates Patent and Trademark Office
                                                                                                              Address: COMMISSIONER FOR PATENTS
                                                                                                                     P.O. Box 1450
                                                                                                                     Alexandria. Virginia 22313~1450
                                                                                                                     www.uspto_gov




                                       NOTICE OF ALLOWANCE AND FEE(S) DUE

                                                                                                                                     EXAMINER
         5073             7590          06/21/2017
    BAKER BOTTS L.L.P.                                                                                                           CHOI, YUK TING
    2001 ROSS AVENUE
    SUITE 700                                                                                                        ART UNIT                     PAPER NUMBER
    DALLAS, TX 75201-2980                                                                                              2153

                                                                                                            DATE MAILED: 06/2112017



    APPLICATION NO.              FILING DATE                         FIRST NAMED INVENTOR                    ATTORNEY DOCKET NO.                CONF1RMATION NO.

        14/059,192                10/21/2013                               Sean Rad                                 083523.0l!8                         1044
TITLE OF INVENTION: Matching Process System And Method




     APPLN. TYPE            ENTITY STATUS            ISSUE FEE DUE   PUBLICATION FEE DUE    PREY. PAID ISSlJE FEE    TOTAL FEE(S) DUE                  DATE DUE

    nonprovisional        UNDISCOUNTED                   $960                                                                                          09/21/2017

THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PATENT.
PROSECUTION ON THE MERITS IS CLOSED. THIS NOTICE OF ALLOWANCE IS NOT A GRANT OF PATENT RIGHTS.
THIS APPLICATION IS SUBJECT TO WITHDRAWAL FROM ISSUE AT THE INITIATIVE OF THE OFFICE OR UPON
PETITION BY THE APPLICANT. SEE 37 CFR 1.313 AND MPEP 1308.
THE ISSUE FEE AND PUBLICATION FEE (IF REQUIRED) MUST BE PAID WITHIN THREE MONTHS FROM THE
MAILING DATE OF THIS NOTICE OR THIS APPLICATION SHALL BE REGARDED AS ABANDONED.            THIS
STATUTORY PERIOD CANNOT BE EXTENDED. SEE 35 U.S.C. 151. THE ISSUE FEE DUE INDICATED ABOVE DOES
NOT REFLECT A CREDIT FOR ANY PREVIOUSLY PAID ISSUE FEE IN THIS APPLICATION. IF AN ISSUE FEE HAS
PREVIOUSLY BEEN PAID IN THIS APPLICATION (AS SHOWN ABOVE), THE RETURN OF PART B OF THIS FORM
WILL BE CONSIDERED A REQUEST TO REAPPLY THE PREVIOUSLY PAID ISSUE FEE TOWARD THE ISSUE FEE NOW
DUE.

HOW TO REPLY TO THIS NOTICE:
I. Review the ENTITY STATUS shown above. If the ENTITY STATUS is shown as SMALL or MICRO, verify whether entitlement to that
entity slatus still applies.
If the ENTITY STATUS is the same as shown above, pay the TOTAL FEE(S) DUE shown above.
If the ENTITY STATUS is changed from that shown above, on PART B - FEE(S) TRANSMITTAL, complete section number 5 titled
"Change in Entity Status (from status indicated above)".
For purposes of this notice, small entity fees are 1/2 the amount of undiscounted fees, and micro entity fees are 1/2 the amount of small entity
fees.



11. PART B - PEE(S) TRANSMITTAL, or its equivalent, must be completed and returned to the United States Patent and Trademmk Office
(USPTO) with your ISSUE FEE and PUBLICATION FEE (if required). If you are charging the fee(s) to your deposit account, section "4b"
of Part B - Fee(s) Transmittal should be completed and an extra copy of the form should be submitted. If an equivalent of Part B is filed, a
request to reapply a previously paid issue fee must be clearly made, and delays in processing may occur due to the difficulty in recognizing
the paper as an equivalent of Part B.
III. All communications regarding this application must give the application number. Please direct all communications prior to issuance to
Mail Stop ISSUE FEE unless advised to the contrary.
IMPORTANT REMINDER: Utility patents issuing on applications filed on or after Dec. 12, 1980 may require payment of
maintenance fees. It is patentee's responsibility to ensure timely payment of maintenance fees when due.

                                                                         Page 1of3
PTOL-85 (Rev. 02/l l)
                       Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 8 of 189
                                                                  PART B - FEE(S) TRANSMITTAL
   Complete and send this form, together with applicable l'ee(s), to: Mail Mail Stop ISSUE FEE
                                                                           Commissioner for Patents
                                                                           P.O. Box 1450
                                                                           Alexandria, Virginia 22313-1450
                                                                    or Fax (571 )-273-2885
INSTRUCTIONS: This form should be used for lransmiuing the ISSUE FEE and PUBLICATION FEE (if required). Blocks 1 through 5 should be comple!ed where
appropriate. All further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current correspondence address as
indicated unless corrected below or directed otherwise in Block 1, by (a) specifying a new co1rnspondence address; and/or (b) indicating a separate "FEE ADDRESS" for
maintenance fee notifications.
                                                                                              Note: A certificate of mailing can only be used for domestic mailings of the
                                                                                              Fee(s) Transmittal. This certificate cannot be used for any other accompanying
   CURRENT CORRESPONDENCE ADDRESS (Note: Use Block I for any change of address)               papers. Each additional paper, such as an assignment or formal drawing, must
                                                                                              have its own certificate of mailing or transmiss10n.
                                                                                                                         Certificate of Mailing or Transmission
         5073              7590              0612112017                                              I hereby certify that this Fee(s) Transmittal is being deposited with the United
    BAKER BOTTS L.L.P.                                                                               Stales Postal Service with sufficienl postage for first class mail in an envelor.e
                                                                                                     addressed to the Mail Stop ISSUE FEE address above, or being facsimile
    2001 ROSS AVENUE                                                                                 transmitted to the USPTO (571) 273-2885, on the date indicated below.
    SUITE 700
                                                                                                                                                                       (Dc:positor's name)
    DALLAS, TX 75201-2980
                                                                                                                                                                              (Signature}

                                                                                                                                                                                   (Date)




    APPLICATION NO.                 FILINGDAIB                              FIRST NAMED INVENTOR                              ATTORNEY DOCKET NO.            CONFIRMATION NO.

         14/059,192                   10/21/2013                                     Sean Rad                                       083523.0118                       1044
TITLE OF INVENTION: Malching Process System And Method


     APPLN. TYPE             ENTITY STATUS             ISSUE FEE DUE          PUBLICATION FEE DUE         PREY. PAID ISSUE FEE        TOTAL FEE(S) DUE              DATEDlJE

     nonprovisional        UNDISCOUNTED                      $960                        $0                          $0                         $960                09/21/2017



                   EXAMINER                               ART UNIT              CLASS-SUBCLASS

                CHOI, YUK TING                               2153                   707-005000

1. Change of correspondence address or indication of "Fee Address" (37          2. For printing on the patent front page, list
CFR 1.363).
                                                                                (1) The names of up to 3 registered patent attorneys
   0 Change of correspondence address (or Change of Correspondence              or agents OR, alternatively,
   Address form PTO/Sil/122) attached.                                                                                                      2 _ _ _ __
                                                                                (2) The name of a single firm (having as a member a
   0 "Pee Address" indication (or "Fee Address" Indication form                 registered attorney or agent) and the names of up to
   PTO/SB/47; Rev 03-02 or more recent) attached. Use of a Customer             2 registered patent attorneys or agents. If no name is      3
   Number is required.                                                          listed, no name will be printed.
3. ASSIGNEE NAME A.ND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document has been filed for
   recordation as set forth in 37 CFR 3.11. Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OP ASSIGNEE                                                      (Il) RESlDE.t'l"CE: (CITY and STATE OR COUNTRY)




Plca~e check the appropriate assignee category or categories (will not be printed on the patent) :    0 Individual 0 Corporation or other private group entity 0 Government
4a. The following fee(s) are submitted:                                   4b. Payment of Fee(s): (Please first reapply any previously paid issue fee shown above)
   0 Issue Fee                                                               0 A check is enclosed.
   0 Publication Fee (No small entity discount permitted)                    0 Payment by credit card. Form PT0-2038 is attached.
   0 Advance Order - #of Copies _ _ _ _ _ __                                 0The director is hereby authorized lo charge the required fee(s), any deficiency, or credits any
                                                                                overpayment, to Deposit Account Number                     (enclose an extra copy of this form).

5. Change in Entity Status (from status indicated above)
   0 Applicant certifying micro entity status. See 37 CFR 1.29               NOTE: Absent a valid certification of Micro Entity Status (see forms PTO/SB/15A and 158), issue
                                                                             fee payment in the micro entity amount will not he accepted at the risk of application ahandonment.
   0 Applicant asserting small entity status. See 37 CFR 1.27                NOTE: If the application was previously under micro entity status, checking this box will be taken
                                                                             to be a notification of loss of cntitlemenl to micro entity status.
   0 Applicant changing to regular undiscounted fee status.                  NOTE: Checking this box will be taken to be a notification of loss of entitlement to small or micro
                                                                             entity status, as applicable.
NOTE: This form must be signed in accordance with 37 CFR 1.31 and 1.33. See 37 CFR 1.4 for signature reguirements and certifications.


   Authorized S i g n a t u r e - - - - - - - - - - - - - - - - - - - - - - - - - -                           Dale _ _ _ _ _ _ _ _ _ _ _ _ _~-------~

   Typed or printed name                                                                                      Registration No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                                                 Page 2 of3
PTOL-85 Part B (10-13) Approved for use through 10/3112013.                    OMB 0651-0033           U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                        Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 9 of 189


                     UNITED STATES PATENT AND TRADEMARK OFFICE
                                                                                    UNITED STATES DEPARTMENT OF COMMERCE
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                                                                                         Alexandria, Virginia 22313-1450
                                                                                          www.uspto.gov



    APPLICATION NO.             FILING DATE            FIRSTNAMEDINVENTOR          ATTORNEY DOCKET NO.              CONFIRMATION NO.

        14/059,192               1012112013                  Sean Rad                   083523.0118                        1044

                                                                                                          EXAMINER
        5073             7590          0612112017
    BAKER BOTTS L.L.P.                                                                               CHOI, YUK TING
    2001 ROSS AVENUE
    SUITE700                                                                             ART UNIT                     PAPER NUMBER

    DALLAS, TX 75201-2980                                                                   2153

                                                                                  DATE MAILED: 06121/2017




                                Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                           (Applications filed on or after May 29, 2000)

The Office has discontinued providing a Patent Term Adjustment (PTA) calculation with the Notice of Allowance.

Section l(h)(2) of the AIA Technical Corrections Act amended 35 U.S.C. 154(b)(3)(B)(i) to eliminate the
requirement that the Office provide a patent te1m adjustment determination with the notice of allowance. See
Revisions to Patent Term Adjustment, 78 Fed. Reg. 19416, 19417 (Apr. 1, 2013). Therefore, the Office is no longer
providing an initial patent term adjustment dete1mination with the notice of allowance. The Office will continue to
provide a patent term adjustment determination with the Issue Notification Letter that is mailed to applicant
approximately three weeks prior to the issue date of the patent, and will include the patent term adjustment on the
patent. Any request for reconsideration of the patent term adjustment dete1mination (or reinstatement of patent term
adjustment) should follow the process outlined in 37 CFR 1.705.


Any questions regarding the Patent Term Extension or Adjustment dete1mination should be directed to the Office of
Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee payments should be
directed to the Customer Service Center of the Office of Patent Publication at 1-(888)-786-0101 or (571)-272-4200.




                                                           Page 3 of3
PTOL-85 (Rev. 02/l l)
    Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 10 of 189


                  OMB Clearance and PRA Burden Statement for PTOL-85 Part B
The Paperwork Reduction Act (PRA) of 1995 requires Federal agencies to obtain Office of Management and
Budget approval before requesting most types of information from the public. When OMB approves an agency
request to collect information from the public, OMB (i) provides a valid OMB Control Number and expiration
date for the agency to display on the instrument that will be used to collect the information and (ii) requires the
agency to inform the public about the OMB Control Number's legal significance in accordance with 5 CFR
1320.5(b).

The information collected by PTOL-85 Part B is required by 37 CFR 1.311. The information is required to obtain
or retain a benefit by the public which is to file (and by the USPTO to process) an application. Confidentiality is
governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete,
including gathering, preparing, and submitting the completed application form to the USPTO. Time will vary
depending upon the individual case. Any comments on the amount of time you require to complete this form
and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and
Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, Virginia 22313-1450. DO NOT
SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box
1450, Alexandria, Virginia 22313-1450. Under tl1e Paperwork Reduction Act of 1995, no persons are required to
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                                            Privacy Act Statement
The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection wiili your
submission of ilie attached fonn related to a patent application or patent. Accordingly, pursuant to the
requirements of the Act, please be advised that: (1) the general authority for the collection of this information is
35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which
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related to a patent application or patent. If you do not furnish the requested information, the U.S. Patent and
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proceedings or abandonment of the application or expiration of tl1e patent.

The information provided by you in this form will be subject to the following routine uses:
  1. The information on this form will be treated confidentially to the extent allowed under the Freedom of
     Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of records
     may be disclosed to the Department of Justice to determine wheilier disclosure of these records is required
     by ilie Freedom of Infonnation Act.
 2. A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence
     to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of
     settlement negotiations.
 3. A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
     request involving an individual, to whom the record pertains, when the individual has requested assistance
     from the Member with respect to the subject matter of ilie record.
 4. A record in iliis system of records may be disclosed, as a routine use, to a contractor of the Agency having
     need for the information in order to perform a contract. Recipients of information shall be required to
     comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
 5. A record related to an International Application filed under the Patent Cooperation Treaty in this system of
     records may be disclosed, as a routine use, to ilie International Bureau of the World Intellectual Property
     Organization, pursuant to the Patent Cooperation Treaty.
 6. A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes
     of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C.
     218(c)).
 7. A record from this system of records may be disclosed, as a routine use, to the Administrator, General
     Services, or his/her designee, during an inspection of records conducted by GSA as part of iliat agency's
     responsibility to recommend improvements in records management practices and programs, under autllority
     of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA regulations
     governing inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive.
     Such disclosure shall not be used to make determinations about individuals.
 8. A record from this system of records may be disclosed, as a routine use, to the public after eit11er publication
     of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Furt11er, a
     record may be disclosed, subject to the limitations of 37 Cl<l{ 1.14, as a routine use, to the public if the
     record was filed in an application which became abandoned or in which the proceedings were terminated
     and which application is referenced by either a published application, an application open to public
     inspection or an issued patent.
 9. A record from t11is system of records may be disclosed, as a routine use, to a Federal, State, or local law
     enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.
                 Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 11 of 189


                                                                                       Application No.                           Applicant(s)

                                                                                       14/059,192                                RAD ET AL.
         Examiner-Initiated Interview Summary
                                                                                       Examiner                                  Art Unit

                                                                                       YUK TING CHOI                             2153


 All participants (applicant, applicant's representative, PTO personnel):

(1) YUK TING CHOI.                                                                        (3) _ _.

(2) CHAD C. Walters.                                                                      (4) _ _ .

    Date of Interview: 08 June 2017.

      Type:           ~ Telephonic        0 Video Conference
                      0     Personal [copy given to: 0 applicant                  ~applicant's representative]

 Exhibit shown or demonstration conducted:                       0 Yes            ~No.
     If Yes, brief description: _ _ .


Issues Discussed                   01 01   0112 01 02 ~1 03 ~Others
(For each of the checked box(es) above, please describe below the issue and detailed description of the discussion)

Claim(s) discussed: 23.

 Identification of prior art discussed: NONE.

Substance of Interview
(For each issue discussed, provide a detailed description and indicate if agreement was reached. Some topics may include: identification or clarification of a
reference or a portion thereof. claim interpretation, proposed amendments, arguments of any applied references etc ... )

 The Examiner suggested Aop!icant to amend claims 23. 30 and 37 to narrow the matches are retrieved from a pluralitv
of user online-dating profiles to expedite the prosecution process. Also. the Examiner also suggested Applicant to call
OPAP (800-786-9199) to correct the inventorship of this application. Applicant agreed and authorized the Examiner to
make changes through the Examiner's Amendment..




Applicant recordation instructions: It is not necessary for applicant to provide a separate record of the substance of interview.


Examiner recordation instructions: Examiners must summarize the substance of any interview of record. A complete and proper recorda1ion of the
substance of an interview should include the items listed in MPEP 713.04 for complete and proper recordation including the identification of the
general thrust of each argument or issue discussed, a general indication of any other pertinent matters discussed regarding patentability and the
general results or outcome of the interview, to include an indication as to whether or not agreement was reached on the issues raised.

0 Attachment
/YUK TING CHOI/
Primary Examiner, Art Unit 2153


U.S. Patent and Trademark Office
PTOL-4138 (Rev. 8/11/2010)                                                Interview Summary                                                  Paper No. 20170608
                      Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 12 of 189


                                                                         Application No.                       Applicant(s)
                                                                         14/059, 192                           RAD ET AL.
                                                                         Examiner                              Art Unit     AIA (First Inventor to File)
                         Notice of Allowability                                                                             Status
                                                                         YUK TING CHOI                         2153
                                                                                                                             I
                                                                                                                            No

             -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address--
All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
herewith (or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course. THIS
NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
of the Office or upon petition by the applicant. See 37 CFR 1.313 and MPEP 1308.
1. IZI This communication is responsive to Non-Final Reiection mailed on 0212812017.
         DA declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on_ _ _.

2. D An election was made by the applicant in response to a restriction requirement set forth during the interview on _ _ ; the restriction
     requirement and election have been incorporated into this action.

3. IZI The allowed claim(s) is/are 23 25 26 30 32 33 37. 39 and 40. As a result of the allowed claim(s), you may be eligible to benefit from
      the Patent Prosecution Highway program at a participating intellectual property office for the corresponding application. For more
       information, please see http:/lwww.uspto.gov/patents/init_events/pph/index.jsp or send an inquiry to PPHfeedback@uspto.gov.

4. D Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
        Certified copies:
           a) D All          b) D Some    *c) D None of the:
                   1. D Certified copies of the priority documents have been received.
                   2. D Certified copies of the priority documents have been received in Application No. ___ .
                   3. D Copies of the certified copies of the priority documents have been received in this national stage application from the
                           International Bureau (PCT Rule 17.2(a)).
          * Certified copies not received: ___ .


  Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file a reply complying with the requirements
  noted below. Failure to timely comply will result in ABANDONMENT of this application.
  THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.
5. D CORRECTED DRAWINGS (as "replacement sheets") must be submitted.
         D      including changes required by the attached Examiner's Amendment I Comment or in the Office action of
                Paper No./Mail Date ___ .
     Identifying indicia such as the application number (see 37 CFR 1.84{c)) should be written on the drawings in the front {not the back) of
     each sheet. Replacement sheet(s) should be labeled as such in the header according to 37CFR1.121(d).

6. 0 DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
    attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.


 Attachment(s)
 1. D Notice of References Cited (PT0-892)                                         5. IZI Examiner's Amendment/Comment
 2. D Information Disclosure Statements (PTO/SB/08),                               6. IZI Examiner's Statement of Reasons for Allowance
         Paper No./Mail Date _ __
 3. D Examiner's Comment Regarding Requirement for Deposit                         7. D Other _ _ .
         of Biological Material
 4. 1ZJ Interview Summary (PT0-413),
         Paper No./Mail Date 20170608.
 /YUK TING CHOI/
 Primary Examiner, Art Unit 2153




U.S. Patent and Trademark Olf1ce
PTOL-37 (Rev. 08-13)                                                   Notice of Allowability                         Part of Paper No./Mail Date
20170608
     Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 13 of 189



Application/Control Number: 14/059, 192                                              Page 2
Art Unit: 2153

                                   DETAILED ACTION



1.     This office action is in response to applicant's communication filed on 05/30/2017

in response to PTO Office Action mailed on 02/28/2017.

2.     In response to the previous Office Action, no claims have been amended, added

or canceled. A declaration of prior Invention under 37 CFR 1.31 filed on 5/30/2017 has

been considered. The inventor Johnathan Baden who signed the declaration of prior

Invention was not one of the original inventors listed in the application. Applicant has

paid the fee set forth in 37 CFR. 1.17 {i) on 5/30/2017 and 37 CFR. 1.17 (d) on

06/07/2017 and filed a request under Rule 48 correcting inventorship on 06/07/2017.

The inventor Mr. Jonathan Badeen has been updated in the system.




                               EXAMINER'S AMENDMENT

3.     An examiner's amendment to the record appears below. Should the changes

and/or additions be unacceptable to applicant, an amendment may be filed as provided

by 37 CFR 1.312. To ensure consideration of such an amendment, it MUST be

submitted no later than the payment of the issue fee.

       Authorization for this examiner's amendment was given in a telephone interview

with Chad C. Walters on 06/07/2017. During the interview, the Examiner suggested

Applicant to amend claims 23, 30 and 37 to narrow the matches are retrieved from a

plurality of user online-dating profiles to expedite the prosecution process. Also, the

Examiner also suggested Applicant to call OPAP (800-786-9199) to correct the inventorship
    Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 14 of 189



Application/Control Number: 14/059, 192                                                Page 3
Art Unit: 2153

of this application. Applicant agreed and authorized the Examiner to make changes through the

Examiner's Amendment.



       The application has been amended as follows:



In the claim:

  Claim 23. (Currently Amended) A computer implemented method of profile

   matching, comprising:

       electronically receiving a plurality of user online-dating profiles. each profile

comprising traits of a respective user and associated with a social networking platform;

  electronically receiving a first request for matching, the first request electronically

submitted by a first user using a first electronic device;

  determining a set of potential matches from the plurality of user online-dating profiles

for the first user in response to receiving the first request;

  causing the display of a graphical representation of a first potential match of the set of

potential matches to the first user on a graphical user interface of the first electronic

device, the first potential match corresponding to a second user;

  determining that the first user expressed a positive preference indication regarding the

first potential match at least by determining that the first user performed a first swiping

gesture associated with the graphical representation of the first potential match on the

graphical user interface;
    Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 15 of 189



Application/Control Number: 14/059, 192                                                 Page 4
Art Unit: 2153

  in response to determining that the first user expressed the positive preference

indication regarding the first potential match, automatically causing the graphical user

interface to display a graphical representation of a second potential match of the set of

potential matches instead of the graphical representation of the first potential match;

  determining that the second user has expressed a positive preference indication

regarding the first user after determining that the first user expressed the positive

preference indication regarding the first potential match;

  determining to enable initial communication between the first user and the second

user in response to determining that both the first user has expressed the positive

preference indication regarding the second user and the second user has expressed the

positive preference indication regarding the first user;

  in response to determining to enable initial communication between the first user and

the second user, causing the graphical user interface to display to the first user the

graphical representation of the first potential match;

  determining that the first user expressed a negative preference indication regarding a

third potential match of the set of potential matches at least by determining that the first

user performed a second swiping gesture associated with a graphical representation of

the third potential match on the graphical user interface, the second swiping gesture

different than the first swiping gesture, the third potential match corresponding to a third

user;
    Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 16 of 189



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Art Unit: 2153

  preventing communication between the first user and the third user after determining

that the first user has expressed the negative preference indication regarding the third

user;

  determining that the first user expressed a positive preference indication regarding a

fourth potential match of the set of potential matches at least by determining that the

first user performed the first swiping gesture associated with a graphical representation

of the fourth potential match on the graphical user interface, the fourth potential match

corresponding to a fourth user; and

  preventing communication between the first user and the fourth user after determining

that the fourth user has expressed a negative preference indication regarding the first

user.

  30. (Currently Amended) A non-transitory computer-readable medium comprising

instructions that, when executed by a processor, are configured to:

  electronically receive a plurality of user online-dating profiles. each profile comprising

traits of a respective user and associated with a social networking platform:

  electronically receive a first request for matching, the first request electronically

submitted by a first user using a first electronic device;

  determine a set of potential matches from the plurality of user online-dating profiles for

the first user in response to receiving the first request;
    Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 17 of 189



Application/Control Number: 14/059, 192                                                 Page 6
Art Unit: 2153

  cause the display of a graphical representation of a first potential match of the set of

potential matches to the first user on a graphical user interface of the first electronic

device, the first potential match corresponding to a second user;

  determine that the first user expressed a positive preference indication regarding the

first potential match at least by determining that the first user performed a first swiping

gesture associated with the graphical representation of the first potential match on the

graphical user interface;

  in response to the determination that the first user expressed the positive preference

indication regarding the first potential match, automatically cause the graphical user

interface to display a graphical representation of a second potential match of the set of

potential matches instead of the graphical representation of the first potential match;

  determine that the second user has expressed a positive preference indication

regarding the first user after determining that the first user expressed the positive

preference indication regarding the first potential match;

  determine to enable initial communication between the first user and the second user

in response to the determination that both the first user has expressed the positive

preference indication regarding the second user and the second user has expressed the

positive preference indication regarding the first user;

  in response to the determination to enable initial communication between the first user

and the second user, cause the graphical user interface to display to the first user the

graphical representation of the first potential match;
    Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 18 of 189



Application/Control Number: 14/059, 192                                                   Page 7
Art Unit: 2153

  determine that the first user expressed a negative preference indication regarding a

third potential match of the set of potential matches at least by determining that the first

user performed a second swiping gesture associated with a graphical representation of

the third potential match on the graphical user interface, the second swiping gesture

different than the first swiping gesture, the third potential match corresponding to a third

user;

  prevent communication between the first user and the third user after determining that

the first user has expressed the negative preference indication regarding the third user;

  determine that the first user expressed a positive preference indication regarding a

fourth potential match of the set of potential matches at least by determining that the

first user performed the first swiping gesture associated with a graphical representation

of the fourth potential match on the graphical user interface, the fourth potential match

corresponding to a fourth user; and

prevent communication between the first user and the fourth user after determining that

the fourth user has expressed a negative preference indication regarding the first user.

  37. (Currently Amended) A system for profile matching, comprising:

  an interface operable to:

  electronically receive a plurality of user online-dating profiles. each profile comprising

traits of a respective user and associated with a social networking platform;

  electronically receive a first request for matching, the first request electronically

submitted by a first user using a first electronic device; and
    Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 19 of 189



Application/Control Number: 14/059, 192                                                 Page 8
Art Unit: 2153

  a processor coupled to the interface and operable to:

  determine a set of potential matches from the plurality of user online-dating profiles for

the first user in response to receiving the first request;

  cause the interface to display a graphical representation of a first potential match of

the set of potential matches to the first user on a graphical user interface of the first

electronic device, the first potential match corresponding to a second user;

  determine that the interface has received a positive preference indication from the first

user regarding the first potential match at least by determining that the first user

performed a first swiping gesture associated with the graphical representation of the first

potential match on the graphical user interface;

  automatically cause the interface to remove the presentation of the first potential

match from the graphical user interface in response to detecting the gesture and cause

the interface to present, on the graphical user interface, a second potential match of the

set of potential matches to the first user;

  determine that the second user has expressed a positive preference indication

regarding the first user after determining that the first user expressed the positive

preference indication regarding the first potential match; and

  determine to enable initial communication between the first user and the second user

in response to the determination that both the first user has expressed the positive

preference indication regarding the second user and the second user has expressed the

positive preference indication regarding the first user;
    Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 20 of 189



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Art Unit: 2153

  in response to the determination to enable initial communication between the first user

and the second user, cause the graphical user interface to display to the first user the

graphical representation of the first potential match;

  determine that the first user expressed a negative preference indication regarding a

third potential match of the set of potential matches at least by determining that the first

user performed a second swiping gesture associated with a graphical representation of

the third potential match on the graphical user interface, the second swiping gesture

different than the first swiping gesture, the third potential match corresponding to a third

user;

  prevent communication between the first user and the third user after determining that

the first user has expressed the negative preference indication regarding the third user;

  determine that the first user expressed a positive preference indication regarding a

fourth potential match of the set of potential matches at least by determining that the

first user performed the first swiping gesture associated with a graphical representation

of the fourth potential match on the graphical user interface, the fourth potential match

corresponding to a fourth user; and

  prevent communication between the first user and the fourth user after determining

that the fourth user has expressed a negative preference indication regarding the first

user.
     Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 21 of 189



Application/Control Number: 14/059, 192                                           Page 10
Art Unit: 2153



                                  Reason for Allowance

4.      The following is an examiner's statement of reasons for allowance:

A declaration of prior Invention under 37 CFR 1.31 filed on 5/30/2017 has been

considered. Applicant submitted the claimed technology was invented prior to

08/06/2012, which has priority date earlier than the primary reference: Janssens (US

2014/0040368 A1 ). The Examiner has submitted the declaration to TQAS 2100

Brannon Smith and confirmed the declaration has an actual reduction to practice, and it

antedates the Janseens reference. However, Applicant has to correct the inventorship

of this application to add Johnathan Baden, who signed the declaration of prior

Invention. On 06/07/2017 Applicant has corrected and updated the inventorship of the

current application, the Janssens reference and the 35 USC 1 03 rejections in the Non-

Final Rejection mailed on 02/28/2017 rejecting claims 23, 25, 26, 30, 32, 33, 35, 37, 39

and 40 are hereby withdrawn.

       Any inquiry concerning this communication or earlier communications from the

examiner should be directed to YUK TING CHOI whose telephone number is (571 )270-

1637. The examiner can normally be reached on 8:30 AM - 5:30 PM EST.

       Examiner interviews are available via telephone, in-person, and video

conferencing using a USPTO supplied web-based collaboration tool. To schedule an

interview, applicant is encouraged to use the USPTO Automated Interview Request

(AIR) at http://www.uspto.gov/interviewpractice.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Heather Herndon can be reached on (571) 272-4136. The fax phone
   Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 22 of 189




Application/Control Number: 14/059, 192                                          Page 11
Art Unit: 2153

number for the organization where this application or proceeding is assigned is 571-

273-8300.

      Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




/YUK TING CHOI/
Primary Examiner, Art Unit 2153
                 Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 23 of 189


                                                                                       Application No.                          Applicant(s)

                                                                                       14/059,192                                RAD ET AL.
        Examiner-Initiated Interview Summary
                                                                                       Examiner                                 Art Unit

                                                                                       YUK TING CHOI                            2153


 All participants (applicant, applicant's representative, PTO personnel):

(1) YUK TING CHOI.                                                                        (3) _ _ .

(2) CHAD C. Walters.                                                                      (4) _ _ .

    Date of Interview: OB June 2017.

      Type:           [gl Telephonic  0 Video Conference
                      0 Personal (copy given to: 0 applicant                      ~applicant's representative]

 Exhibit shown or demonstration conducted:                       0 Yes            ~No.
     If Yes, brief description: _ _ .


Issues Discussed                   0101   0112 01 02 [gl103 ~Others
{For each of the checked box( es) above, please describe below the issue and detailed description of the discussion)

Claim(s) discussed: 23.

 Identification of prior art discussed: NONE.

Substance of Interview
(For each issue discussed, provide a detailed description and indicate if agreement was reached. Some topics may include: identification or clarification of a
reference or a portion thereof, claim interpretation, proposed amendments, arguments of any applied references etc ... )

 The Examiner suggested Applicant to amend claims 23. 30 and 37 to narrow the matches are retrieved from a pluralitv
of user online-dating profiles to expedite the prosecution process. Also. the Examiner also suaaested Applicant to call
OPAP (800-786-9199) to correct the inventorship of this application. Applicant agreed and authorized the Examiner to
make changes through the Examiner's Amendment..




Applicant recordation instructions: It is not necessary for applicant to provide a separate record of the substance of interview.

Examiner recordation instructions: Examiners must summarize the substance of any interview of record. A complete and proper recordation of the
substance of an interview should include the items listed in MPEP 713.04 for complete and proper recordation including the identification of the
general thrust of each argument or issue discussed, a general indication of any other pertinent matters discussed regarding patentability and the
general results or outcome of the interview, to include an indication as to whether or not agreement was reached on the issues raised.

D Attachment
/YUK TING CHOI/
Primary Examiner, Art Unit 2153


U-8. Patent and Trademark Office
PTOL-4138 (Rev. 8/11/2010)                                               Interview Summary                                                    PaperNo.20170608
  Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 24 of 189

ATTORNEY DOCKET NO.:                                                  PATENT APPLICATION
076533.0146                                                                     14/059,192




             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re Application of:            Sean Rad et al.
Serial No.:                      14/059,192
Filing Date:                     October 21, 2013
Group Art Unit:                  2164
Examiner:                        Yuk Ting Choi
Confirmation No.:                1044
Title:                           MATCHING PROCESS SYSTEM AND METHOD




Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450



                               Request for Continued Examination

           Applicants respectfully request the Examiner to reconsider this application in view of
this Request for Continued Examination (RCE). Please amend the application as fo11ows:




25742049
  Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 25 of 189

ATTORNEY DOCKET NO.:                                                     PATENT APPLICATION
076533.0146                                                                        14/059,192

                                                   2


In the Claims:

           1.-22. (Canceled)


           23.    (Currently Amended) A computer implemented method of profile matching,
comprising:
           electronically receiving a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determining a set of potential matches for the first user in response to receiving the
first request;
           causing the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match co1Tesponding to a second user;
           determining that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to determining that the first user expressed the positive preference
indication regarding the first potential match, automatically causing the graphical user
interface to display a graphical representation of a second potential match of the set of
potential matches instead of the graphical representation of the first potential match;
           determining that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           detem1ining to enable communication between the first user and the second user in
response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to determining to enable communication between the first user and the
second user, causing the graphical user interface to display to the first user OOth the graphical
representation of the first potential match;




25742049
  Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 26 of 189

ATTORNEY DOCKET NO.:                                                    PATENT APPLICATION
076533.0146                                                                       14/059,192

                                                  3


           determining that the first user expressed a negative preference indication regarding a
seeend third potential match of the set of potential matches at least by determining that the
first user performed a second swiping gesture associated with a graphical representation of
the seeend third potential match on the graphical user interface, the second swiping gesture
different than the first swiping gesture, the seeend third potential match corresponding to a
third user;
           deteFmining ta fWe\'ent preventing communication between the first user and the
third user in l'espanse te after determining that bttth the first user has expressed the positive
negative preference indication regarding the seeend third useF and the seeand usel' hos
expvessed the pasitiye prefeFenee imlieatien Fegal'ding the first user;
           determining that the first user expressed a positive preference indication regarding a
thifll fourth potential match of the set of potential matches at least by determining that the
first user performed the first swiping gesture associated with a graphical representation of the
thW fourth potential match on the graphical user interface, the th-fftl fourth potential match
corresponding to a fourth user; and
           detel'mining te pFevent preventing communication between the first user and the
fourth user in respense te after determining that the fourth user has expressed a negative
preference indication regarding the first user.


           24.    (Canceled)


           25.    (Currently Amended) The method of Claim 23, further comprising:
           in response to determining that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, causing the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling -the!! text area to be presented to the first user.




25742049
  Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 27 of 189

ATTORNEY DOCKET NO.:                                                PATENT APPLICATION
076533.0146                                                                   14/059,192

                                                4


           26.   .(Previously Presented) The method of Claim 23, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           27.   (Canceled)


           28.   (Canceled)


           29.   (Canceled)




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  Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 28 of 189

ATTORNEY DOCKET NO.:                                                     PATENT APPLICATION
076533.0146                                                                        14/059,192

                                                    5



           30.    (Currently     Amended)       A   non-transitory    computer-readable     medium
comprising instructions that, when executed by a processor, are configured to:
           electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determine a set of potential matches for the first user in response to receiving the first
request;
           cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determine that the first user expressed a positive preference indication regarding the
first potential match at least by detem1ining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to the determination that the first user expressed the positive preference
indication regarding the first potential match, automatically cause the graphical user interface
to display a graphical representation of a second potential match of the set of potential
matches instead of the graphical representation of the first potential match;
           determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match~
           determine to enable communication between the first user and the second user in
response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to the determination to enable communication between the first user and
the second user, cause the graphical user interface to display to the first user bt»h the
graphical representation of the first potential match;
           determine that the first user expressed a negative preference indication regarding a
seeond third potential match of the set of potential matches at least by determining that the
first user performed a second swiping gesture associated with a graphical representation of
the seeand third potential match on the graphical user interface, the second swiping gesture



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different than the first swiping gesture, the seeond third potential match corresponding to a
third user;
           determine t0 prevent communication between the first user and the third user in
response te after determining that OOth- the first user has expressed the positive negative
preference indication regarding the seeend third useF smd the seeend useF has expFessed
the positive pFeferenee indieatien FegaFding the first user;
           determine that the first user expressed a positive preference indication regarding a
thiFd fourth potential match of the set of potential matches at least by determining that the
first user performed the first swiping gesture associated with a graphical representation of the
thiFd fourth potential match on the graphical user interface, the thiFd fourth potential match
corresponding to a fourth user; and
           determine to prevent communication between the first user and the fourth user in
response ta after determining that the fourth user has expressed a negative preference
indication regarding the first user.


           31.    (Canceled)


           32.    (Currently Amended) The medium of Claim 30, further comprising
instructions configured to, in response to the determination that both the first user has
expressed the positive preference indication regarding the second user and the second user
has expressed the positive preference indication regarding the first user, cause the display of a
graphical notification, on the graphical user interface of the first electronic device, that a
match exists between the first user and the second user, the graphical notification comprising
a user interface control enabling the!! text area to be presented to the first user.


           33.    (Previously Presented) The medium of Claim 30, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.




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       34.       (Canceled)


           35.   (Canceled)


           36.   (Canceled)




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           37.    (Currently Amended) A system for profile matching, comprising:
           an interface operable to:
                  electronically receive a first request for matching, the first request
electronically submitted by a first user using a first electronic device; and
           a processor coupled to the interface and operable to:
                  determine a set of potential matches for the first user in response to receiving
the first request;
                  cause the interface to display a graphical representation of a first potential
match of the set of potential matches to the first user on a graphical user interface of the first
electronic device, the first potential match corresponding to a second user;
                  determine that the interface has received a positive preference indication from
the first user regarding the first potential match at least by determining that the first user
performed a first swiping gesture associated with the graphical representation of the first
potential match on the graphical user interface;
                  automatically cause the interface to remove the presentation of the first
potential match from the graphical user interface in response to detecting the gesture and
cause the interface to present, on the graphical user interface, a second potential match of the
set of potential matches to the first user;
                  determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match; and
                  determine to enable communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
                  in response to the determination to enable communication between the first
user and the second user, cause the graphical user interface to display to the first user b6th
the graphical representation of the first potential match;
                  determine that the first user expressed a negative preference indication
regarding a seeend third potential match of the set of potential matches at least by
determining that the first user performed a second swiping gesture associated with a graphical



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representation of the seeond third potential match on the graphical user interface, the second
swiping gesture different than the first swiping gesture, the seeend third potential match
corresponding to a third user;
                 deteFmine to prevent communication between the first user and the third user
in Fesponse to after determining that h&t=h the first user has expressed the positive negative
preference indication regarding the seeond third useF and the seeond user has e:xpFessed
the positive pFeferenee indieation regarding the first user;
                 determine that the first user expressed a positive preference indication
regarding a third fourth potential match of the set of potential matches at least by
determining that the first user performed the first swiping gesture associated with a graphical
representation of the thWd fourth potential match on the graphical user interface, the thifll.
fourth potential match corresponding to a fourth user; and
                 determine to prevent communication between the first user and the fourth
user io Fesponse to after determining that the fourth user has expressed a negative preference
indication regarding the first user.


           38.   (Canceled)


           39.   (Currently Amended) The system of Claim 37, the processor further
operable to, in response to the determination that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, cause the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling the!! text area to be presented to the first user.


           40.   (Previously Presented) The system of Claim 37, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.

           41.   (Canceled)


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       42.   (Canceled)


       43.   (Canceled)




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                                            REMARKS
           Applicants attempted to revise the claims after noting certain unintentional errors and
submitted an amendment under 37 C.F.R. § 1.312 on May 11, 2016.                  This request was
rejected by the Examiner on May 19, 2016.             Thus, Applicants submit the present RCE
amending Claims 23, 25, 30, 32, 37, and 39.
           Previously, U.S. Patent Publication No. 2014/0040368 Al by Janssens ("Janssens")
and U.S. Patent Publication No. 2011/0087974 Al by Kulas ("Kulas") had been used to
reject the application. The claims as amended here are allowable over these references. For
example, neither the cited portions Janssens nor Kulas disclose the particular manner of
expressing preferences and enabling communication as recited in the limitations of amended
Claim 23.
           Janssens discloses a social interaction system that includes a way for a user to find
people of interest.     Janssens at iJ 0004.    A card-feed pane displays "cards," which may
display profiles of users. Id. at iI 0046. A left (backward) arrow and right (forward) enable
the user to view other cards within the card-feed.        Id. at iJ 0047.   Additionally, clicking,
mouse dragging, hovering, swiping, and gesturing, may indicate to the system to display a
new card. Id. The card-feed also includes a "like" button that records an indication that the
current user is interested in the user whose card is being displayed. Id. at iJ 0052.
           The Examiner has relied on Janssens at paragraphs 64 and 95 as allegedly disclosing
enabling communication between the first user and the second user in response to
determining that the second user has expressed approval for the first user. These paragraphs,
however, merely disclose updating a user's contact list or chat list. For example, paragraph
64 discloses that when a user links with another user (e.g., where both users indicated they
liked the other user), a small image (e.g., a thumbnail picture) of the linked user previously or
newly presented in the chat list or elsewhere may be highlighted or otherwise identified on
the user interface (e.g., relative to images of other users in the chat list that are not a link).
Thus, upon forming a link the user's chat list images are updated. There is no disclosure in
paragraph 64 of Janssens of enabling communication in the manner claimed.               In fact, as
shown above, Janssens teaches away from the claim limitations identified above because it
discloses that users exist in the chat list (and communicate with each other) before they are
linked. Paragraph 95 of Janssens merely discloses that a contact may be automatically added



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to a given user's contact list when two users are linked and suggests that users could
communicate before being linked.
           Other portions of .Janssens previously cited by the Examiner are also deficient.
Paragraphs 52-53 of Janssens suggests that users can freely communicate unless they are
prevented once a user requests. This teaches away from the claimed manner of enabling
communication as users are prevented from communicating until the conditions specified in
the claim are met.        See also id. at if 5.   Paragraph 56 of Janssens, which add)"esses
communication in the system, fails to disclose the claimed manner of enabling
communication. Rather, consistent with the teachings of Janssens, it merely discloses users
setting preferences but otherwise open communication between users of the system.
Paragraph 178 addresses a "speed dating" situation where users who have expressed no
preference for other users are forced to chat with another for a specified period of time. This
again teaches away from the claimed manner of enabling communication which require a
particular set of factors to allow for communication between users.
           Kulas discloses controls in a graphical user interface where a user's touch or swipe of
the control indicates the user's state of mind. Kulas at if 0005. The cited portions of Kulas
do not address when communication is allowed between users. As such, the cited portions of
Kuals do not remedy the deficiencies of Janssens.
           For at least these reasons, the proposed Janssens-Kulas combination at least fails to
disclose, teach or suggest the above cited element of Claim 23.              Thus, the proposed
combination fails to disclose, teach or suggest each element of independent Claim 23.
Accordingly, Claim 23 and each of its dependent claims are in condition for allowance.
           For analogous reasons, Applicants respectfully submit that Claim 30 is patentable
over the cited art used in its rejection and request that the rejection of this claim be
withdrawn.       The elements of Claim 30 are not shown by Janssens or Kulas for reasons
analogous to those discussed above regarding Claim 23.            Thus, for at least the reasons
discussed with respect to Claim 23, Applicants respectfully request allowance of Claim 30
and its dependent claims.
           For analogous reasons, Applicants respectfully submit that Claim 37 is patentable
over the cited art used in its rejection and request that the rejection of this claim be
withdrawn.      The elements of Claim 37 are not shown by Janssens or Kulas, for reasons



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analogous to those discussed above regarding Claim 23.     Thus, for at least the reasons
discussed with respect to Claim 23, Applicants respectfully request that Claim 37 and its
dependent claims be allowed.




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                                          CONCLUSION

           Applicants have made an earnest attempt to place this case in condition for allowance.
For the foregoing reasons and for other reasons clearly apparent, Applicants respectfully
request reconsideration and full allowance of all pending claims.
           If the Examiner feels that a telephone conference would advance prosecution of this
application in any manner, the Examiner is invited to contact Roshan Mansinghani, Attorney
for Applicants, at the Examiner's convenience at (214) 953-6737.
           As indicated on the accompanying RCE Transmittal form, the Commissioner is
authorized to charge the amount of $1,700.00 for the RCE fee to Deposit Account No. 02-
0384 of BAKER BOTTS L.L.P.             Although Applicants believe no other fees are due, the
Commissioner is authorized to charge any necessary additional fees and credit any
overpayments to Deposit Account No. 02-0384 of BAKER BOTTS L.L.P.


                                                Respectfully submitted,

                                                BAKER BOTTS L.L.P.
                                                Attorneys for Applicants



                                                Roshan S. Mansinghani
                                                Reg. No. 62,429
                                                (214) 953-6737

Date:        S /oZ. (o V-0/(o
               I     I

Correspondence Address:
Customer No:             106095




25742049
              Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 38 of 189
                                      Electronic Acknowledgement Receipt

                         EFSID:                           30732483


                 Application Number:                      14059192


          International Application Number:

                Confirmation Number:                      1044




                  Title of Invention:                     Matching Process System And Method




         First Named Inventor/Applicant Name:             Sean Rad


                  Customer Number:                        5073


                          Filer:                          Chad Christian Walters/Karen Langford


                 Filer Authorized By:                     Chad Christian Walters


              Attorney Docket Number:                     083523.0118


                     Receipt Date:                        23-0CT-2017


                      Filing Date:                        21-0CT-2013


                     Time Stamp:                          16:16:03


                  Application Type:                       Utility under 35 USC 111 (a)


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 Document                                                                                    File Size(Bytes}/                 Multi         Pages
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  Number                                                                                     Message Digest                   Part /.zip   (if appl.)

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               Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 39 of 189
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Post Card, as described in MPEP 503.

New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.
National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.
New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                     Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 40 of 189
                     UNITED STA TES p ATENT AND TRADEMARK OFFICE
                                                                                    UNITED STATES DEPARTMENT OF COMMERCE
                                                                                    United States Patent and Trademark Office
                                                                                    Address: COMMISSIONER FOR PATENTS
                                                                                           P.O. Box 1450
                                                                                           Alexandria, Virginia 22313-1450
                                                                                           www .uspto.gov


      APPLICATION NO.             ISSUE DATE             PATENT NO.          ATTORNEY DOCKET NO.                  CONFIRMATION NO.

          14/059,192              08/15/2017               9733811                083523.0118                                1044

            5073          7590        07/26/2017
        BAKER BOTTS L.L.P.
        2001 ROSS AVENUE
        SUITE 700
        DALLAS, TX 75201-2980



                                                   ISSUE NOTIFICATION

The projected patent number and issue date are specified above.

                          Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                      (application filed on or after May 29, 2000)

The Patent Term Adjustment is 121 day(s). Any patent to issue from the above-identified application will
include an indication of the adjustment on the front page.

If a Continued Prosecution Application (CPA) was filed in the above-identified application, the filing date that
determines Patent Term Adjustment is the filing date of the most recent CPA.

Applicant will be able to obtain more detailed information by accessing the Patent Application Information
Retrieval (PAIR) WEB site (http://pair.uspto.gov).

Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the
Office of Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee
payments should be directed to the Application Assistance Unit (AAU) of the Office of Data Management
(ODM) at (571)-272-4200.

APPLICANT(s) (Please see PAIR WEB site http://pair.uspto.gov for additional applicants):
Sean Rad, Los Angeles, CA;
TINDER INC., West Hollywood, CA;
Todd M. Carrico, Melissa, TX;
Kenneth B Hoskins, Plano, TX;
James C. Stone, Addison, TX;
Jonathan Badeen, North Hollywood, CA;




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IR103 (Rev. 10/09)
                             Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 41 of 189
                                                                         PART B - FEE(S) TRANSMITTAL
          Complete and send this t'orm, together with applicable l'ee(s), to: Mail Mail Stop ISSUE FEE
                                                                                   Commissioner for Patents
                                                                                   P.O. Box 1450
                                                                                   Alexandria, Virginia 22313-1450
                                                                            or Fax (571)-273-2885
       INSTRUCTIONS: This form should be used for lransmilling the ISSUE FEE and PUBLICATION FEE (if required). Blocks I through 5 should be completed where
       appropriate. All further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current correspondence address as
       indicated unless corrected below or directed otherwise in Block l, by (a) specifying a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for
       maintenance fee notifications.
                                                                                                     Note: A certificate of mailing can only be used for domestic mailings of the
                                                                                                     Fee(s) Transmittal. This certificate cannot be used for any other accompanying
          CURRENT CORRESPONDENCE ADDRESS (Note: Use Block l for any change of address)               papers. Each additional paper, such as an assignment or formal drawing, must
                                                                                                     have its own certificate of mailing or transmission.
                                                                                                                                Certificate of .!\failing or Transmission
                5073              7590              06/2112017                                              I hereby certify that this Fee(s) Transmittal is being deposited with the United
           BAKER BOTTS L.L.P.                                                                               Stales Postal Service with sufficient postage for first class mail in an envelor.e
                                                                                                            addressed lo the Mail Stop ISSUE FEE address above, or being facsimile
           2001 ROSS A VENUE                                                                                transmitted to the USPTO (571) 273-2885, on the date indicated below.
           SUITE 700
                                                                                                                                                                              (Depositor's name)
           DALLAS, TX 75201-2980
                                                                                                                                                                                     (Sigoatme)

                                                                                                                                                                                          (Date)




           APPLICATION NO.                 FILING DATE                              FIRST NA!vlED INVENTOR                           ATTORNEY DOCKET NO.            CONFJRMATION NO.

                14/059,192                   1012112013                                     Sean Rad                                       083523.01I8                       1044
       TITLE OF INVENTION: Matching Process System And Method


            APPLN. TYPE             ENTITY STATUS             ISSUE FEE DlJE         PUBLICATION FEE DUE         PREY. PAID !SS1.JE FEE      TOTAL FEE(S) DUE              DATE DUE

            nonprovisional        UNDISCOUNTED                      $960                        $0                           $0                        $960                09/21/2017



                          EXA:Vl!NER                             ART UNIT              CLASS-SUBCLASS

                       CHOI, YUK TING                               2153                   707-005000
       I. Change of correspondence address or indication of "Fee Address" (37          2. For printing on the patent front page, list
       CFR l.363).
                                                                                       (l) The names of up to 3 registered patent attorneys            Baker Botts L.L.P.
          0 Change of correspondence address (or Change of Correspondence              or agents OR, alternatively,
          Address form PTO/SB/122) attached.                                           (2) The name of a single firm (having as a member a         2 _ _ _ _ _ __
          0 "Fee Address" indication (or "Fee Address" Indication form                 registered attorney or agent) and the names of up to
          PTO/SB/47; Rev 03-02 or more recent) attached. Use of a Customer             2 registered patent attorneys or agents. If no name is      3
          Number is required.                                                          listed, no name will be printed.
       3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
          PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document has been filed for
ters      recordation as set forth in 37 CFR 3.11. Completion of this form is NOT a substitute for filing an assignment.
          (A) NAME Of' ASSIGNEE                                                      (B) RESIDENCE: (CITY and STATE OR COUNTRY)

           Tinder, Inc.                                                                    West Hollywood, California
       Please check the appropriate assignee category or categories (will not be printed on the patent) :    0 Individual ~Corporation or other private group entity 0 Government
       4a. The following fee(s) are submitted:                                   4b. Payment of Fee(s): (Please first reapply any previously paid issue fee shown above)
           ~Issue Fee                                                               0 A check is enclosed.
          0 Publication Fee (No small entity discount permitted)                    0 Payment by credit card. Form PT0-2038 is attached.
          0 Advance Order - #of Copies _ _ _ _ _ _ _ _ _ __                         ~The director is hereby authorized to charge thfte>ii;ii;<;d. fee(s ), any deficiency, or credits any
                                                                                       overpayment, to Deposit Account Number U -l.J.)l54             (enclose an extra copy of this form).

       5. Change in Entity Status (from status indicated above)
          0 Applicant certifying micro entity status. See 37 CFR 1.29               NOTE: Absent a valid certification of Micro Entity Status (see forms PTO/SB/15A and 158), issue
                                                                                    fee payment in the micro entity amount will not be accepted at the risk of application abandonment.
          0 Applicant asserting small entity status. See 37 CFR 1.27                NOTE: If the application was previously under micro entity status, checking this box will be taken
                                                                                    to be a notification of loss of entitlement to micro entity status.
          0 Applicant changing lo regular undiscounted fee status.                  NOTE: Checking this box will be taken to be a notification of loss of entitlement to small or micro
                                                                                    entity status, as applicable.
       NOTE: This form must be signed in accordance with 37 CFR l.31 and l.33. See 37 CFR 1.4 for signature reguirements and certifications.

          Authorized Signature _/_C_h_a_d_C_._W_a_l_t_e_r_s_/___________                                            Date _    ___£..J_u~ly'---1_2'-,2_0_1_7_ _ _ _ _ _ __

          Typed or printed name     Chad C. Walters                                                                 Registration No. ___4~8~,~0_2_2___________


                                                                                        Page 2 of3
       PTOL-85 Part B (10-13) Approved for use through 10/31/2013.                    OMB 0651-0033           U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
     Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 42 of 189



ATTORNEY DOCKET NO.                                                     PATENT APPLICATION
083523.0118                                                                       14/059,192
                                                  1

               IN THE UNITED STATES PATENT AND TRADEMARK OFFICE


In re Application of:          Sean Rad et al.
Serial No.:                    14/059,192
Filed:                         October 21, 2013
Group No.:                     2153
Examiner:                      Yuk Ting Choi
Notice of Allowance Mailed: June 21, 2017
Confirmation No.:              1044
Title:                        MATCHING PROCESS SYSTEM AND METHOD


Mail Stop Issue Fee
Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450

Dear Sir:

                        RESPONSE TO REASONS FOR ALLOWANCE

         Applicant appreciates the Examiner's allowance of Claims 23, 25, 26, 30, 32, 33, 37, 39
and 45. Pursuant to 3 7 C.F .R. § 1.104, Applicant respectfully issues a statement commenting on
the Examiner's reasons for allowance.       Applicant respectfully disagrees with the Examiner's
reasons for allowance to the extent that they are inconsistent with applicable case law, statutes,
and regulations. Furthermore, Applicant does not admit to any characterization or limitation of
the claims or to any characterization of a reference by the Examiner, particularly any that are
inconsistent with the language of the claims considered in their entirety and including all of their
constituent limitations.
                                                      Respectfully submitted,
                                                      BAKER BOTTS L.L.P.
                                                      Attorneys for Applicant

                                                      /Chad C. Walters/

                                                      Chad C. Walters
                                                      Registration No. 48,022
Date: July 12, 2017
CUSTOMER NO. 05073
                 Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 43 of 189



                                  Electronic Patent Application Fee Transmittal
 Application Number:                                 14059192


 Filing Date:                                        21-0ct-2013




 Title of Invention:                                 Matching Process System And Method




 First Named Inventor/Applicant Name:                Sean Rad


 Filer:                                              Chad Christian Walters/Karen Langford


 Attorney Docket Number:                             083523.0118


 Filed as Large Entity



Filing Fees for Utility under 35 USC 111 (a)


                                                                                                      Sub-Total in
                             Description                    Fee Code        Quantity         Amount
                                                                                                        USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


                         UTILITY APPL ISSUE FEE                 1501             1            960         960
            Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 44 of 189
                                                                                 Sub-Total in
                     Description              Fee Code   Quantity     Amount
                                                                                   USO($)


Extension-of-Time:


Miscellaneous:


                                                    Total in USO($)              960
               Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 45 of 189
                                      Electronic Acknowledgement Receipt

                         EFSID:                          29757933


                  Application Number:                     14059192


         International Application Number:

                  Confirmation Number:                    1044




                    Title of Invention:                  Matching Process System And Method




       First Named Inventor/Applicant Name:              Sean Rad


                   Customer Number:                      5073


                          Filer:                         Chad Christian Walters/Karen Langford


                   Filer Authorized By:                  Chad Christian Walters


               Attorney Docket Number:                   083523.0118


                      Receipt Date:                       12-JUL-2017


                       Filing Date:                      21-0CT-2013


                      Time Stamp:                         12:18:32


                    Application Type:                     Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                   yes

Payment Type                                            DA

Payment was successfully received in RAM                 $960

RAM confirmation Number                                  0712171NTEFSW00009939020384

Deposit Account

Authorized User

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
               Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 46 of 189




File Listing:
 Document                                                                                File Size(Bytes}/                   Multi             Pages
                    Document Description                        File Name
  Number                                                                                 Message Digest                     Part /.zip       (if appl.)

                                                                                                   133579

      1                                                          118if.PDF                                                      yes              2
                                                                                     2bac2bdeae1 Od890bdd3971 Oa401982a3d
                                                                                                    985492




                                             Multipart Description/PDF files in .zip description

                                   Document Description                                             Start                             End


                                  Issue Fee Payment (PT0-85B)                                          1                                 1



                            Post Allowance Communication - Incoming                                    2                                 2


Warnings:
Information:

                                                                                                    30310

     2                Fee Worksheet (SB06)                      fee-info.pdf                                                    no               2
                                                                                     6b689Sf1133a64c2a6403aa3049c5864ffab
                                                                                                     d896




Warnings:
Information:
                                                       Total Files Size (in bytes)                                     163889



This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New Agglications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.
National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.
New International Agglication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                       Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 47 of 189

                     UNITED STAIBS p AIBNT AND TRADEMARK OFFICE
                                                                                                      UNITED STATES DEPARTMENT OF COMMERCE
                                                                                                      United States Patent and Trademark Office
                                                                                                      Address: COMMISSIONER FOR PATENTS
                                                                                                             P.O. Box 1450
                                                                                                             Alexandria, Virginia 22313-1450
                                                                                                             www.uspto.gov



                                    NOTICE OF ALLOWANCE AND FEE(S) DUE

                                                                                                                             EXAMINER
        5073           7590          06/21/2017
   BAKER BOTTS L.L.P.                                                                                                    CHOI, YUK TING
   2001 ROSS AVENUE
   SUITE 700                                                                                                ART UNIT                      PAPER NUMBER

   DALLAS, TX 75201-2980                                                                                       2153

                                                                                                    DATE MAILED: 06/21/2017



   APPLICATION NO.            FILING DATE                     FIRST NAMED INVENTOR                   ATTORNEY DOCKET NO.                CONFIRMATION NO.

       14/059,192              10/21/2013                           Sean Rad                                083523.0118                         1044
TITLE OF INVENTION: Matching Process System And Method




    APPLN. TYPE          ENTITY STATUS        ISSUE FEE DUE   PUBLICATION FEE DUE    PREV. PAID ISSUE FEE    TOTAL FEE(S) DUE                  DATEDUE

    nonprovisional     UNDISCOUNTED               $960                 $0                     $0                      $960                     09/21/2017

THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PATENT.
PROSECUTION ON THE MERITS IS CLOSED. THIS NOTICE OF ALLOWANCE IS NOT A GRANT OF PATENT RIGHTS.
THIS APPLICATION IS SUBJECT TO WITHDRAWAL FROM ISSUE AT THE INITIATIVE OF THE OFFICE OR UPON
PETITION BY THE APPLICANT. SEE 37 CFR 1.313 AND MPEP 1308.
THE ISSUE FEE AND PUBLICATION FEE (IF REQUIRED) MUST BE PAID WITHIN THREE MONTHS FROM THE
MAILING DATE OF THIS NOTICE OR THIS APPLICATION SHALL BE REGARDED AS ABANDONED.            THIS
STATUTORY PERIOD CANNOT BE EXTENDED. SEE 35 U.S.C. 151. THE ISSUE FEE DUE INDICATED ABOVE DOES
NOT REFLECT A CREDIT FOR ANY PREVIOUSLY PAID ISSUE FEE IN THIS APPLICATION. IF AN ISSUE FEE HAS
PREVIOUSLY BEEN PAID IN THIS APPLICATION (AS SHOWN ABOVE), THE RETURN OF PART B OF THIS FORM
WILL BE CONSIDERED A REQUEST TO REAPPLY THE PREVIOUSLY PAID ISSUE FEE TOWARD THE ISSUE FEE NOW
DUE.

HOW TO REPLY TO THIS NOTICE:

I. Review the ENTITY STATUS shown above. If the ENTITY STATUS is shown as SMALL or MICRO, verify whether entitlement to that
entity status still applies.
If the ENTITY STATUS is the same as shown above, pay the TOTAL FEE(S) DUE shown above.
If the ENTITY STATUS is changed from that shown above, on PART B - FEE(S) TRANSMITTAL, complete section number 5 titled
"Change in Entity Status (from status indicated above)".
For purposes of this notice, small entity fees are 1/2 the amount of undiscounted fees, and micro entity fees are 1/2 the amount of small entity
fees.



IL PART B - FEE(S) TRANSMITTAL, or its equivalent, must be completed and returned to the United States Patent and Trademark Office
(USPTO) with your ISSUE FEE and PUBLICATION FEE (if required). If you are charging the fee(s) to your deposit account, section "4b"
of Part B - Fee(s) Transmittal should be completed and an extra copy of the form should be submitted. If an equivalent of Part B is filed, a
request to reapply a previously paid issue fee must be clearly made, and delays in processing may occur due to the difficulty in recognizing
the paper as an equivalent of Part B.
III. All communications regarding this application must give the application number. Please direct all communications prior to issuance to
Mail Stop ISSUE FEE unless advised to the contrary.
IMPORTANT REMINDER: Utility patents issuing on applications filed on or after Dec. 12, 1980 may require payment of
maintenance fees. It is patentee's responsibility to ensure timely payment of maintenance fees when due.

                                                                  Page 1of3
PTOL-85 (Rev. 02/11)
                         Case 6:21-cv-00147-ADA  Document
                                              PART            15-7 Filed 04/22/21 Page 48 of 189
                                                   B - FEE(S) TRANSMITTAL
  Complete and send this form, together with applicable fee(s), to: Mail Mail Stop ISSUE FEE
                                                                         Commissioner for Patents
                                                                         P.O. Box 1450
                                                                         Alexandria, Virginia 22313-1450
                                                                  or Fax (571)-273-2885
INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks 1 through 5 should be completed where
appropriate. All further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current correspondence address as
indicated unless corrected below or directed otherwise in Block 1, by (a) specifying a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for
maintenance fee notifications.
                                                                                              Note: A certificate of mailing can only be used for domestic mailings of the
                                                                                              Fee(s) Transmittal. This certificate cannot be used for any other accompanying
   CURRENT CORRESPONDENCE ADDRESS (Note: Use Block 1 for any change of address)               papers. Each additional paper, such as an assignment or formal drawing, must
                                                                                              have its own certificate of mailing or transmission.

                                                                                                                         Certificate of Mailing or Transmission
         5073             7590               06/21/2017                                              I hereby certify that this Fee(s) Transmittal is being deposited with the United
    BAKER BOTTS L.L.P.                                                                               States Postal Service with sufficient postage for first class mail in an envelope
                                                                                                     addressed to the Mail Stop ISSUE FEE address above, or being facsimile
    2001 ROSS AVENUE                                                                                 transmitted to the USPTO (571) 273-2885, on the date indicated below.
    SUITE 700
                                                                                                                                                                       (Depositor's name)
    DALLAS, TX 75201-2980
                                                                                                                                                                              (Signature)

                                                                                                                                                                                   (Date)




    APPLICATION NO.                 FILING DATE                             FIRST NAMED INVENTOR                                 ATTORNEY DOCKET NO.        CONFIRMATION NO.

        14/059,192                   10/21/2013                                      Sean Rad                                        083523.0118                     1044
TITLE OF INVENTION: Matching Process System And Method


     APPLN. TYPE             ENTITY STATUS             ISSUE FEE DUE         PUBLICATION FEE DUE          PREV. PAID ISSUE FEE         TOTAL FEE(S) DUE            DATEDUE

    nonprovisional         UNDISCOUNTED                      $960                        $0                          $0                      $960                  09/21/2017



                   EXAMINER                               ART UNIT              CLASS-SUBCLASS

                CHOI, YUK TING                               2153                   707-005000

1. Change of correspondence address or indication of "Fee Address" (37          2. For printing on the patent front page, list
CFR 1.363).
                                                                                ( 1) The names of up to 3 registered patent attorneys
   0 Change of correspondence address (or Change of Correspondence              or agents OR, alternatively,
   Address form PTO/SB/122) attached.
                                                                                (2) The name of a single firm (having as a member a
   0 "Fee Address" indication (or "Fee Address" Indication form                 registered attorney or agent) and the names of up to
   PTO/SB/47; Rev 03-02 or more recent) attached. Use of a Customer             2 registered patent attorneys or agents. If no name is
   Number is required.                                                          listed, no name will be printed.
3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document has been filed for
   recordation as set forth in 37 CFR 3.11. Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OF ASSIGNEE                                                      (B) RESIDENCE: (CITY and STATE OR COUNTRY)




Please check the appropriate assignee category or categories (will not be printed on the patent) :    0 Individual 0 Corporation or other private group entity 0 Government
4a. The following fee(s) are submitted:                                   4b. Payment ofFee(s): (Please first reapply any previously paid issue fee shown above)
   0 Issue Fee                                                               0 A check is enclosed.
   0 Publication Fee (No small entity discount permitted)                    0 Payment by credit card. Form PT0-2038 is attached.
   0 Advance Order - #of Copies _ _ _ _ _ _ _ _ __                           0 The director is hereby authorized to charge the required fee( s), any deficiency, or credits any
                                                                                 overpayment, to Deposit Account Number                        (enclose an extra copy of this form).

5. Change in Entity Status (from status indicated above)
   0 Applicant certifying micro entity status. See 37 CFR 1.29               NOTE: Absent a valid certification of Micro Entity Status (see forms PTO/SB/15A and 15B), issue
                                                                             fee payment in the micro entity amount will not be accepted at the risk of application abandonment.
   0 Applicant asserting small entity status. See 37 CFR 1.27                NOTE: If the application was previously under micro entity status, checking this box will be taken
                                                                             to be a notification of loss of entitlement to micro entity status.
   0 Applicant changing to regular undiscounted fee status.                  NOTE: Checking this box will be taken to be a notification of loss of entitlement to small or micro
                                                                             entity status, as applicable.
NOTE: This form must be signed in accordance with 37 CFR 1.31and1.33. See 37 CFR 1.4 for signature requirements and certifications.


   Authorized Signature _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                        Date _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   Typed or printed name _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                         Registration No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                                                 Page 2 of3
PTOL-85 Part B (10-13) Approved for use through 10/31/2013.                     OMB 0651-0033           U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                       Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 49 of 189

                    UNITED STAIBS p AIBNT AND TRADEMARK OFFICE
                                                                                  UNITED STATES DEPARTMENT OF COMMERCE
                                                                                  United States Patent and Trademark Office
                                                                                  Address: COMMISSIONER FOR PATENTS
                                                                                        P.O. Box 1450
                                                                                        Alexandria, Virginia 22313-1450
                                                                                        www.uspto.gov


   APPLICATION NO.            FILING DATE            FIRST NAMED INVENTOR        ATTORNEY DOCKET NO.               CONFIRMATION NO.

       14/059,192              10/21/2013                  Sean Rad                   083523.0118                         1044

                                                                                                       EXAMINER
        5073           7590          06/21/2017
   BAKER BOTTS L.L.P.                                                                               CHOI, YUK TING
   2001 ROSS AVENUE
   SUITE 700                                                                           ART UNIT                      PAPER NUMBER

   DALLAS, TX 75201-2980                                                                  2153

                                                                                DATE MAILED: 06/21/2017




                              Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                         (Applications filed on or after May 29, 2000)

The Office has discontinued providing a Patent Term Adjustment (PTA) calculation with the Notice of Allowance.

Section l(h)(2) of the AIA Technical Corrections Act amended 35 U.S.C. 154(b)(3)(B)(i) to eliminate the
requirement that the Office provide a patent term adjustment determination with the notice of allowance. See
Revisions to Patent Term Adjustment, 78 Fed. Reg. 19416, 19417 (Apr. 1, 2013). Therefore, the Office is no longer
providing an initial patent term adjustment determination with the notice of allowance. The Office will continue to
provide a patent term adjustment determination with the Issue Notification Letter that is mailed to applicant
approximately three weeks prior to the issue date of the patent, and will include the patent term adjustment on the
patent. Any request for reconsideration of the patent term adjustment determination (or reinstatement of patent term
adjustment) should follow the process outlined in 37 CPR 1.705.


Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the Office of
Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee payments should be
directed to the Customer Service Center of the Office of Patent Publication at 1-(888)-786-0101 or (571 )-272-4200.




                                                         Page 3 of 3
PTOL-85 (Rev. 02/11)
       Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 50 of 189

                  OMB Clearance and PRA Burden Statement for PTOL-85 Part B

The Paperwork Reduction Act (PRA) of 1995 requires Federal agencies to obtain Office of Management and
Budget approval before requesting most types of information from the public. When OMB approves an agency
request to collect information from the public, OMB (i) provides a valid OMB Control Number and expiration
date for the agency to display on the instrument that will be used to collect the information and (ii) requires the
agency to inform the public about the OMB Control Number's legal significance in accordance with 5 CFR
1320.5(b).

The information collected by PTOL-85 Part B is required by 37 CFR 1.311. The information is required to obtain
or retain a benefit by the public which is to file (and by the USPTO to process) an application. Confidentiality is
governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete,
including gathering, preparing, and submitting the completed application form to the USPTO. Time will vary
depending upon the individual case. Any comments on the amount of time you require to complete this form
and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and
Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, Virginia 22313-1450. DO NOT
SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box
1450, Alexandria, Virginia 22313-1450. Under the Paperwork Reduction Act of 1995, no persons are required to
respond to a collection of information unless it displays a valid OMB control number.

                                           Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
submission of the attached form related to a patent application or patent. Accordingly, pursuant to the
requirements of the Act, please be advised that: (1) the general authority for the collection of this information is
35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which
the information is used by the U.S. Patent and Trademark Office is to process and/or examine your submission
related to a patent application or patent. If you do not furnish the requested information, the U.S. Patent and
Trademark Office may not be able to process and/or examine your submission, which may result in termination of
proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:
  1. The information on this form will be treated confidentially to the extent allowed under the Freedom of
     Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.C 552a). Records from this system of records
     may be disclosed to the Department of Justice to determine whether disclosure of these records is required
     by the Freedom of Information Act.
 2. A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence
     to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of
     settlement negotiations.
 3. A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
     request involving an individual, to whom the record pertains, when the individual has requested assistance
     from the Member with respect to the subject matter of the record.
 4. A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having
     need for the information in order to perform a contract. Recipients of information shall be required to
     comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
 5. A record related to an International Application filed under the Patent Cooperation Treaty in this system of
     records may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property
     Organization, pursuant to the Patent Cooperation Treaty.
 6. A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes
     of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C.
     218(c)).
 7. A record from this system of records may be disclosed, as a routine use, to the Administrator, General
     Services, or his/her designee, during an inspection of records conducted by GSA as part of that agency's
     responsibility to recommend improvements in records management practices and programs, under authority
     of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA regulations
     governing inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive.
     Such disclosure shall not be used to make determinations about individuals.
 8. A record from this system of records may be disclosed, as a routine use, to the public after either publication
     of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a
     record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the
     record was filed in an application which became abandoned or in which the proceedings were terminated
     and which application is referenced by either a published application, an application open to public
     inspection or an issued patent.
 9. A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
     enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.
                     Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 51 of 189
                                                                                       Application No.                          Applicant(s)

                                                                                       14/059, 192                              RAD ET AL.
        Examiner-Initiated Interview Summary
                                                                                       Examiner                                 Art Unit

                                                                                       YUK TING CHOI                            2153


 All participants (applicant, applicant's representative, PTO personnel):

(1) YUK TING CHOI.                                                                        (3) _ _ .

(2) CHAO C. Walters.                                                                      (4) _ _ .

    Date of Interview: 08 June 2017.

     Type:            ~ Telephonic        0 Video Conference
                      0     Personal [copy given to: 0 applicant                  ~ applicant's representative]

 Exhibit shown or demonstration conducted:                       0 Yes            ~No.
     If Yes, brief description: _ _ .


Issues Discussed               01 01   0112 01 02 ~1 03 ~Others
(For each of the checked box( es) above, please describe below the issue and detailed description of the discussion)


Claim(s) discussed: 23.

 Identification of prior art discussed: NONE.

Substance of Interview
(For each issue discussed, provide a detailed description and indicate if agreement was reached. Some topics may include: identification or clarification of a
reference or a portion thereof, claim interpretation, proposed amendments, arguments of any applied references etc ... )


 The Examiner suggested Applicant to amend claims 23, 30 and 37 to narrow the matches are retrieved from a pluralitv
of user online-dating profiles to expedite the prosecution process. Also, the Examiner also suggested Applicant to call
OPAP (800-786-91991 to correct the inventorship of this application. Applicant agreed and authorized the Examiner to
make changes through the Examiner's Amendment..




Applicant recordation instructions: It is not necessary for applicant to provide a separate record of the substance of interview.


Examiner recordation instructions: Examiners must summarize the substance of any interview of record. A complete and proper recordation of the
substance of an interview should include the items listed in MPEP 713.04 for complete and proper recordation including the identification of the
general thrust of each argument or issue discussed, a general indication of any other pertinent matters discussed regarding patentability and the
general results or outcome of the interview, to include an indication as to whether or not agreement was reached on the issues raised.


0 Attachment
/YUK TING CHOI/
Primary Examiner, Art Unit 2153


U.S. Patent and Trademark Office
PTOL·413B (Rev. 8/11/2010)                                               Interview Summary                                                    Paper No. 20170608
                          Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 52 of 189

                                                                        Application No.                        Applicant(s)
                                                                        14/059, 192                            RAD ET AL.
                                                                        Examiner                               Art Unit       AIA (First Inventor to File)
                        Notice of Allowability                                                                                Status
                                                                        YUK TING CHOI                          2153
                                                                                                                               No

             -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address--
All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
herewith (or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course. THIS
NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
of the Office or upon petition by the applicant. See 37 CFR 1.313 and MPEP 1308.
1. [8] This communication is responsive to Non-Final Re;ection mailed on 0212812017.
        DA declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on ___.

2. D An election was made by the applicant in response to a restriction requirement set forth during the interview on _ _ ; the restriction
     requirement and election have been incorporated into this action.

3. [8] The allowed claim(s) is/are 23.25.26.30.32.33.37.39 and 40. As a result of the allowed claim(s), you may be eligible to benefit from
       the Patent Prosecution Highway program at a participating intellectual property office for the corresponding application. For more
       information, please see http://www.uspto.gov/patents/init_events/pph/index.jsp or send an inquiry to PPHfeedback@uspto.gov.

4. D Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
        Certified copies:
          a) D All           b) D Some    *c) D None of the:
                   1. D Certified copies of the priority documents have been received.
                  2. D Certified copies of the priority documents have been received in Application No. _ _ .
                  3. D Copies of the certified copies of the priority documents have been received in this national stage application from the
                           International Bureau (PCT Rule 17.2(a)).
         * Certified copies not received: _ _ .


  Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file a reply complying with the requirements
  noted below. Failure to timely comply will result in ABANDONMENT of this application.
  THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.
5. D CORRECTED DRAWINGS (as "replacement sheets") must be submitted.
         D     including changes required by the attached Examiner's Amendment I Comment or in the Office action of
               Paper No./Mail Date _ _ .
     Identifying indicia such as the application number {see 37 CFR 1.84{c)) should be written on the drawings in the front {not the back) of
     each sheet. Replacement sheet{s) should be labeled as such in the header according to 37 CFR 1.121{d).

6. 0 DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
    attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.


Attachment(s)
1. D Notice of References Cited (PT0-892)                                         5. [8] Examiner's Amendment/Comment
2. D Information Disclosure Statements (PTO/SB/08),                               6. [8] Examiner's Statement of Reasons for Allowance
        Paper No./Mail Date _ _
3. D Examiner's Comment Regarding Requirement for Deposit                         7. D Other _ _ .
        of Biological Material
4. [8] Interview Summary (PT0-413),
        Paper No./Mail Date 20170608.
 /YUK TING CHOI/
 Primary Examiner, Art Unit 2153




U.S. Patent and Trademark Office
PTOL-37 (Rev. 08-13)                                                  Notice of Allowability                          Part of Paper No./Mail Date
20170608
      Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 53 of 189


Application/Control Number: 14/059, 192                                              Page 2
Art Unit: 2153

                                   DETAILED ACTION



1.     This office action is in response to applicant's communication filed on 05/30/2017

in response to PTO Office Action mailed on 02/28/2017.

2.     In response to the previous Office Action, no claims have been amended, added

or canceled. A declaration of prior Invention under 37 CFR 1.31 filed on 5/30/2017 has

been considered. The inventor Johnathan Baden who signed the declaration of prior

Invention was not one of the original inventors listed in the application. Applicant has

paid the fee set forth in 37 CFR. 1.17 (i) on 5/30/2017 and 37 CFR. 1.17 (d) on

06/07/2017 and filed a request under Rule 48 correcting inventorship on 06/07/2017.

The inventor Mr. Jonathan Badeen has been updated in the system.




                              EXAMINER'S AMENDMENT

3.     An examiner's amendment to the record appears below. Should the changes

and/or additions be unacceptable to applicant, an amendment may be filed as provided

by 37 CFR 1.312. To ensure consideration of such an amendment, it MUST be

submitted no later than the payment of the issue fee.

       Authorization for this examiner's amendment was given in a telephone interview

with Chad C. Walters on 06/07/2017. During the interview, the Examiner suggested

Applicant to amend claims 23, 30 and 37 to narrow the matches are retrieved from a

plurality of user online-dating profiles to expedite the prosecution process. Also, the

Examiner also suggested Applicant to call OPAP (800-786-9199) to correct the inventorship
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of this application. Applicant agreed and authorized the Examiner to make changes through the

Examiner's Amendment.




       The application has been amended as follows:



In the claim:

  Claim 23. (Currently Amended) A computer implemented method of profile

  matching, comprising:

       electronically receiving a plurality of user online-dating profiles. each profile

comprising traits of a respective user and associated with a social networking platform;

  electronically receiving a first request for matching, the first request electronically

submitted by a first user using a first electronic device;

  determining a set of potential matches from the plurality of user online-dating profiles

for the first user in response to receiving the first request;

  causing the display of a graphical representation of a first potential match of the set of

potential matches to the first user on a graphical user interface of the first electronic

device, the first potential match corresponding to a second user;

  determining that the first user expressed a positive preference indication regarding the

first potential match at least by determining that the first user performed a first swiping

gesture associated with the graphical representation of the first potential match on the

graphical user interface;
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  in response to determining that the first user expressed the positive preference

indication regarding the first potential match, automatically causing the graphical user

interface to display a graphical representation of a second potential match of the set of

potential matches instead of the graphical representation of the first potential match;

  determining that the second user has expressed a positive preference indication

regarding the first user after determining that the first user expressed the positive

preference indication regarding the first potential match;

  determining to enable initial communication between the first user and the second

user in response to determining that both the first user has expressed the positive

preference indication regarding the second user and the second user has expressed the

positive preference indication regarding the first user;

  in response to determining to enable initial communication between the first user and

the second user, causing the graphical user interface to display to the first user the

graphical representation of the first potential match;

  determining that the first user expressed a negative preference indication regarding a

third potential match of the set of potential matches at least by determining that the first

user performed a second swiping gesture associated with a graphical representation of

the third potential match on the graphical user interface, the second swiping gesture

different than the first swiping gesture, the third potential match corresponding to a third

user;
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  preventing communication between the first user and the third user after determining

that the first user has expressed the negative preference indication regarding the third

user;

  determining that the first user expressed a positive preference indication regarding a

fourth potential match of the set of potential matches at least by determining that the

first user performed the first swiping gesture associated with a graphical representation

of the fourth potential match on the graphical user interface, the fourth potential match

corresponding to a fourth user; and

  preventing communication between the first user and the fourth user after determining

that the fourth user has expressed a negative preference indication regarding the first

user.

  30. (Currently Amended) A non-transitory computer-readable medium comprising

instructions that, when executed by a processor, are configured to:

  electronically receive a plurality of user online-dating profiles. each profile comprising

traits of a respective user and associated with a social networking platform;

  electronically receive a first request for matching, the first request electronically

submitted by a first user using a first electronic device;

  determine a set of potential matches from the plurality of user online-dating profiles for

the first user in response to receiving the first request;
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  cause the display of a graphical representation of a first potential match of the set of

potential matches to the first user on a graphical user interface of the first electronic

device, the first potential match corresponding to a second user;

  determine that the first user expressed a positive preference indication regarding the

first potential match at least by determining that the first user performed a first swiping

gesture associated with the graphical representation of the first potential match on the

graphical user interface;

  in response to the determination that the first user expressed the positive preference

indication regarding the first potential match, automatically cause the graphical user

interface to display a graphical representation of a second potential match of the set of

potential matches instead of the graphical representation of the first potential match;

  determine that the second user has expressed a positive preference indication

regarding the first user after determining that the first user expressed the positive

preference indication regarding the first potential match;

  determine to enable initial communication between the first user and the second user

in response to the determination that both the first user has expressed the positive

preference indication regarding the second user and the second user has expressed the

positive preference indication regarding the first user;

  in response to the determination to enable initial communication between the first user

and the second user, cause the graphical user interface to display to the first user the

graphical representation of the first potential match;
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  determine that the first user expressed a negative preference indication regarding a

third potential match of the set of potential matches at least by determining that the first

user performed a second swiping gesture associated with a graphical representation of

the third potential match on the graphical user interface, the second swiping gesture

different than the first swiping gesture, the third potential match corresponding to a third

user;

  prevent communication between the first user and the third user after determining that

the first user has expressed the negative preference indication regarding the third user;

  determine that the first user expressed a positive preference indication regarding a

fourth potential match of the set of potential matches at least by determining that the

first user performed the first swiping gesture associated with a graphical representation

of the fourth potential match on the graphical user interface, the fourth potential match

corresponding to a fourth user; and

prevent communication between the first user and the fourth user after determining that

the fourth user has expressed a negative preference indication regarding the first user.

  37. (Currently Amended) A system for profile matching, comprising:

  an interface operable to:

  electronically receive a plurality of user online-dating profiles. each profile comprising

traits of a respective user and associated with a social networking platform;

  electronically receive a first request for matching, the first request electronically

submitted by a first user using a first electronic device; and
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  a processor coupled to the interface and operable to:

  determine a set of potential matches from the plurality of user online-datinq profiles for

the first user in response to receiving the first request;

  cause the interface to display a graphical representation of a first potential match of

the set of potential matches to the first user on a graphical user interface of the first

electronic device, the first potential match corresponding to a second user;

  determine that the interface has received a positive preference indication from the first

user regarding the first potential match at least by determining that the first user

performed a first swiping gesture associated with the graphical representation of the first

potential match on the graphical user interface;

  automatically cause the interface to remove the presentation of the first potential

match from the graphical user interface in response to detecting the gesture and cause

the interface to present, on the graphical user interface, a second potential match of the

set of potential matches to the first user;

  determine that the second user has expressed a positive preference indication

regarding the first user after determining that the first user expressed the positive

preference indication regarding the first potential match; and

  determine to enable initial communication between the first user and the second user

in response to the determination that both the first user has expressed the positive

preference indication regarding the second user and the second user has expressed the

positive preference indication regarding the first user;
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  in response to the determination to enable initial communication between the first user

and the second user, cause the graphical user interface to display to the first user the

graphical representation of the first potential match;

  determine that the first user expressed a negative preference indication regarding a

third potential match of the set of potential matches at least by determining that the first

user performed a second swiping gesture associated with a graphical representation of

the third potential match on the graphical user interface, the second swiping gesture

different than the first swiping gesture, the third potential match corresponding to a third

user;

  prevent communication between the first user and the third user after determining that

the first user has expressed the negative preference indication regarding the third user;

  determine that the first user expressed a positive preference indication regarding a

fourth potential match of the set of potential matches at least by determining that the

first user performed the first swiping gesture associated with a graphical representation

of the fourth potential match on the graphical user interface, the fourth potential match

corresponding to a fourth user; and

  prevent communication between the first user and the fourth user after determining

that the fourth user has expressed a negative preference indication regarding the first

user.
     Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 61 of 189


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                                  Reason for Allowance

4.     The following is an examiner's statement of reasons for allowance:

A declaration of prior Invention under 37 CFR 1.31 filed on 5/30/2017 has been

considered. Applicant submitted the claimed technology was invented prior to

08/06/2012, which has priority date earlier than the primary reference: Janssens (US

2014/0040368A1 ). The Examiner has submitted the declaration to TQAS 2100

Brannon Smith and confirmed the declaration has an actual reduction to practice, and it

antedates the Janseens reference. However, Applicant has to correct the inventorship

of this application to add Johnathan Baden, who signed the declaration of prior

Invention. On 06/07/2017 Applicant has corrected and updated the inventorship of the

current application, the Janssens reference and the 35 USC 103 rejections in the Non-

Final Rejection mailed on 02/28/2017 rejecting claims 23, 25, 26, 30, 32, 33, 35, 37, 39

and 40 are hereby withdrawn.

      Any inquiry concerning this communication or earlier communications from the

examiner should be directed to YUK TING CHOI whose telephone number is (571 )270-

1637. The examiner can normally be reached on 8:30 AM - 5:30 PM EST.

       Examiner interviews are available via telephone, in-person, and video

conferencing using a USPTO supplied web-based collaboration tool. To schedule an

interview, applicant is encouraged to use the USPTO Automated Interview Request

(AIR) at http://www.uspto.gov/interviewpractice.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Heather Herndon can be reached on (571) 272-4136. The fax phone
     Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 62 of 189


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number for the organization where this application or proceeding is assigned is 571-

273-8300.

       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




/YUK TING CHOI/
Primary Examiner, Art Unit 2153
                     Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 63 of 189
                                                                                       Application No.                          Applicant(s)

                                                                                       14/059, 192                              RAD ET AL.
        Examiner-Initiated Interview Summary
                                                                                       Examiner                                 Art Unit

                                                                                       YUK TING CHOI                            2153


 All participants (applicant, applicant's representative, PTO personnel):

(1) YUK TING CHOI.                                                                        (3) _ _ .

(2) CHAO C. Walters.                                                                      (4) _ _ .

    Date of Interview: 08 June 2017.

     Type:            ~ Telephonic        0 Video Conference
                      0     Personal [copy given to: 0 applicant                  ~ applicant's representative]

 Exhibit shown or demonstration conducted:                       0 Yes            ~No.
     If Yes, brief description: _ _ .


Issues Discussed               01 01   0112 01 02 ~1 03 ~Others
(For each of the checked box( es) above, please describe below the issue and detailed description of the discussion)


Claim(s) discussed: 23.

 Identification of prior art discussed: NONE.

Substance of Interview
(For each issue discussed, provide a detailed description and indicate if agreement was reached. Some topics may include: identification or clarification of a
reference or a portion thereof, claim interpretation, proposed amendments, arguments of any applied references etc ... )


 The Examiner suggested Applicant to amend claims 23, 30 and 37 to narrow the matches are retrieved from a pluralitv
of user online-dating profiles to expedite the prosecution process. Also, the Examiner also suggested Applicant to call
OPAP (800-786-91991 to correct the inventorship of this application. Applicant agreed and authorized the Examiner to
make changes through the Examiner's Amendment..




Applicant recordation instructions: It is not necessary for applicant to provide a separate record of the substance of interview.


Examiner recordation instructions: Examiners must summarize the substance of any interview of record. A complete and proper recordation of the
substance of an interview should include the items listed in MPEP 713.04 for complete and proper recordation including the identification of the
general thrust of each argument or issue discussed, a general indication of any other pertinent matters discussed regarding patentability and the
general results or outcome of the interview, to include an indication as to whether or not agreement was reached on the issues raised.


0 Attachment
/YUK TING CHOI/
Primary Examiner, Art Unit 2153


U.S. Patent and Trademark Office
PTOL·413B (Rev. 8/11/2010)                                               Interview Summary                                                    Paper No. 20170608
                         Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 64 of 189

                                              Application/Control No.        Applicant(s)/Patent Under Reexamination

 Issue Classification                         14059192                       RAD ET AL.

                                              Examiner                       Art Unit

                                              YUK TING CHOI                  2164


 CPC
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 G06F          ii]] 3              IM 04842                                                    F                        2013-01-01

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 G06Q          ii]] 10             IM 10                                                                                2013-01-01

 G06Q          ii]] 30             IM 02                                                                                2013-01-01

 G06Q          ii]] 50             Im 10                                                                                2013-01-01

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 /YUK TING CHOI/
 Primary Examiner.Art Unit 2164                                         06/08/2017            O.G. Print Claim(s)        O.G. Print Figure

 (Primary Examiner)                                                       (Date)                      23                     Figure 6

U.S. Patent and Trademark Office                                                                                             Part of Paper No.
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                                        Application/Control No.                         Applicant(s)/Patent Under Reexamination

 Issue Classification                   14059192                                        RAD ET AL.

                                        Examiner                                        Art Unit

                                        YUK TING CHOI                                   2164



                US ORIGINAL CLASSIFICATION                                      INTERNATIONAL CLASSIFICATION
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                      CROSS REFERENCE(S)

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 /YUK TING CHOI/
 Primary Examiner.Art Unit 2164                                                  06/08/2017                 O.G. Print Claim(s)       O.G. Print Figure

 (Primary Examiner)                                                                (Date)                           23                    Figure 6

U.S. Patent and Trademark Office                                                                                                          Part of Paper No.
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                                                      Application/Control No.                             Applicant(s)/Patent Under Reexamination
 Issue Classification                                 14059192                                            RAD ET AL.

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                                                      YUK TING CHOI                                       2164



 D         Claims renumbered in the same order as presented by applicant                   D         CPA           D      T.D.            D       R.1.47

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 /YUK TING CHOI/
 Primary Examiner.Art Unit 2164                                                                   06/08/2017                O.G. Print Claim(s)          O.G. Print Figure

 (Primary Examiner)                                                                                  (Date)                         23                       Figure 6

U.S. Patent and Trademark Office                                                                                                                              Part of Paper No.
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                                         Application/Control No.                    Applicant(s)/Patent Under
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           Search Notes                  14059192                                   RAD ET AL.

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                                         YUK TING CHOI                              2164




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                                                            Primary Examiner.Art Unit 2164




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           Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 70 of 189




                                                                                       Ul\TfED STATES DEPA RTME'IT OF COMMERCE
                                                                                       United States Patent and Trademark Office
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    APPLICATION NUMBER           FILING OR 3 71 (C) DATE               FIRST NAMED APPLICANT                     ATTY. DOCKET NO./TITLE

        14/059,192                   10/21/2013                             Sean Rad                 083523.0118
                                                                                               CONFIRMATION N0.1044
5073                                                                                 37 CFR 1.48 ACKNOWLEDGEMENT
BAKER BOTTS L.L.P.                                                                   LETTER
2001 ROSS AVENUE
SUITE 700                                                                            111111111111111111111111]~!l]~~1~~1~~H~~~~H] 11111111111111111111111
DALLAS, TX 75201-2980
                                                                                                                 Date Mailed: 06/15/2017




               NOTICE OF ACCEPTANCE OF REQUEST UNDER 37 CFR 1.48(a)
This is in response to the applicant's request under 37 CFR 1.48(a) submitted on 06/07/2017.
The request under 37 CFR 1.48(a) to correct the inventorship, to correct or update the name of an inventor, or to
correct the order of names of joint inventors is accepted.
                                  Questions about the contents of this notice and the
                               requirements it sets forth should be directed to the Office
                                 of Data Management, Application Assistance Unit, at
                                (571) 272-4000 or (571) 272-4200 or 1-888-786-0101.




                /bye mane/




                                                           page 1of1
           Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 71 of 189




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  APPLICATION      FILING or    GRPART
    NUMBER        37l(c)DATE     UNIT       FIL FEE REC'D            ATTY.DOCKET.NO                         TOT CLAIMS IND CLAIMS
  14/059,192     10/21/2013      2153          1820                   083523.0118            21     3
                                                                                    CONFIRMATION N0.1044
5073                                                                         UPDATED FILING RECEIPT
BAKER BOTTS L.L.P.
2001 ROSS AVENUE                                                             1111111111111111111111m~m11wm~~~~~~11111111111111111111111
SUITE 700
DALLAS, TX 75201-2980
                                                                                                      Date Mailed: 06/15/2017




Receipt is acknowledged of this non-provisional patent application. The application will be taken up for examination
in due course. Applicant will be notified as to the results of the examination. Any correspondence concerning the
application must include the following identification information: the U.S. APPLICATION NUMBER, FILING DATE,
NAME OF APPLICANT, and TITLE OF INVENTION. Fees transmitted by check or draft are subject to collection.
Please verify the accuracy of the data presented on this receipt. If an error is noted on this Filing Receipt, please
submit a written request for a Filing Receipt Correction. Please provide a copy of this Filing Receipt with the
changes noted thereon. If you received a "Notice to File Missing Parts" for this application, please submit
any corrections to this Filing Receipt with your reply to the Notice. When the USPTO processes the reply
to the Notice, the USPTO will generate another Filing Receipt incorporating the requested corrections
lnventor(s)
                   Sean Rad, Los Angeles, CA;
                   Todd M. Carrico, Melissa, TX;
                   Kenneth B Hoskins, Plano, TX;
                   James C. Stone, Addison, TX;
                   Jonathan Badeen, North Hollywood, CA;
Applicant( s)
                   TINDER INC., West Hollywood, CA;
Power of Attorney: The patent practitioners associated with Customer Number 05073
Domestic Priority data as claimed by applicant
                  This appln claims benefit of 61/793,866 03/15/2013
                  and is a CIP of 12/339,301 12/19/2008 PAT 8566327
Foreign Applications for which priority is claimed (You may be eligible to benefit from the Patent Prosecution
Highway program at the USPTO. Please see http://www.uspto.gov for more information.) - None.
Foreign application information must be provided in an Application Data Sheet in order to constitute a claim to
foreign priority. See 37 CFR 1.55 and 1.76.


Permission to Access Application via Priority Document Exchange: Yes

Permission to Access Search Results: No

Applicant may provide or rescind an authorization for access using Form PTO/SB/39 or Form PTO/SB/69 as
appropriate.
                                                       page 1of3
           Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 72 of 189




Projected Publication Date: Not Applicable

Non-Publication Request: No

Early Publication Request: No
Title
             Matching Process System And Method
Preliminary Class
             707
Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition Applications: Yes

                PROTECTING YOUR INVENTION OUTSIDE THE UNITED STATES

Since the rights granted by a U.S. patent extend only throughout the territory of the United States and have no
effect in a foreign country, an inventor who wishes patent protection in another country must apply for a patent
in a specific country or in regional patent offices. Applicants may wish to consider the filing of an international
application under the Patent Cooperation Treaty (PCT). An international (PCT) application generally has the same
effect as a regular national patent application in each PCT-member country. The PCT process simplifies the filing
of patent applications on the same invention in member countries, but does not result in a grant of "an international
patent" and does not eliminate the need of applicants to file additional documents and fees in countries where patent
protection is desired.


Almost every country has its own patent law, and a person desiring a patent in a particular country must make an
application for patent in that country in accordance with its particular laws. Since the laws of many countries differ
in various respects from the patent law of the United States, applicants are advised to seek guidance from specific
foreign countries to ensure that patent rights are not lost prematurely.


Applicants also are advised that in the case of inventions made in the United States, the Director of the US PTO must
issue a license before applicants can apply for a patent in a foreign country. The filing of a U.S. patent application
serves as a request for a foreign filing license. The application's filing receipt contains further information and
guidance as to the status of applicant's license for foreign filing.


Applicants may wish to consult the USPTO booklet, "General Information Concerning Patents" (specifically, the
section entitled "Treaties and Foreign Patents") for more information on timeframes and deadlines for filing foreign
patent applications. The guide is available either by contacting the USPTO Contact Center at 800-786-9199, or it
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For information on preventing theft of your intellectual property (patents, trademarks and copyrights), you may wish
to consult the U.S. Government website, http://www.stopfakes.gov. Part of a Department of Commerce initiative,
this website includes self-help "toolkits" giving innovators guidance on how to protect intellectual property in specific
countries such as China, Korea and Mexico. For questions regarding patent enforcement issues, applicants may
call the U.S. Government hotline at 1-866-999-HALT (1-866-999-4258).




                                                       page 2 of 3
           Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 73 of 189




                                 LICENSE FOR FOREIGN FILING UNDER
                                Title 35, United States Code, Section 184
                          Title 37, Code of Federal Regulations, 5.11 & 5.15
GRANTED

The applicant has been granted a license under 35 U.S.C. 184, if the phrase "IF REQUIRED, FOREIGN FILING
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37 CFR 5.13 or 5.14.


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respect to certain countries, of other agencies, particularly the Office of Defense Trade Controls, Department of
State (with respect to Arms, Munitions and Implements of War (22 CFR 121-128)); the Bureau of Industry and
Security, Department of Commerce (15 CFR parts 730-774); the Office of Foreign AssetsControl, Department of
Treasury (31 CFR Parts 500+) and the Department of Energy.

NOT GRANTED

No license under 35 U.S.C. 184 has been granted at this time, if the phrase "IF REQUIRED, FOREIGN FILING
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from the filing date of this application and the licensee has not received any indication of a secrecy order under 35
U.S.C. 181, the licensee may foreign file the application pursuant to 37 CFR 5.15(b).



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                                                       page 3 of 3
         Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 74 of 189
ATTORNEY DOCKET NO.:                                                 PATENT APPLICATION
083523.0118                                                               USSN 14/059,192


             IN THE UNITED STATES PATENT AND TRADE:MARK OFFICE



In re Application of:           Sean RAD et al.
Serial No.:                     14/059,192
Filing Date:                    October 21, 2013
Group Art Unit:                 2153
Confirmation No.:               1044
Examiner:                       Yuk Ting Choi
Title:                          MATCHING PROCESS SYSTEM AND METHOD

Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450


               CORRECTION OF INVENTORSHIP AFTER FIRST ACTION

           On December 9, 2016, Applicant filed a Declaration and corrected Application Data
Sheet adding new inventor, Jonathan Badeen. On May 30, 2017, Applicant submitted the
$140.00 processing surcharge, but has yet to submit the additional required fee of $600.00
under 37 C.F.R. 1.17(d). The Commissioner is hereby authorized to charge the $600.00 fee
to correct inventorship after first action and, to the extent necessary, any necessary additional
fees and credit any overpayments to Deposit Account No. 02-0384 of BAKER BOTTS
L.L.P. Applicant respectfully requests that inventor, Jonathan Badeen, be added.
                                              Respectfully submitted,

                                              BAKER BOTTS L.L.P.




                                              Chad C. Walters
                                              Reg. No. 48,022
                                              (214) 953-6511

Date: June 7, 2017
Correspondence Address:
Customer No:            05073



35617488
                 Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 75 of 189



                             Electronic Patent Application Fee Transmittal
 Application Number:                            14059192


 Filing Date:                                   21-0ct-2013




 Title of Invention:                            Matching Process System And Method




 First Named Inventor/Applicant Name:           Sean Rad


 Filer:                                         Chad Christian Walters/Wendy Flottman


 Attorney Docket Number:                        083523.0118


 Filed as Large Entity


Filing Fees for Utility under 35 USC 111 (a)


                                                                                                 Sub-Total in
                         Description                   Fee Code        Quantity         Amount
                                                                                                   USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:


 Extension-of-Time:
            Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 76 of 189
                                                                                    Sub-Total in
                     Description                Fee Code      Quantity     Amount
                                                                                      USO($)


Miscellaneous:


         CORRECTION OF INVENTORSHIP ON MERITS     1819           1          600         600


                                                         Total in USO($)            600
               Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 77 of 189
                                      Electronic Acknowledgement Receipt

                         EFSID:                          29424871


                  Application Number:                     14059192


         International Application Number:

                  Confirmation Number:                    1044




                    Title of Invention:                  Matching Process System And Method




       First Named Inventor/Applicant Name:              Sean Rad


                   Customer Number:                      5073


                          Filer:                         Chad Christian Walters/Wendy Flottman


                   Filer Authorized By:                  Chad Christian Walters


               Attorney Docket Number:                   083523.0118


                      Receipt Date:                      07-JUN-2017


                       Filing Date:                      21-0CT-2013


                      Time Stamp:                         15:39:34


                    Application Type:                     Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                   yes

Payment Type                                            DA

Payment was successfully received in RAM                 $600

RAM confirmation Number                                  0608171NTEFSW00002466020384

Deposit Account

Authorized User

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               Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 78 of 189




File Listing:
 Document                                                                               File Size(Bytes}/                   Multi         Pages
                    Document Description                    File Name
  Number                                                                                Message Digest                     Part /.zip   (if appl.)

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      1           Miscellaneous Incoming Letter    Correction_of_inventorship.pd                                               no            1
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Warnings:
Information:

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     2                Fee Worksheet (SB06)                  fee-info.pdf                                                       no           2
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New Agglications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.
National Stage of an International Agglication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.
New International Agglication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
    Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 79 of 189




Document code: WFEE

                        United States Patent and Trademark Office
                      Sales Receipt for Accounting Date: 06/09/2017


VVAN11    SALE #00000018    Mailroom Dt: 06/07/2017   020384          14059192
                 01   FC : 1830             140.00 DA
                 Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 80 of 189



                               Electronic Patent Application Fee Transmittal
 Application Number:                                   14059192


 Filing Date:                                          21-0ct-2013




 Title of Invention:                                   Matching Process System And Method




 First Named Inventor/Applicant Name:                  Sean Rad


 Filer:                                                Chad Christian Walters/Janet Daddona


 Attorney Docket Number:                               083523.0118


 Filed as Large Entity



Filing Fees for Utility under 35 USC 111 (a)


                                                                                                       Sub-Total in
                          Description                         Fee Code        Quantity        Amount
                                                                                                         USO($)


 Basic Filing:


 Pages:


 Claims:


 Miscellaneous-Filing:


             LATE FILING FEE FOR OATH OR DECLARATION              1051            1            140         140


 Petition:


 Patent-Appeals-and-Interference:


 Post-Allowance-and-Post-Issuance:
            Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 81 of 189
                                                                                 Sub-Total in
                     Description              Fee Code   Quantity     Amount
                                                                                   USO($)


Extension-of-Time:


Miscellaneous:


                                                    Total in USO($)              140
               Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 82 of 189
                                      Electronic Acknowledgement Receipt

                         EFSID:                          29340199


                  Application Number:                     14059192


         International Application Number:

                  Confirmation Number:                    1044




                    Title of Invention:                  Matching Process System And Method




       First Named Inventor/Applicant Name:              Sean Rad


                   Customer Number:                      5073


                          Filer:                         Chad Christian Walters/Janet Daddona


                   Filer Authorized By:                  Chad Christian Walters


               Attorney Docket Number:                   083523.0118


                      Receipt Date:                      30-MA Y-2017


                       Filing Date:                      21-0CT-2013


                      Time Stamp:                         14:36:08


                    Application Type:                     Utility under 35 USC 111 (a)


Payment information:
Submitted with Payment                                   yes

Payment Type                                            DA

Payment was successfully received in RAM                 $140

RAM confirmation Number                                  0531171NTEFSW00000995020384

Deposit Account

Authorized User

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               Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 83 of 189




File Listing:
 Document                                                                               File Size(Bytes}/                   Multi         Pages
                    Document Description                    File Name
  Number                                                                                Message Digest                     Part /.zip   (if appl.)

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      1               Fee Worksheet (SB06)                  fee-info.pdf                                                       no           2
                                                                                   6574542eabecc30f664c215621 bdc7911 e2
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If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.
National Stage of an International AQQlication under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.
New International AQQlication Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 181 O), a Notification of the International Application Number
and of the International Filing Date (Form PCT/R0/1 OS) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
         Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 84 of 189
ATTORNEY DOCKET NO.:                                               PATENT APPLICATION
083523.0118                                                             USSN 14/059,192

                                                 1



             IN THE UNITED STA TES PA TENT AND TRADEMARK OFFICE



In re Application of:          Sean RAD et al.
Serial No.:                    14/059,192
Filing Date:                   October 21, 2013
Group Art Unit:                2153
Confirmation No.:              1044
Examiner:                      Yuk Ting Choi
Title:                         MATCHING PROCESS SYSTEl\!I AND METHOD




Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450




            RESPONSE TO OFFICE ACTION PURSUANT TO 37 C.F.R. § 1.111

           In response to the Office Action dated February 28, 2017 (the "Office Action"),
Applicants respectfully request the Examiner to reconsider the rejection of the claims in view
of the following remarks.




35394189
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ATTORNEY DOCKET NO.:                                                    PATENT APPLICATION
083523.0118                                                                  USSN 14/059,192

                                                   2


           In the Claims:
           For the convenience of the Examiner, all pending claims are set forth below, whether
or not an amendment is made. Please amend the claims as follows:


           1.-22. (Canceled)


           23.    (Previously Presented) A computer implemented method of profile matching,
compnsmg:
           electronically rece1vmg a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determining a set of potential matches for the first user in response to receiving the
first request;
           causing the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determining that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to determining that the first user expressed the positive preference
indication regarding the first potential match, automatically causing the graphical user
interface to display a graphical representation of a second potential match of the set of
potential matches instead of the graphical representation of the first potential match;
           determining that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determining to enable initial communication between the first user and the second
user in response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;




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ATTORNEY DOCKET NO.:                                                   PATENT APPLICATION
083523.0118                                                                 USSN 14/059,192

                                                 3


           in response to determining to enable initial communication between the first user and
the second user, causing the graphical user interface to display to the first user the graphical
representation of the first potential match;
           determining that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third
potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           preventing communication between the first user and the third user after determining
that the first user has expressed the negative preference indication regarding the third user;
           determining that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           preventing communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           24.    (Canceled)


           25.    (Previously Presented) The method of Claim 23, further comprising:
           in response to determining that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, causing the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification compnsmg a user
interface control enabling a text area to be presented to the first user.




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       Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 87 of 189
ATTORNEY DOCKET NO.:                                                PATENT APPLICATION
083523.0118                                                              USSN 14/059,192

                                                4


           26.   (Previously Presented) The method of Claim 23, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           27.   (Canceled)


           28.   (Canceled)


           29.   (Canceled)




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       Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 88 of 189
ATTORNEY DOCKET NO.:                                                        PATENT APPLICATION
083523.0118                                                                      USSN 14/059,192

                                                     5


           30.    (Previously    Presented)      A       non-transitory   computer-readable   medium
comprising instructions that, when executed by a processor, are configured to:
           electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determine a set of potential matches for the first user in response to receiving the first
request;
           cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determine that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to the determination that the first user expressed the positive preference
indication regarding the first potential match, automatically cause the graphical user interface
to display a graphical representation of a second potential match of the set of potential
matches instead of the graphical representation of the first potential match;
           determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determine to enable initial communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to the determination to enable initial communication between the first user
and the second user, cause the graphical user interface to display to the first user the graphical
representation of the first potential match;
           determine that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third




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       Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 89 of 189
ATTORNEY DOCKET NO.:                                                   PATENT APPLICATION
083523.0118                                                                 USSN 14/059,192

                                                 6


potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           prevent communication between the first user and the third user after determining that
the first user has expressed the negative preference indication regarding the third user;
           determine that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           prevent communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           31.    (Canceled)


           32.    (Previously Presented)     The medium of Claim 30, further compnsmg
instructions configured to, in response to the determination that both the first user has
expressed the positive preference indication regarding the second user and the second user
has expressed the positive preference indication regarding the first user, cause the display of a
graphical notification, on the graphical user interface of the first electronic device, that a
match exists between the first user and the second user, the graphical notification comprising
a user interface control enabling a text area to be presented to the first user.


           33.    (Previously Presented) The medium of Claim 30, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           34.    (Canceled)


           35.    (Canceled)




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           36.   (Canceled)




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           37.    (Previously Presented) A system for profile matching, comprising:
           an interface operable to:
           electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device; and
           a processor coupled to the interface and operable to:
           determine a set of potential matches for the first user in response to receiving the first
request;
           cause the interface to display a graphical representation of a first potential match of
the set of potential matches to the first user on a graphical user interface of the first electronic
device, the first potential match corresponding to a second user;
           determine that the interface has received a positive preference indication from the first
user regarding the first potential match at least by determining that the first user performed a
first swiping gesture associated with the graphical representation of the first potential match
on the graphical user interface;
           automatically cause the interface to remove the presentation of the first potential
match from the graphical user interface in response to detecting the gesture and cause the
interface to present, on the graphical user interface, a second potential match of the set of
potential matches to the first user;
           determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match; and
           determine to enable initial communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to the determination to enable initial communication between the first user
and the second user, cause the graphical user interface to display to the first user the graphical
representation of the first potential match;
           determine that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third



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potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           prevent communication between the first user and the third user after determining that
the first user has expressed the negative preference indication regarding the third user;
           determine that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           prevent communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           38.    (Canceled)


           39.    (Previously Presented)     The system of Claim 37, the processor further
operable to, in response to the determination that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, cause the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification compnsmg a user
interface control enabling a text area to be presented to the first user.


           40.    (Previously Presented) The system of Claim 37, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           41.    (Canceled)


           42.    (Canceled)




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           43.   (Canceled)




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                                          REMARKS

           This Application has been carefully reviewed m light of the Office Action.
Applicants appreciate the Examiner's consideration of the Application. In order to advance
prosecution of this Application, Applicants have responded to each notation by the Examiner.
Applicants respectfully request reconsideration and favorable action in this case.

35 U.S.C. § 103 Reiections
           The Office Action rejects Claims 23, 25-26, 30, 32-33, 35, 37, and 39-40 under 35
U.S.C. § 103 as allegedly being unpatentable over U.S. Patent Publication No. 2014/0040368
Al by Janssens ("Janssens") in view of U.S. Patent Publication No. 2008/0196094 Al by
Benschop et al. ("Benschop"). Applicants respectfully traverse these rejections.

The claims predate Janssens.
           The claimed technology was invented prior to August 6, 2012, which is the priority
date of Janssens.      As evidence, Applicant submits the declaration of inventor Jonathan
Badeen and its accompanying exhibits.        Applicants previously added Mr. Badeen as an
inventor and have since paid the associated fee. Thus, pursuant to MPEP § 715, the Section
103 rejection using Janssens is overcome. Applicant respectfully requests reconsideration
and allowance of all pending claims.




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                                         CONCLUSION

           Applicant has made an earnest attempt to place this case in condition for allowance.
For the foregoing reasons and for other reasons clearly apparent, Applicant respectfully
request reconsideration and full allowance of all pending claims.


           If the Examiner feels that a telephone conference would advance prosecution of this
application in any manner, the Examiner is invited to contact Chad Walters, Attorney for
Applicant, at the Examiner's convenience at (214) 953-6511.


           Although Applicants believe no fees are currently due, the Commissioner is
authorized to charge any necessary additional fees and credit any overpayments to Deposit
Account No. 02-0384 of BAKER BOTTS L.L.P.
                                               Respectfully submitted,

                                               BAKER BOTTS L.L.P.




                                               Chad C. Walters
                                               Reg. No. 48,022
                                               (214) 953-6511

Date:      May 30, 2017

Correspondence Address:
Customer No:           05073




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              IN THE UNITED ST ATES PATENT AND TRADEMARK OFFICE




In re Application of:           Sean Rad et al.
Serial No.:                     14/059,192
Filing Date:                    October 21, 2013
Group Art Unit:                 2164
Examiner:                       Yuk Ting Choi
Confirmation No.:               1044
Title:                          MATCHING PROCESS SYSTEM AND METHOD



Commissioner for Patents
PO Box 1450
Alexandria, VA 22313-1450

Dear Sir:

                     DECLARATION PURSUANT TO 37 C.F.R. § 1.131

         I, the undersigned, declare and state that:

         I.    I am over the age of 21 years, of sound mind, and competent in all respects to
make this Declaration.
         2.    I am an inventor of the subject matter of the above-referenced application (the
"Application").
         3.    Prior to August 6, 2012 (the "Effective Date"), I gained a full understanding of
the subject matter of at least the current version of the claims of the Application (attached as
Exhibit A).
         4.    Attached as Exhibit B are screenshots and accompanying descriptions of a
working application developed prior to the Effective Date.          The application presented
potential matches to a candidate and could use geographic proximity to determine which
potential matches to present. The application enabled text-based communication between
two users once they both expressed approval for each other and notified the users of the

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match and possibility of communicating. If one user did not express approval (or expressed
disapproval) for another user, the application would prevent communication between the
users.    The application was tested, prior to the Effective Date, to confirm that the
functionality discussed above worked.
         5.   Prior to the Effective Date, I developed code that implemented using swiping
gestures to express approval and disapproval of a potential match. Attached as Exhibit C are
portions of that source code.
         6.   All of the work in conceiving and reducing to practice the subject matter of the
current version of the claims in the Application occurred in the United States.
         7.   I hereby declare that all statements made herein of my own knowledge are true
and that all statements made on information and belief are believed to be true. Further, I
declare that these statements are made with the knowledge that willful false statements, and
the like so made, are punishable by fine or imprisonment, or both, under Section 1001, Title
18 of the United States Code, and that such willful false statements may jeopardize the
validity of the Application or any patent issuing thereon.


                                      Signed this 30th day of       January, 2017 ~.




                                      Jonathan Badeen        ?"




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              Exhibit A




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Currently Pending Claims:


    1.-22.      (Canceled)


    23. (Previously Presented) A computer implemented method of profile matching,
comprising:
    electronically receiving a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
    determining a set of potential matches for the first user in response to receiving the first
request;
    causing the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
    determining that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
    in response to determining that the first user expressed the positive preference indication
regarding the first potential match, automatically causing the graphical user interface to
display a graphical representation of a second potential match of the set of potential matches
instead of the graphical representation of the first potential match;
    determining that the second user has expressed a positive preference indication regarding
the first user after determining that the first user expressed the positive preference indication
regarding the first potential match;
   determining to enable initial communication between the first user and the second user in
response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
   in response to determining to enable initial communication between the first user and the
second user, causing the graphical user interface to display to the first user the graphical
representation of the first potential match;


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    determining that the first user expressed a negative preference indication regarding a third
potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third
potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
    preventing communication between the first user and the third user after determining that
the first user has expressed the negative preference indication regarding the third user;
    determining that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
    preventing communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


    24. (Canceled)


    25. (Previously Presented) The method of Claim 23, further comprising:
    in response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user, causing the display of a graphical notification,
on the graphical user interface of the first electronic device, that a match exists between the
first user and the second user, the graphical notification comprising a user interface control
enabling a text area to be presented to the first user.




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    26. (Previously Presented) The method of Claim 23, wherein the set of potential matches
for the first user comprises one or more potential matches that are each associated with a
geographic location within a threshold distance of a geographic location associated with the
first user, the threshold distance being a stored value.


   27. (Canceled)


   28. (Canceled)


   29. (Canceled)




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    30. (Previously Presented)      A non-transitory computer-readable medium comprising
instructions that, when executed by a processor, are configured to:
    electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
    determine a set of potential matches for the first user in response to receiving the first
request;
    cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
    determine that the first user expressed a positive preference indication regarding the first
potential match at least by determining that the first user performed a first swiping gesture
associated with the graphical representation of the first potential match on the graphical user
interface;
    in response to the determination that the first user expressed the positive preference
indication regarding the first potential match, automatically cause the graphical user interface
to display a graphical representation of a second potential match of the set of potential
matches instead of the graphical representation of the first potential match;
    determine that the second user has expressed a positive preference indication regarding
the first user after determining that the first user expressed the positive preference indication
regarding the first potential match;
    determine to enable initial communication between the first user and the second user in
response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
    in response to the determination to enable initial communication between the first user
and the second user, cause the graphical user interface to display to the first user the graphical
representation of the first potential match;
    determine that the first user expressed a negative preference indication regarding a third
potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third




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potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
    prevent communication between the first user and the third user after determining that the
first user has expressed the negative preference indication regarding the third user;
    determine that the first user expressed a positive preference indication regarding a fourth
potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
    prevent communication between the first user and the fourth user after determining that
the fourth user has expressed a negative preference indication regarding the first user.


    31. (Canceled)


    32. (Previously Presented)     The medium of Claim 30, further comprising instructions
configured to, in response to the determination that both the first user has expressed the
positive preference indication regarding the second user and the second user has expressed
the positive preference indication regarding the first user, cause the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling a text area to be presented to the first user.


   33. (Previously Presented) The medium of Claim 30, wherein the set of potential matches
for the first user comprises one or more potential matches that are each associated with a
geographic location within a threshold distance of a geographic location associated with the
first user, the threshold distance being a stored value.


   34. (Canceled)


   35. (Canceled)




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  36. (Canceled)




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    37. (Previously Presented) A system for profile matching, comprising:
    an interface operable to:
    electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device; and
    a processor coupled to the interface and operable to:
    determine a set of potential matches for the first user in response to receiving the first
request;
    cause the interface to display a graphical representation of a first potential match of the
set of potential matches to the first user on a graphical user interface of the first electronic
device, the first potential match corresponding to a second user;
    determine that the interface has received a positive preference indication from the first
user regarding the first potential match at least by determining that the first user performed a
first swiping gesture associated with the graphical representation of the first potential match
on the graphical user interface;
    automatically cause the interface to remove the presentation of the first potential match
from the graphical user interface in response to detecting the gesture and cause the interface
to present, on the graphical user interface, a second potential match of the set of potential
matches to the first user;
    determine that the second user has expressed a positive preference indication regarding
the first user after determining that the first user expressed the positive preference indication
regarding the first potential match; and
    determine to enable initial communication between the first user and the second user in
response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
    in response to the determination to enable initial communication between the first user
and the second user, cause the graphical user interface to display to the first user the graphical
representation of the first potential match;
   determine that the first user expressed a negative preference indication regarding a third
potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third


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potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
    prevent communication between the first user and the third user after determining that the
first user has expressed the negative preference indication regarding the third user;
    determine that the first user expressed a positive preference indication regarding a fourth
potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
    prevent communication between the first user and the fourth user after determining that
the fourth user has expressed a negative preference indication regarding the first user.


    38. (Canceled)


    39. (Previously Presented) The system of Claim 37, the processor further operable to, in
response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user, cause the display of a graphical notification, on
the graphical user interface of the first electronic device, that a match exists between the first
user and the second user, the graphical notification comprising a user interface control
enabling a text area to be presented to the first user.


    40. (Previously Presented) The system of Claim 37, wherein the set of potential matches
for the first user comprises one or more potential matches that are each associated with a
geographic location within a threshold distance of a geographic location associated with the
first user, the threshold distance being a stored value.


   41. (Canceled)


   42. (Canceled)




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  43. (Canceled)




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               Exhibit B




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•••--AT&T ~                5:22 PM                    ~    :, ~




                             k




   For sure ... it seems like
   we have a lot in
   common. How about
   some organic coffee?.
   know a great place!
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              Exhibit C




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                                MBGameviewcontroller ABRIDGED
II
II     MBGameviewcontroller.m
II     matchbox
II
II     created by Jonathan Badeen on 616112.
II     Copyright (c) 2012 Hatch Labs. All rights reserved.
II

@implementation MBGameViewcontroller
#pragma mark - Game & cards
- (void)updateGame
{


    for (UIGestureRecognizer *gestureRecognizer in
self .currentcard.gestureRecogn1zers) {
         gestureRecognizer.enabled = gameButtonsEnabled;
       }
}

- (MBCardView *)dequeueReusablecard
{
       MBCardview *card= [self.reusablecards lastobject];
       if (!card) {
           card= [[MBCardview alloc] init];
        [card addGestureRecognizer:[[UIPanGestureRecognizer alloc]
initWithTarget:self action:@selector(cardPanned:)]];
       }   ...
       for (UIGestureRecognizer *gestureRecognizer in card.gestureRecognizers) {
           gestureRecognizer.enabled = NO;
       }

       return card;
}

- (void)cardPanned:(UIPanGestureRecognizer *)gestureRecognizer
{
       static CGPoint startLocation;
       static UIImageview *dislikeimageview;
       static UIImageview *likeimagev1ew;
       CGFloat confirmedXTranslation = 100.0;
       CGFloat minconfirmedvelocity = 2000.0;
       CGPoint translation= [gestureRecognizer translationinView:self.currentcard];
       switch (gestureRecognizer.state) {
           case UIGestureRecognizerStatePossible:
            break;
        case UIGestureRecognizerstateBegan:
            startLocation = [gestureRecognizer locationrnview:self.currentcard];
            likermageView = [[UIImageView alloc] initWithimage:[UIImage
imageNamed:@"MBLikedstamp"]];
            likeimageView.transform = CGAffineTransformMakeRotation(M_PI_4 I 2.0 *
-1);
            likeimageview.center =
CGPointMake(CGRectGetMidX(self .currentcard.bounds) - 45.0,
                                        Page 1
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                           MBGameviewcontroller ABRIDGED
CGRectGetMidY(self.currentcard.bounds) - 85.0);
          likeimageView.alpha = O;
          [self.currentcard addsubview:likeimageview];
            dislikeimageview = [[UIImageView alloc] initWithimage:[UIImage
imageNamed:@"MBNopestamp"]];
            dislikeimageview.transform = CGAffineTransformMakeRotation(M_PI_4 I 2.0
* l);
           dislikeima9eview.center =
CGPointMake(CGRectGetM1dX(self.currentcard.bounds) + 45.0,
CGRectGetMidY(self.currentcard.bounds) - 85.0);
           dislikeimageview.alpha = O;
           [self.currentcard addsubview:dislikeimageview];
             self .nextcard.hidden = NO;
         case UIGestureRecognizerstatechanged:
         {
            CGFloat rotationDirection = startLocation.y I
CGRectGetHeight(self.currentcard.bounds) < 0.5 ? 1 : -1;
            CATransform3D translationTransform =
CATransform3DMakeTranslation(translation.x, translation.y, O);
            CATransform3D rotationTransform = CATransform3DMakeRotation((M_PI '~ 2)   f:
(translation.x / 5000.0), 0, 0, rotationDirection);
            CATransform3D transform = CATransform3DConcat(translationTransform,
rotationTransform);
            self.currentcard.layer.transform =transform;
            CGFloat startstampshowx = 30.0;
            likeima9eview.alpha = (translation.x - startstampshowX) I
(confirmedXTranslat1on - startstampshowx);
            dislikeimageView.alpha = (translation.x + startstampshowX) I
(-confirmedXTranslation + startStampshowX);
         }
             break;
         case UIGestureRecognizerstateEnded:
         case UIGestureRecognizerstatecancelled:
             if (fabsf(translation.x) < confirmedXTranslation && [gestureRecognizer
velocityrnview:self.currentcard].x < minconfirmedvelocity) {
                 [UIView animateWithDuration:0.2 delay:O
options:UIViewAnimationcurveEaseout animations:A{
                      self .currentcard.transform = CGAffineTransformidentity;
                      likeimageView.alpha = O;
                      dislikeimageview.alpha = O;
                 } completion:A(BOOL finished) {
                      self .nextcard.hidden = YES;
                      [likeimageView removeFromsuperview];
                      [dislikeimageView removeFromsuperview];
                 } J;
             } else {
                 NSTimeinterval maxDuration = 0.2;
                 NSTimeinterval adjustedDuration = maxDuration;
                 [UIView animateWithDuration:adjustedDuration delay:O
options:urviewAnimationcurveEaseout animations:A{
                      CGFloat direction     1.0;
                      if (translation.x > 0) {
                     } else {
                         direction = -1.0;
                     }
                   //CGFloat rotationDirection    startLocation.y I
CGRectGetHeight(self.currentcard.bounds) < 0.5 ? -1 : l;
                   CGFloat XPOS = 400.0;
                   CGAffineTransform translationTransform
                                       Page 2
           Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 119 of 189




                               MBGameviewcontroller ABRIDGED
CGAffineTransformMakeTranslation(xPos * direction, [(NSNumber
~') [self.currentcard. layer valueForKeyPath:@"transform.translation.y"] floatvalue]);
                       //CGAffineTransform rotationTransform =
CGAffi neTransformMakeRotati on ( (M_PI '~ 2) ~' (xPos I 5000. 0) '~ rota ti onoi recti on);
                       self .currentcard.transform = translationTransform;
//CGAffineTransformconcat(translationTransform, rotationTransform);
                  } completion:A(BOOL finished) {
                       [likeimageView removeFromsuperview];
                       [dislikermageview removeFromsuperview];
                    MBUser *user = self.currentcard.user;
                    [self updateGame];
                    if (translation.x < O) {
                        [[MBMatchboxAPI sharedMatchboxAPI] dislikeuser:user];
                    } else {
                        [[MBMatchboxAPI sharedMatchboxAPI] likeUser:user
completion:A(BOOL success, MBUser *user, BOOL isMatch) {
                             if (success && isMatch) {
                                 MBNewMatchviewcontroller *vc =
[[MBNewMatchviewcontroller alloc] init];
                                 vc.matcheduser = user;
                                 vc.backgroundscreenshot = [UIImage
imageWithView:self.view];
                                 [self presentviewcontroller:vc animated:NO
completion:A{
                                        }J;
                                    }
                              }J;
                          }
                    }J;
                }
                break;
            case UIGestureRecognizerstateFailed:
                break;
            default:
                break;
       }


}



@end




                                              Page 3
              Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 120 of 189
                                    Electronic Acknowledgement Receipt

                       EFSID:                    29342872


                 Application Number:             14059192


          International Application Number:

                Confirmation Number:             1044




                  Title of Invention:            Matching Process System And Method




         First Named Inventor/Applicant Name:    Sean Rad


                  Customer Number:               5073


                         Filer:                  Chad Christian Walters/Wendy Flottman


                 Filer Authorized By:            Chad Christian Walters


              Attorney Docket Number:            083523.0118


                    Receipt Date:                30-MA Y-2017


                     Filing Date:                21-0CT-2013


                     Time Stamp:                 16:01:17


                  Application Type:              Utility under 35 USC 111 (a)


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 Document                                                                            File Size(Bytes}/                    Multi         Pages
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  Number                                                                             Message Digest                      Part /.zip   (if appl.)

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               Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 121 of 189
                                                 Multipart Description/PDF files in .zip description

                                     Document Description                                               Start                             End


                      Amendment/Req. Reconsideration-After Non-Final Reject                                 1                              1


                                                 Claims                                                     2                             10


                      Applicant Arguments/Remarks Made in an Amendment                                     11                             12

Warnings:
Information:

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     2               Oath or Declaration filed             Declaration_w_exhibits.pdf                                                no         24
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Acknowledgement Receipt will establish the filing date of the application.
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U.S.C. 371 and other applicable requirements a Form PCT /DO/E0/903 indicating acceptance of the application as a
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the application.
                        Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 122 of 189
                                                                                                                                                                                 PTO/SB/06 (09-11)
                                                                                                                                                Approved for use through 1/31/2014. OMB 0651-0032
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    PATENT APPLICATION FEE DETERMINATION RECORD                                                                Application or Docket Number                Filing Date
                                       Substitute for Form PT0-875                                                      14/059, 192                     10/21/2013             D To be Mailed

                                                                                                                              ENTITY:          [8J LARGE D SMALL D MICRO
                                                                            APPLICATION AS FILED - PART I
                                                      (Column 1)                          (Column 2)

                      FOR                           NUMBER FILED                       NUMBER EXTRA                                   RATE($)                              FEE($)

  D BASIC FEE                                             N/A                                    N/A                                     N/A
          (37 CFR 1.16(a), (b), or (c))

  D SEARCH    FEE
    (37 CFR 1.16(k), (i), or (m))
                                                          N/A                                    N/A                                     N/A

  D (37
    EXAMINATION FEE
        CFR 1.16(0), (p), or (q))
                                                          N/A                                    N/A                                     N/A
  TOTAL CLAIMS
  (37 CFR 1.16(i))                                            minus 20 =       *                                                x $            =

  INDEPENDENT CLAIMS
  (37 CFR 1.16(h))                                              minus 3 =      *                                                x $            =

                                               If the specification and drawings exceed 100 sheets
                                               of paper, the application size fee due is $31 O ($155
  0APPLICATION SIZE FEE
                                               for small entity) for each additional 50 sheets or
    (37 CFR 1.16(s))
                                               fraction thereof. See 35 U.S.C. 41 (a)(1 )(G) and 37
                                               CFR 1.16(s).
  D MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))
  * If the difference in column 1 is less than zero, enter "O" in column 2.                                                            TOTAL



                                                                         APPLICATION AS AMENDED - PART II

                                       (Column 1)                        (Column 2)               (Column 3)

                                   CLAIMS                           HIGHEST
                                   REMAINING                        NUMBER
f--        05/30/2017              AFTER                            PREVIOUSLY
                                                                                             PRESENT EXTRA                            RATE($)                      ADDITIONAL FEE($)
z                                  AMENDMENT                        PAID FOR
w         Total (37 CFR
:;:;;:     1.16(j))
                                   * 9                  Minus       ** 21                =   0                                  x $80 =                                        0
0          Independent
z         (37 CFR 1 .16(h))        * 3                  Minus       ***3                 =   0                                  x $420 =                                       0
w
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<(
           D Application Size Fee (37 CFR 1.16(s))
           D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                                TOTAL ADD'L FEE                               0
                                       (Column 1)                        (Column 2)               (Column 3)

                                     CLAIMS                          HIGHEST
                                    REMAINING                        NUMBER
                                                                                             PRESENT EXTRA                            RATE($)                      ADDITIONAL FEE($)
                                      AFTER                         PREVIOUSLY
                                   AMENDMENT                         PAID FOR
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                                   *                    Minus       **                   =                                      x $            =
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                                                        Minus
 0        (37 CFR 1 .16(h))        *                                ***                  =                                      x $           =

 z         D Application Size Fee (37 CFR 1.16(s))
  w
 :;:;;:
 <(        D FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))
                                                                                                                                TOTAL ADD'L FEE

  * If the entry in column 1 is less than the entry in column 2, write "O" in column 3.                                         LIE
  **If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                                                YOLANDA CHADWICK
  *** If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
  The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.              CONFIRMATION NO.

       14/059,192               10/21/2013                  Sean Rad              083523.0118                         1044

       5073             7590             02/28/2017
                                                                                                   EXAMINER
       BAKER BOTTS L.L.P.
       2001 ROSS AVENUE                                                                         CHOI, YUK TING

       SUITE 600
       DALLAS, TX 75201-2980                                                       ART UNIT                      PAPER NUMBER

                                                                                      2153


                                                                              NOTIFICATION DATE                 DELIVERY MODE

                                                                                   02/28/2017                     ELECTRONIC


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.

Notice of the Office communication was sent electronically on above-indicated "Notification Date" to the
following e-mail address( es):
ptomaill@bakerbotts.com
ptomai12@bakerbotts.com




PTOL-90A (Rev. 04/07)
                        Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 125 of 189
                                                                                    Application No.                               Applicant(s)
                                                                                    14/059, 192                                   RAD ET AL.
                     Office Action Summary                                          Examiner                                      Art Unit           AIA (First Inventor to File)
                                                                                                                                                     Status
                                                                                    YUK TING CHOI                                 2153
                                                                                                                                                     No
                -- The MAILING DA TE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE .J. MONTHS FROM THE MAILING DATE OF
 THIS COMMUNICATION.
          Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
          after SIX (6) MONTHS from the mailing date of this communication.
          If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
          Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
          Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
          earned patent term adjustment. See 37 CFR 1.704(b).

 Status
    1)~ Responsive to communication(s) filed on 113112017.
        0 A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on _ _.
      2a)0 This action is FINAL.                 2b)~ This action is non-final.
       3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
           _ _ ; the restriction requirement and election have been incorporated into this action.
       4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
           closed in accordance with the practice under Ex parte Quayle, 1935 G.D. 11, 453 O.G. 213.
 Disposition of Claims*
    5)~ Claim(s) 23.25.26.30.32.33.37.39 and 40 is/are pending in the application.
          5a) Of the above claim(s) _ _ is/are withdrawn from consideration.
    6)0 Claim(s) _ _ is/are allowed.
    7)~ Claim(s) 23. 25. 26. 30. 32. 33. 37. 39. 40 is/are rejected.
    8)0 Claim(s) _ _ is/are objected to.
    9)0 Claim(s) _ _ are subject to restriction and/or election requirement.
 * If any claims have been determined allowable, you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
 http://www.uspto.gov/patents/init events/pph/index.jsp or send an inquiry to PF'Hfeedback(wuspto.aov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
   11 )0 The drawing(s) filed on _ _ is/are: a)O accepted or b)O objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121 (d).

 Priority under 35 U.S.C. § 119
    12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
     Certified copies:
         a)O All b)O Some** c)O None of the:
            1.0 Certified copies of the priority documents have been received.
           2.0 Certified copies of the priority documents have been received in Application No. _ _ .
           3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                 application from the International Bureau (PCT Rule 17.2(a)).
 ** See the attached detailed Office action for a list of the certified copies not received.




 Attachment{s)
 1) ~ Notice of References Cited (PT0-892)                                                        3)   0 Interview Summary (PT0-413)
                                                                                                          Paper No(s)/Mail Date. _ _ .
 2)   0 Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)                        4)   0 Other: _ _ .
         Paper No(s)/Mail Date _ _ .
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                              Office Action Summary                                          Part of Paper No./Mail Date 20170217
      Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 126 of 189


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                                       DETAILED ACTION

                          Continued Examination Under 37 CFR 1. 114

1.     A request for continued examination under 37 CFR 1.114, including the fee set forth in

37 CFR 1.17(e), was filed in this application after final rejection. Since this application is eligible

for continued examination under 37 CFR 1.114, and the fee set forth in 37 CFR 1.17(e) has

been timely paid, the finality of the previous Office action has been withdrawn pursuant to 37

CFR 1.114. Applicant's submission filed on 01/3/2017 has been entered.

                               Response to Amendment

2.      In response to the last Office Action, claims no claims have been amended,

added or canceled. As a result, claims 23, 25, 26, 30, 32, 33, 37, 39, 40 are pending in

this office action.


3.     The declaration of prior Invention under 37 CFR 1.131 filed on 01/31 /2017 has been

considered but is ineffective to overcome the Janssens reference (US 2014/0040368 A 1). The

affidavit filed on 1/31 /2017 was signed by Mr. Jonathan Baden on Jan. 30, 2017. Mr. Jonathan

Baden was not one of the original inventors listed in the application. Applicant has not pay the

fee set forth in 37 CFR 1.17 (i) for correction of inventorship. SEE MPEP 602.1 (c) for more

information.


                                     Response to Arguments


4.      Applicant's arguments with respect to claims 23, 25, 26, 30, 32, 33, 37, 39 and 40 have

been fully considered but are not persuasive and the details are as follow:

       Applicant's argument states as "Not only Janssens teaches away from the argued

limitations, but numerous passages in Janssens teach the opposite and allows users to
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communicate before the "linking" feature ... The cited portion of Benschop are directed to an

emailed system wherein users can only email each other if they are in each other's address

books. Benschop seeks to allow messaging between users that already known each other, but

as detailed above, Janssens teaches away from enabling initial communication in the manner

claimed because Janssens is directed to facilitating communication between users who do not

know each other".

       In response to Applicant's argument, the Examiner disagrees because the Janssens

 discloses a bidirectional interaction or communication is created or enabled when two users

 indicate a "like" for the other. Both users can enable communication such as adding each

 other on their contact lists and/or they can sent a notification message, sound, graphic or the

 like (See para. [0053], para. [0064] and para. [0065] and para. [0094]).      For instance, if user A

 "likes" user B, user B likes user A back, a link is created. User A and user B can communicate

with each other by adding each other to the contact list and the system would send a message

 to both users saying "you both link" (See para. [0094] and para. [0095]). User A and user B can

 start their first or initial bidirectional interaction or communication after both of them received a

 message "you both link". The Janssens reference may not limit the users to initiate a

 communication only when both users indicate a "like" for each other, but that does not mean

 the Janssens reference teaches the opposite because it allows users to communicate before

 the "linking" feature. The Janssens reference still can allow user A and user B to start their first

 or initial bidirectional interaction or communication after both of them received a message "you

 both link" (See para. [0094] and para. [0095]). Thus, the Janssens reference still read on the

 argued features. The Benschop is only added to further support the argued feature

 "determining to enable initial communication between the first user and the second user in

 response to determining that both users have expressed interests or approvals". The
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 Benschop reference discloses an approval module allows to establish or exchange a

 communication between a sender, e.g. the user of the first user device I, and an addressee,

 e.g. the user of the second user device llA only if both the sender and the addressee have

 signaled approval for the communication (See para. [0060]). Applicant further argues in para.

 [0060] of Benschop that the users can only email each other if they are in each other's address

 books. The Examiner disagrees because in para. [0060], the entries in the address book can

 be created or made only in response to mutual approval of users to exchange electronic

 messages, and the users do not know each other if they have not been engaged in electronic

 message exchange before (See Benschop, para. [0049] and para.[0057]). Therefore, it would

 have been obvious to one having ordinary skill in the art at the time of invention was made to

 modify the enabling communication module of Janssens's system to include an approval

 module, as taught by Benschop, in order to filter out unwanted messages from users who do

 not have mutual approval of establishing a communication (See Benschop, para. [0060] and

 abstract).

          Applicant's argument states as "Multiples articles from different publications attest to the

 overwhelming success of Applicant's system that embodies the independent claims and the

 claimed inventions of the present application have been commercially successful, copied by

 others, and have received industry praise as the objective evidence discussed between

 demonstrates".

          In response to Applicant's argument, as mentioned in the communication mailed on

12/07/2016, the Examiner found that the evident does not provide a proper nexus between the

claimed invention and commercial success. See MPEP 716.03(a). Objective evidence of

nonobviousness including commercial success must be commensurate in scope with the

claims.
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First the independent claim 23 recites "performing a first swiping gesture" and determining a

positive or negative preference. The evidence Applicant provided, however, is about specifically

swiping left and right.

Secondly, MPEP 716.06 indicates " ... more than the mere fact of copying is necessary to make

that action significant because copying may be attributable to other factors such as a lack of

concern for patent property or contempt for the patentee's ability to enforce the patent. [ ... ]

Evidence of copying was persuasive of nonobviousness when an alleged infringer tried for a

substantial length of time to design a product or process similar to the claimed invention, but

failed and then copied the claimed invention instead. [ ... ] copying is not persuasive of

nonobviousness when the copy is not identical to the claimed product, and the other

manufacturer had not expended great effort to develop its own solution."

Finally, the articles in question represent the opinions of journalists, and have neither the weight

of factual evidence nor expert opinion. Therefore, Applicant has not provide enough evidence to

demonstrate that the claims are not obvious.




                                     Claim Rejections - 35 USC § 103



        The following is a quotation of 35 U.S.C. 103 which forms the basis for all obviousness

rejections set forth in this Office action:

        A patent for a claimed invention may not be obtained, notwithstanding that the claimed
        invention is not identically disclosed as set forth in section 102 of this title, if the differences
        between the claimed invention and the prior art are such that the claimed invention as a whole
        would have been obvious before the effective filing date of the claimed invention to a person
        having ordinary skill in the art to which the claimed invention pertains. Patentability shall not
        be negated by the manner in which the invention was made.
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5.     Claims 23, 25, 26, 30, 32, 33, 35, 37, 39 and 40 are rejected under 35 U.S.C. 103 as

being unpatentable by Janssens (US 2014/0040368 A 1) and in view of Bensch op et al. (US

2008/0196094 A 1).



       Referring to claims 23, 30 and 37, Janssens discloses a computer implemented

method of profile matching (See para. [0005], a matching system identifies a plurality of

matching users from a plurality users based at least in part on the received profile

information) , comprising:

       electronically receiving a first request for matching, the first request electronically

submitted by a first user using a first electronic device (See Figure 9, para. [0041] and para.

[0112] and para. [0113], receiving a request for a new card from a user device, a request

for a profile card);

        determining a set of potential matches for the first user in response to receiving the first

 request (See para. [0115] and Figure 9, item 906, identifying a set of available cards by

 the system as potentially interesting to the viewing user);

        causing the display of a graphical representation of a first potential match of the set of

 potential matches to the first user on a graphical user interface of the first electronic device, the

 first potential match corresponding to a second user (See para. [0115]-para. [0117] and

 Figure 9, selecting and displaying a card from the set of available cards that is

 estimated or determined to be the highest rank or greater interest to the user);

       determining that the first user expressed a positive preference indication regarding the

 first potential match at least by determining that the first user performed a first swiping gesture

 associated with the graphical representation to the first potential match on the graphical user

 interface (See Figure 5, para. [0005], para. [0052], para. [0053], para. [0064] and para.
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[0095], the system receives "like" expression from the first user or the A user on the

 card-feed pane, also See para. [0047] and para. [0068] and Figure 4, swiping across the

 interface using a finger on the card, user can swipe on the "like " feature, and the

system maintain a history of which cards a given user has viewed and the user's

 interaction with a given card);

          in response to determining that the first user expressed the positive preference

 indication regarding the first potential match, automatically causing the graphical user interface

to display a graphical representation of a second potential match of the set of potential

 matches instead of the graphical representation of the first potential match (See para. [0047]

and para. [0118], the user of the card-feed may cycle through various cards or other

potential matches beside the first potential match, the system records different forms of

 user interactions such as clicking, mouse dragging, hovering, swiping, gesturing and so

 on are used to indicate whether a new potential match or previously viewed potential

 match is to be displayed to the user, the feed of potential matches is automatically

 cycled periodically and the system uses information such as user settings and past

 interactions between users, e.g., the interactions such as a user liked another user

and/or gave a gift to another user to determine and select which card to show next from

a set of cards or potential matches, the user may go forward in the feed by selecting the

 forward control and the process may select the next card to display to the user in the

 card-feed, also when another user likes the user's profile card, the user may go forward

 in the feed by selecting the forward control, and the system automatically selects the

 card of the person that liked that user as the next card to display to the user in the card

 feed);
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       determining that the second user has expressed a positive preference indication

 regarding the first user after determining that the first user expressed the positive preference

 indication regarding the first potential match (See para. [0053], para. [0064], para. [0065] and

para. [0094] and para. [0095], a bidirectional interaction or communication is created or

 enabled when two users indicate a "like" for the other, both users can enable

 communication such as adding each other on their contact lists and/or they can sent a

notification message, sound, graphic or the like, for instance, if user A "likes" user B,

 user B likes user A back, a link is created, user A and user B can communicate with

 each other by adding each other to the contact list and the system would send a

 message to both users saying "you both link'?;

       determining to enable [ ... ] communication between the first user and the second user in

 response to determining that both the first user has expressed the positive preference

 indication regarding the second user and the second user has expressed the positive

preference indication regarding the first user (See para. [0053], para. [0064], para. [0065] and

para. [0094] and para. [0095], a bidirectional interaction or communication is created or

 enabled when two users indicate a "like" for the other, both users can enable

 communication such as adding each other on their contact lists and/or they can sent a

notification message, sound, graphic or the like, for instance, if user A "likes" user B,

 user B likes user A back, a link is created, user A and user B can communicate with

 each other by adding each other to the contact list and the system would send a

 message to both users saying "you both link'1;

       in response to determining to enable [ ... ] communication between the first user and the

second user, causing the graphical user interface to display to the first user the graphical

 representation of the first potential match (See Figure 3, para. [0045] and para. [0056], if
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 user A "likes" user B and user B "likes" user A back, a link is created, and the system

adds user A to the contact list of user B and user B to the contact list of user A, user A

 enables communication with user B by clicking the chat button once the system has

 successfully placed user B on the contract list of user A after user A has indicated a

positive indication such as the liked indication, clicking the chat button opens the chat

pane is a text area enable the user to chat other users);

       determining that the first user expressed a negative preference indication regarding that

the third potential match at least by determining that the first user performed a second swiping

gesture associated with the graphical representation of the third potential match on the user

 interface, the second swiping gesture different than the first swiping gesture (See para.

[0052], the system also provides a control via which the user can indicate a disinterest

 in another user which is different than the "like" gesture).

       prevent communication between the first user and the third after determining that the

first user has expressed the negative preference indication regarding the third user ( See para.

[0052], preventing communication between the first user and the other user, e.g. if user

 B is a third potential match, user B is automatically be placed in ignored state and or

any future communication because the first user dislikes the profile card for user B);

       determining that the first user expressed a positive preference indication regarding fourth

potential match of the set of potential matches at least by determine that the first user

performed the first swiping gesture associated with a graphical representation of a fourth

potential match on the graphical user interface, the fourth potential match corresponding to a

fourth user (See para. [0047] and para. [0118], the user of the card-feed may cycle

 through various cards or other potential matches beside the first potential match, the

 system records different forms of user interactions such as clicking, mouse dragging,
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 hovering, swiping, gesturing and so on are used to indicate whether a new potential

 match or previously viewed potential match is to be displayed to the user, the feed of

potential matches is automatically cycled periodically and the system uses information

 such as user settings and past interactions between users, e.g., the interactions such as

a user liked another user and/or gave a gift to another user to determine and select

 which card to show next from a set of cards or potential matches, the user may go

 forward in the feed by selecting the forward control and the process may select the next

 card to display to the user in the card-feed, also when another user likes the user's

profile card, the user may go forward in the feed by selecting the forward control, and

 the system automatically selects the card of the person that liked that user as the next

 card to display to the user in the card feed, also see Figure 5, para. [0005], para. [0047],

para. [0052], para. [0053], para. [0064], para. [0068] and para. [0095], the system receives

 "like" expression from the first user or the A user on the card-feed pane, swiping across

 the interface using a finger on the card, user can swipe on the "like" feature, and the

system maintain a history of which cards a given user has viewed and the user's

 interaction with a given card); and

       preventing communication between the first user and the fourth user after determining

that the fourth user has expressed a negative preference indication regarding the first user (

 See para. [0052], preventing communication between the fourth user and the first user,

 e.g. if the first user is a first potential match, the first user is automatically be placed in

 ignored state and or any future communication because the fourth user dislikes the

profile card for the first user).

       In additional to Janssens, Benschop explicitly disclose determining to enable initial

communication between the first user and the second user in response to determining that
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 both users have expressed interests or approvals (See Benschop, para. [0060], the approval

 module allows to establish or exchange a communication between a sender, e.g. the

 user of the first user device I, and an addressee ,e.g. the user of the second user device

 /IA only if both the sender and the addressee have signaled approval for the

 communication).

       Hence, it would have been obvious to one having ordinary skill in the art at the time of

 invention was made to modify the enabling communication module of Janssens's system to

 include an approval module, as taught by Benschop, in order to filter out unwanted messages

 from users who do not have mutual approval of establishing a communication (See Benschop,

 para. [0060] and abstract).




       As to claims 25, 32 and 39, Janssens discloses further comprising:


       in response to determining that both the first user has expressed the positive

preference indication regarding the second user and the second user has expressed the

positive preference indication regarding the first user, causing the display of a graphical

notification, on the graphical user interface of the first electronic device, that a match

exists between the first user and the second user, the graphical notification comprising a

user interface control enabling a text area to be presented to the first user (See Figure 3, text

area 312, para. [0045] and para. [0056], if user A "likes" user B and user B "likes" user A

back, a link is created, and the system adds user A to the contact list of user B and user

B to the contact list of user A, user A enables communication with user B by clicking the

chat button once the system has successfully placed user B on the contract list of user A
     Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 136 of 189


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after user A has indicated a positive indication such as the liked indication, clicking the

chat button opens the chat pane is a text area enable the user to chat other users).


       As to claims 26, 33 and 40, Janssens discloses the set of potential matches for the first

user comprises one or more potential matches that are each associated with a geographic

location within a threshold distance of a geographic location associated with the first user, the

threshold distance being a stored value (See para. [0055] and para. [0130], user can set

preferences on the types of cards they want to receive, e.g. a user can specify limits on

geographic range such as 10 miles from his/ her house, 20 miles from his/her work

address and etc.).




                                                Conclusion



6.     The examiner requests, in response to this Office action, support be shown for language

added to any original claims on amendment and any new claims. That is indicate support for

newly added claim language by specifically pointing to page(s) and line no(s) in the specification

and/or drawing figure(s). This will assist the examiner in prosecuting the application.




                                      Contact Information


       Any inquiry concerning this communication or earlier communications from the

examiner should be directed to YUK TING CHOI whose telephone number is (571 )270-

1637. The examiner can normally be reached on 8:30 AM - 5:30 PM EST.
     Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 137 of 189


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       Examiner interviews are available via telephone, in-person, and video

conferencing using a USPTO supplied web-based collaboration tool. To schedule an

interview, applicant is encouraged to use the USPTO Automated Interview Request

(AIR) at http://www.uspto.gov/interviewpractice.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Heather Herndon can be reached on (571) 272-4136. The fax phone

number for the organization where this application or proceeding is assigned is 571-

273-8300.

       Information regarding the status of an application may be obtained from the

Patent Application Information Retrieval (PAIR) system. Status information for

published applications may be obtained from either Private PAIR or Public PAIR.

Status information for unpublished applications is available through Private PAIR only.

For more information about the PAIR system, see http://pair-direct.uspto.gov. Should

you have questions on access to the Private PAIR system, contact the Electronic

Business Center (EBC) at 866-217-9197 (toll-free). If you would like assistance from a

USPTO Customer Service Representative or access to the automated information

system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




/YUK TING CHOI/
Primary Examiner, Art Unit 2153
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                                                                                      Application/Control No.             Applicant(s)/Patent Under
                                                                                                                          Reexamination
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                 Notice of References Cited
                                                                                      Examiner                            Art Unit
                                                                                                                                              Page 1 of 1
                                                                                      YUK TING CHOI                       2153
                                                                          U.S. PATENT DOCUMENTS
                        Document Number                    Date
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*        B      US-2012/0088524 A 1                     04-2012           Moldavsky; David                               G06Q30/02               455/456.3

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*A copy of this reference 1s not being furnished with this Office action. (See MPEP § 707.05(a).)
Dates in MM-YYYY format are publication dates. Classifications may be US or foreign.

U.S. Patent and Trademark Office
PT0-892 (Rev. 01-2001)                                                  Notice of References Cited                             Part of Paper No. 20170217
EAST Search History
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                Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 142 of 189

                                        Application/Control No.                   Applicant( s)/Patent Under
                                                                                  Reexamination
           Search Notes                 14059192                                  RAD ET AL.

                                        Examiner                                  Art Unit

                                        YUK TING CHOI                             2164




                                               CPC-SEARCHED

                         Symbol                                               I         Date        I        Examiner
 G06F17/30867 OR G06F17/3053 OR G06F17/30386                                  I      8/18/2016      I          YC

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                                       US CLASSIFICATION SEARCHED

      Class           I                   Subclass                            I          Date      I     Examiner
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 search, see attached search history
 East text search, see attached search history                                       2/17/2017          YC


                                          INTERFERENCE SEARCH

   US Class/                        US Subclass I CPC Group                              Date            Examiner
  CPC Symbol




                                                           /YUK TING CHOI/
                                                           Primary Examiner.Art Unit 2164




U.S. Patent and Trademark Office                                                                 Part of Paper No.: 20170217
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                                                  Application/Control No.                  Applicant( s )/Patent Under
                                                                                           Reexamination
          Index of Claims                         14059192                                 RAD ET AL.

                                                  Examiner                                 Art Unit

                                                  YUK TING CHOI                            2164


              Rejected                        Cancelled                 N   Non-Elected                 A          Appeal

  -           Allowed                         Restricted                    Interference                0         Objected

 D    Claims renumbered in the same order as presented by applicant                    D   CPA        D T.D.        D    R.1.47

          CLAIM                                                             DATE
      Final        Original   08/12/2015 11/30/2015 06/14/2016 08/18/2016 02/17/2017
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U.S. Patent and Trademark Office                                                                            Part of Paper No.: 20170217
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                                                  Application/Control No.                  Applicant( s )/Patent Under
                                                                                           Reexamination
          Index of Claims                         14059192                                 RAD ET AL.

                                                  Examiner                                 Art Unit

                                                  YUK TING CHOI                            2164


              Rejected                        Cancelled                 N   Non-Elected                 A          Appeal

  -           Allowed                         Restricted                    Interference                0         Objected

 D    Claims renumbered in the same order as presented by applicant                    D   CPA        D T.D.        D    R.1.47

          CLAIM                                                             DATE
      Final        Original   08/12/2015 11/30/2015 06/14/2016 08/18/2016 02/17/2017
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U.S. Patent and Trademark Office                                                                            Part of Paper No.: 20170217
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                                                                                                                                                PTO/SB/30 (07-09)
                                                                                                           Approved for use through 07/31/2012. OMB 0651-0031
                                                                                      U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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               Request                                                      Aoolication Number                     14/059,192

                 for                                                                                               October 21, 2013
                                                                            Filinq Date
     Continued Examination (RCE)
                                                                                                                   Sean Rad
             Transmittal                                                    First Named Inventor
 Address to:                                                                                                       2153      Confirmation No. 1044
                                                                            Art Unit
 Mail Stop RCE
 Commissioner for Patents                                                                                          Yuk Ting Choi
                                                                            Examiner Name
 P.O. Box 1450
 Alexandria, VA 22313-1450                                                  Attorney Docket Number                 083523.0118

This is a Request for Continued Examination (RCE) under 37 CFR 1.114 of the above-identified application.
Request for Continued Examination (RCE) practice under 37 CFR 1.114 does not apply to any utility or plant application filed prior to June 8,
1995, or to any desir:in application. See Instruction Sheet for RCEs (not to be submitted to the USPTO) on par:ie 2.

1.     ISubmission required under 37 CFR 1.1141 Note: If the RCE is proper, any previously filed unentered amendments and
       amendments enclosed with the RCE will be entered in the order in which they were filed unless applicant instructs otherwise. If
       applicant does not wish to have any previously filed unentered amendment(s) entered, applicant must request non-entry of such
       amendment(s).

       a.   D       Previously submitted. If a final Office action is outstanding, any amendments filed after the final Office action may be
                    considered as a submission even if this box is not checked.

             i.
                    D      Consider the arguments in the Appeal Brief or Reply Brief previously filed on

             Ii.    D      Other

       b.   [2J Enclosed
             I.  [Z] Amendment/Reply                                                  iii.   D       Information Disclosure Statement (IDS)

             ii. [Z] Affidavit(s)/ Declaration(s)                                     iv.
                                                                                             D       Other

2.    [Miscellaneous J
                     Suspension of action on the above-identified application is requested under 37 CFR 1.103(c) for a
       a.   D        period of          months. (Period of suspension shall not exceed 3 months; Fee under 37 CFR 1.17(i) required)
       b.
            D        other


3.    (Fees]         The RCE fee under 37 CFR 1.17(e) is required by 37 CFR 1.114 when the RCE is filed.
                     The Director is hereby authorized to charge the following fees, any underpayment of fees, or credit any overpayments, to
       a.   [{]      Deposit Account No. 02-0384

             i.     [{] RCE fee required under 37 CFR 1.17(e)
             ii.    [{] Extension of time fee (37 CFR 1.136 and 1.17)
             iii.   D        Other

       b.
            D        Check in the amount of$                                                         enclosed

       c.
            D        Payment by credit card (Form PT0-2038 enclosed)
WARNING: Information on this form may become public. Credit card information should not be included on this form. Provide credit
card information and authorization on PT0-2038.

                                 ,.       SIGNATURE OF APPLICANT, ATTORNEY, OR AGENT REQUIRED
Signature               I ~~.,1------·                                                                    I Date                  IJanuary 31, 2017
Name (Printrrype)       IRoshan S. Mansinghani                                                            I Registration No. 162,429
                                                     CERTIFICATE OF MAILING OR TRANSMISSION
I hereby certify that this correspondence is being deposited with the United States Postal Service with sufficient postage as first class mail in an envelope
addressed to: Mail Stop RCE, Commissioner for Patents, P. 0. Box 1450, Alexandria, VA 22313-1450 or facsimile transmitted to the U.S. Patent and Trademark
Office on the date shown below.
Signature
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083523.0118                                                                 14/059,192




             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE



In re Application of:          Sean Rad et al.
Serial No.:                    14/059,192
Filing Date:                   October 21, 2013
Group Art Unit:                2164
Examiner:                      Yuk Ting Choi
Confirmation No.:              1044
Title:                         MATCHING PROCESS SYSTEM AND METHOD




Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450




                        RESPONSE ACCOMPANYING REQUEST
                          FOR CONTINUED EXAMINATION


           Applicant responded to the final Office Action dated August 29, 2016 ("Office
Action") on October 31, 2016 ("Initial Response").         Applicant subsequently filed a
Supplemental Response to the Final Office Action ("Supplemental Response") on November
9, 2016.       In response to the Advisory Action dated November 9, 2016, Applicants
respectfully request that the Examiner consider this Response in further view of the Initial
and Supplemental Responses.




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In the Claims:

           For the convenience of the Examiner, all pending claims are set forth below, whether
or not an amendment is made. Please amend the claims as follows:


           1.-22. (Canceled)


           23.    (Previously Presented) A computer implemented method of profile matching,
comprising:
           electronically receiving a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determining a set of potential matches for the first user in response to receiving the
first request;
           causing the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determining that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to determining that the first user expressed the positive preference
indication regarding the first potential match, automatically causing the graphical user
interface to display a graphical representation of a second potential match of the set of
potential matches instead of the graphical representation of the first potential match;
           determining that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determining to enable initial communication between the first user and the second
user in response to determining that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;




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           in response to determining to enable initial communication between the first user and
the second user, causing the graphical user interface to display to the first user the graphical
representation of the first potential match;
           determining that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third
potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           preventing communication between the first user and the third user after determining
that the first user has expressed the negative preference indication regarding the third user;
           determining that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           preventing communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           24.    (Canceled)


           25.    (Previously Presented) The method of Claim 23, further comprising:
           in response to determining that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, causing the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling a text area to be presented to the first user.




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           26.   (Previously Presented) The method of Claim 23, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           27.   (Canceled)


           28.   (Canceled)


           29.   (Canceled)




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           30.    (Previously    Presented)      A       non-transitory   computer-readable   medium
comprising instructions that, when executed by a processor, are configured to:
           electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device;
           determine a set of potential matches for the first user in response to receiving the first
request;
           cause the display of a graphical representation of a first potential match of the set of
potential matches to the first user on a graphical user interface of the first electronic device,
the first potential match corresponding to a second user;
           determine that the first user expressed a positive preference indication regarding the
first potential match at least by determining that the first user performed a first swiping
gesture associated with the graphical representation of the first potential match on the
graphical user interface;
           in response to the determination that the first user expressed the positive preference
indication regarding the first potential match, automatically cause the graphical user interface
to display a graphical representation of a second potential match of the set of potential
matches instead of the graphical representation of the first potential match;
           determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match;
           determine to enable initial communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to the determination to enable initial communication between the first user
and the second user, cause the graphical user interface to display to the first user the graphical
representation of the first potential match;
           determine that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third




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potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           prevent communication between the first user and the third user after determining that
the first user has expressed the negative preference indication regarding the third user;
           determine that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           prevent communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           31.    (Canceled)


           32.    (Previously Presented)     The medium of Claim 30, further comprising
instructions configured to, in response to the determination that both the first user has
expressed the positive preference indication regarding the second user and the second user
has expressed the positive preference indication regarding the first user, cause the display of a
graphical notification, on the graphical user interface of the first electronic device, that a
match exists between the first user and the second user, the graphical notification comprising
a user interface control enabling a text area to be presented to the first user.


           33.    (Previously Presented) The medium of Claim 30, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           34.    (Canceled)


           35.    (Canceled)




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           36.   (Canceled)




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           37.    (Previously Presented) A system for profile matching, comprising:
           an interface operable to:
           electronically receive a first request for matching, the first request electronically
submitted by a first user using a first electronic device; and
           a processor coupled to the interface and operable to:
           determine a set of potential matches for the first user in response to receiving the first
request;
           cause the interface to display a graphical representation of a first potential match of
the set of potential matches to the first user on a graphical user interface of the first electronic
device, the first potential match corresponding to a second user;
           determine that the interface has received a positive preference indication from the first
user regarding the first potential match at least by determining that the first user performed a
first swiping gesture associated with the graphical representation of the first potential match
on the graphical user interface;
           automatically cause the interface to remove the presentation of the first potential
match from the graphical user interface in response to detecting the gesture and cause the
interface to present, on the graphical user interface, a second potential match of the set of
potential matches to the first user;
           determine that the second user has expressed a positive preference indication
regarding the first user after determining that the first user expressed the positive preference
indication regarding the first potential match; and
           determine to enable initial communication between the first user and the second user
in response to the determination that both the first user has expressed the positive preference
indication regarding the second user and the second user has expressed the positive
preference indication regarding the first user;
           in response to the determination to enable initial communication between the first user
and the second user, cause the graphical user interface to display to the first user the graphical
representation of the first potential match;
           determine that the first user expressed a negative preference indication regarding a
third potential match of the set of potential matches at least by determining that the first user
performed a second swiping gesture associated with a graphical representation of the third



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potential match on the graphical user interface, the second swiping gesture different than the
first swiping gesture, the third potential match corresponding to a third user;
           prevent communication between the first user and the third user after determining that
the first user has expressed the negative preference indication regarding the third user;
           determine that the first user expressed a positive preference indication regarding a
fourth potential match of the set of potential matches at least by determining that the first user
performed the first swiping gesture associated with a graphical representation of the fourth
potential match on the graphical user interface, the fourth potential match corresponding to a
fourth user; and
           prevent communication between the first user and the fourth user after determining
that the fourth user has expressed a negative preference indication regarding the first user.


           38.    (Canceled)


           39.    (Previously Presented)    The system of Claim 37, the processor further
operable to, in response to the determination that both the first user has expressed the positive
preference indication regarding the second user and the second user has expressed the
positive preference indication regarding the first user, cause the display of a graphical
notification, on the graphical user interface of the first electronic device, that a match exists
between the first user and the second user, the graphical notification comprising a user
interface control enabling a text area to be presented to the first user.


           40.    (Previously Presented) The system of Claim 37, wherein the set of potential
matches for the first user comprises one or more potential matches that are each associated
with a geographic location within a threshold distance of a geographic location associated
with the first user, the threshold distance being a stored value.


           41.    (Canceled)


           42.    (Canceled)




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           43.   (Canceled)




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                                               REMARKS

           In the Initial Response, Applicants traversed the Section 103 rejections of the pending
claims by, in part, discussing objective evidence demonstrating that the claims are not
obvious.          Initial Response at 13-16.    In particular, Applicants provided evidence that
embodiments of the claims were commercially successful and copied by others. Id. In the
Supplemental Response, Applicants also provided evidence from an article in The Wall Street
Journal that also demonstrated that the claims were commercially successful and copied by
others.         Applicants respectfully requests that the Examiner consider the new evidence
discussed below that demonstrates that the technology of the application was invented prior
to the primary reference used by the Examiner. The arguments used in the Initial Response
and the Supplemental Response are included here as well for convenience.

35 U.S.C. § 103 Rejections
           The Examiner rejects Claims 23, 25, 26, 30, 32, 33, 35, 37, 39, and 40 under 35
U.S.C. § 103 as allegedly being unpatentable over U.S. Patent Publication No. 2014/0040368
Al by Janssens ("Janssens") and in view of U.S. Patent Publication No. 2008/0196094 Al
by Benschop et al. ("Bense hop"). Applicant respectfully traverses these rejections because
(1) the Office Action has not established a prima facie case of obviousness; and (2) objective
evidence demonstrates that the claims are not obvious.


Tlte claims predate Janssens
               The claimed technology was invented prior to August 6, 2012, which is the priority
date of Janssens.          As evidence, Applicant submits the declaration of inventor Jonathan
Badeen and its accompanying exhibits.            Thus, pursuant to MPEP § 715, the Section 103
rejection using Janssens is overcome. Applicant respectfully requests reconsideration and
allowance of all pending claims.


Tlte claims are not anticipated nor rendered obvious in view of Janssens.
           In addition, Applicant disagrees that Janssens discloses the following limitations of
the independent claims:
           •     determining to enable initial communication between the first user and the second
                 user in response to determining that both the first user has expressed the positive


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               preference indication regarding the second user and the second user has expressed
               the positive preference indication regarding the first user (Claim 23);

           •   determine to enable initial communication between the first user and the second
               user in response to the determination that both the first user has expressed the
               positive preference indication regarding the second user and the second user has
               expressed the positive preference indication regarding the first user (Claim 30);
               and
           •   determine to enable initial communication between the first user and the second
               user in response to the determination that both the first user has expressed the
               positive preference indication regarding the second user and the second user has
               expressed the positive preference indication regarding the first user (Claim 37).
Not only that, Janssens teaches away from these limitations. This is significant because "[a]
Prima Facie case of obviousness may also be rebutted by showing that the art, in any material
respect, teaches away from the claimed invention." Jn re Geisler, 116 F.3d 1465, 1471 (Fed.
Cir. 1997); see also MPEP 2 l 45(X.D.2).
           Janssens discloses that users can communicate with each other prior to the "linking"
cited by the Examiner. See, e.g., Janssens at iI 95. Paragraphs 52-53 of Janssens suggests
that users can freely communicate unless they are prevented upon request by a user. This
teaches away from the claimed manner of enabling initial communication as users are
prevented from communicating until the conditions specified in the claim are met. See also
id. at iI 5. Paragraph 56 of Janssens merely discloses users setting preferences but otherwise
allowing open communication between users of the system.            Paragraph 178 of Janssens
addresses a "speed dating" situation where users who have expressed no preference for other
users are forced to chat with another for a specified period of time. This again teaches away
from the claimed manner of enabling initial communication which require a particular set of
factors to allow for communication between users. Thus, not only has the Examiner failed to
identify one passage of Janssens that explicitly teaches enabling initial communication in the
manner claimed, numerous passages in Janssens teach the opposite and allow users to
communicate before the "linking" feature discussed by the Examiner.


The claims are not obvious in view of Janssens and Bensch op.
           In the alternative, the Office Action rejects the independent claims as obvious by
attempting to remedy the deficiencies of Janssens noted above with po1iions of Benschop.
Office Action at 8. But this rejection suffers from two legal deficiencies. First, obviousness


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rejections are inappropriate when a reference teaches away from the claims. In re Geisler,
 116 F.3d 1465, 1471 (Fed. Cir. 1997); see also MPEP 2145(X)(D)(2). Second, obviousness
rejections are improper where a proposed modification would render the prior art being
modified unsatisfactory for its intended purpose. MPEP 2143.0l(V).
           Janssens teaches away from being combined with Benschop. The cited portions of
Benschop are directed to an e-mail system wherein users can only e-mail each other if they
are in each other's address books. Benschop at ii 60. Benschop seeks to allow messaging
between users that already know each other. Id at ii 58. But, as detailed above, Janssens
teaches away from enabling initial communication in the manner claimed because Janssens
is directed to facilitating communication between users who do not know each other.
           Incorporating the teachings of Benschop would frustrate the purpose of Janssens. As
explained above, the cited portions Benschop is directed to an e-mail system that reduces
spam by allowing messaging between users that already know each other. See Benschop at
ilif 57 & 60. But Janssens teaches an electronic dating platform where users do not know
each other and are using the platform to get acquainted. Thus, combining Benschop and
Janssens in the manner suggested by the Office Action would lead to a system inoperable for
its intended purpose.


Objective evidence demonstrates that the claims are not obvious.
           The law establishes that secondary considerations based on objective evidence can
rebut that the claims are not obvious.        MPEP 2145.      One such consideration is the
commercial success of an embodiment of the claims; another is whether the claimed
invention was copied by others. Id A third consideration is whether the claimed invention
has received industry praise. Id; Vulcan Engineering Co. v. Fata Aluminum Inc., 278 F.3d
1366, 1373 (Fed. Cir. 2002) ("Appreciation by contemporaries skilled in the field of the
invention is a useful indicator of whether the invention would have been obvious"). The
claimed inventions of the present application have been commercially successful, copied by
others, and have received industry praise as the objective evidence discussed below
demonstrates. Therefore, the obviousness rejection of the claims should be withdrawn.
           Multiple articles from different publications attest to the overwhelming success of
Applicant's system that embodies the independent claims and specifically cite the claimed



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manner of enabling initial communication as the reason for that success. One publication
attributes the commercial success to:
           "the double opt-in": You can only message someone after you've both
           signaled that you'd be down to talk to the other. Due to this feature, Tinder is
           succeeding with women turned off by traditional dating sites.

Appendix I at 2. Another publication notes Applicant's success in accruing "millions and
millions of users" in less than a year noting "the idea of the double opt-in-some
establishment of mutual interest that precedes interaction." Appendix 2 at 2-3. Yet another
publication highlights that Applicant's system has "over 1.5 billion swipes and 26 million
matches per day" and attributed the "success" to the "double opt-in connections[.]"
Appendix 3 at 2. In an article titled "How Tinder Solved Online Dating for Women," yet
another publication describes the Applicant's system in terms of the claimed functionality
after noting its success with users:
           You're served a succession of photos of people who meet your age, gender,
           and location criteria. You swipe right if you want to meet someone, and swipe
           left if you don't. If you both swipe right, you can message each other.

Appendix 4 at 1. A fifth publication concurs, noting both the success of Applicant's system
and the claimed technology:
           It's the fastest-growing dating application in America, and the flirting device
           is becoming ubiquitous in Australia among young urban singles. Tinder -
           more than any other app or website - has managed to suck the stigma out of
           meeting online. The smartphone app works a little like speed dating, but it's
           even more rapid-fire. Profiles, which consist of five photos taken from users'
           Facebook pages and a short description, are stacked on the app like a deck of
           cards. If someone likes what they see, they swipe right to indicate they're
           interested. If they don't, they swipe left. If two people swipe right on each
           other, they're a "match" and can start messaging inside the app. This way, the
           potential for unwanted attention is eliminated.

Appendix 5 at 1. Finally, a sixth publication provides the same attestation succinctly:
           Downloaded by more than 100 million people, Tinder is responsible for some
           1.5 million in-person dates each week, according to its creators. It's helped to
           normalize "meeting online." Tinder did this with an ingeniously simple swipe
           "right for like"/ "swipe left for dislike" vetting process, connecting people
           only when there is mutual interest. Its soaring popularity has helped
           revolutionize modern dating, shifting us from finding love via chance to
           finding it via algorithm.




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Appendix 6 at 3.        Thus, overwhelming objective evidence demonstrates the commercial
success of Applicant's inventions.
           Further, multiple competitors arising after the Applicant's system incorporated the
claimed features, and publications have attested to this type of copying. A product called
"The League" "[c]alls itself the 'Tinder for elites[.]"' Appendix 8 at 1. "Like Tinder and
Hinge, you can swipe right to indicate you're interested in someone or swipe left if you'd like
to pass." Id. at 5. And like Applicant's system, you can communicate once you match. Id at
13. These same features are touted by "The League" itself. Appendix 7 at 1. "Hinge" is
another application that "looks very much like Tinder" (Appendix 9 at 1) and "borrows most
of its interface from Tinder" (Appendix 1 at 3). This application also works like Applicant's
system:
           At first glance, they [Tinder and Hinge] look quite similar. Both give you one
           potential mate at a time that you can swipe right to approve or swipe left to
           dismiss. If two people approve each other, they're allowed to chat within
           Hinge.

Appendix 10 at 1.         Indeed, another article notes that Applicant's interface is "widely
copied[.]" Appendix 3 at 2. Thus, objective evidence demonstrates Applicant's claimed
inventions have been copied by others.
           In addition, multiple publications have praised Applicant's system based on the
technology claimed in the present application. One publication stated:
           Tinder ... found another way to cut down on the creep factor, through what its
           founders call "the double opt-in": You can only message someone after you've
           both signaled that you'd be down to talk to the other. Due to this feature,
           Tinder is succeeding with women turned off by traditional dating sites.
Appendix 1 at 2. Another publication claimed that Tinder has "cracked the code" and has
won the "race" of applications in its field. Appendix 2 at 1; see id. at 2-3 (identifying the
claimed features as reasons for the system's success). In an article titled "How Tinder Solved
Online Dating for Women," yet another publication praised Applicant's system in terms of
the claimed functionality:
           You're served a succession of photos of people who meet your age, gender,
           and location criteria. You swipe right if you want to meet someone, and swipe
           left if you don't. If you both swipe right, you can message each other.




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Appendix 4 at I.         A fifth publication concurs, praising the Applicant's system and the
claimed technology:
           Tinder - more than any other app or website - has managed to suck the stigma
           out of meeting online. The smartphone app works a little like speed dating, but
           it's even more rapid-fire. Profiles, which consist of five photos taken from
           users' Facebook pages and a short description, are stacked on the app like a
           deck of cards. If someone likes what they see, they swipe right to indicate
           they're interested. If they don't, they swipe left. If two people swipe right on
           each other, they're a "match" and can start messaging inside the app. This
           way, the potential for unwanted attention is eliminated.

Appendix 5 at 1. A sixth publication praises Applicant's system as "ingenious":
           It's helped to normalize "meeting online." Tinder did this with an ingeniously
           simple swipe "right for like"/ "swipe left for dislike" vetting process,
           connecting people only when there is mutual interest. Its soaring popularity
           has helped revolutionize modern dating, shifting us from finding love via
           chance to finding it via algorithm.

Appendix 6 at 3. Thus, overwhelming objective evidence demonstrates industry praise of
Applicant's inventions.
           On November 3, 2016, The Wall Street Journal published an article that discusses
embodiments of Applicant's claims. The Wall Street Journal stated:
                   For the millennial generation, the lingo of "swiping" is painfully
           obvious. But it didn't even exist until 2013, when the Tinder app introduced
           the finger-flicking gesture into its interface for choosing a date. When looking
           at the profile photo of a potential match, a dismissive swipe to the left moves
           on to the next prospect, while a swipe to the right indicates interest. And if the
           right-swipe is mutual, dating rituals can commence via instant messaging.

                  Tinder's massive success, with users making more than a billion
           swipes a day, has led to an array of other apps adopting the swipe-to-like
           approach. "Swiping" has even permeated the language, with "swipe left" used
           as a general metaphor for rejection and "swipe right" for acceptance and
           openness.
Appendix 11 at 2. Notably, the article attributes the commercial success and popularity of
Applicant's product to the claimed features at issue in this patent application. In addition, the
article mentions that others have copied the claimed features embodied in Applicant's
product. This new article is in accord with the ten other references submitted by Applicant in
the Initial Response; this overwhelming, objective evidence demonstrates that the claims are
not obvious.



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            For at least these reasons, Claims 23, 30, and 37, as well as each of their respective
 dependent claims are in condition for allowance. Favorable action is requested.




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ATTORNEY DOCKET NO.:                                                 PATENT APPLICATION
083523.0118                                                                    14/059,192

                                                18


                                         CONCLUSION
           Applicant has made an earnest attempt to place this case in condition for allowance.
For the foregoing reasons and for other reasons clearly apparent, Applicant respectfully
request reconsideration and full allowance of all pending claims.


           If the Examiner feels that a telephone conference would advance prosecution of this
application in any manner, the Examiner is invited to contact Chad Walters, Attorney for
Applicant, at the Examiner's convenience at (214) 953-6511.


           As indicated on the accompanying RCE Transmittal form, the Commissioner is
authorized to charge the amounts of $1, 700.00 (for the RCE fee) and $1,400.00 (for the three-
month extension-of-time fee) to Deposit Account No. 02-0384 of BAKER BOTTS L.L.P.
Although Applicants believe no other fees are due, the Commissioner is authorized to charge
any necessary additional fees and credit any overpayments to Deposit Account No. 02-0384
of BAKER BOTTS L.L.P.
                                               Respectfully submitted,

                                               BAKER BOTTS L.L.P.
                                               Attorneys for Applicant



                                               Roshan S. Mansinghani
                                               Reg. No. 62,429
                                               (214) 953-6737

Date:      January 31, 2017

Correspondence Address:
Customer No:           05073




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                      APPENDIX 1
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  From Tinder to Lulu: A Guide to the
    Modern World of Dating Apps
                                                       BY NATE JONES




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                      APPENDIX2
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                 <>nd i.;mkr;i,:i.bk s.ucc·es~;. \Vheth·~;· it ~-.-orks dep~·nd.:.. ,;;n yet;r ide.1 vf w<:11. kln-g.
    Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 171 of 189
            F~tcr.l'~'-1.}k nen•.--c-rk and sh,_"lt•·s v,·hfd1 fri.:'1ids:. if <my. ":ou h.~n::- in N;mnwn with the pE.·rs.t;n in the ?h<n(J_ On

            Octuhl~r ::.6, F.li app-t·ilff",\ on. b.:-r J:h("lne. Ht-:,,..}~ cut<.'. Ht! ,_•ou.id tdl,) j,Jh"'"". (Hi~:; t:i~lirw m;•.. d<:- h(·;· L:~ush.) Th~)·

            h.a<l oae fn.:-nd in !'(·nlmon. and tiir.-:; tx·nh Hl~<:'<l L<)l~~~'; C'.K {\\"ho d0r:f.il "t lii:{" l.c>'.,;.;·i. CK? Eii ,~,'l~·s i;H~r. Oh. )""<"iu
            r.b" lib• th~ nw-H popidar '~on·:f.'rh"n ~m Auv·rif"<1?_'1 Sh<" .;.wiped him to tht> ri.g\H. ElL ''--Jio ~,1-y.s L:- -....,·(1ui<l hc.nlz up
            wilh .1ml».>d~-- \-.Jw i:m't nH.:•:.b1dly ·:>b<:~t'" ,:.r fro tht• niidd.le of<~ s<~lf ·l1~stnJcti•:<;< drug rdJ:p~•t\ ~"""·i~•e~ ~·\"i.'1Y.n•:- to
            th~ 1 i::::)1t. A mtttd~ !




•                                  •                    Nih;! tJ:i:G: KD an::i R;;H-Tti·'1 ts (:7)ir,~
                                                        t~8!! ll:(' NSA'i; 1*S!N~<h R>'1<Jir;




            £ti: 5o wh~- ?>'Ol\ on T:ind~r:'




            EE ~~aid_ it \VA;,> ;m ~st>?o(-<1> th!Hf> hL~d t.:tu~ht h.lm th:it Wt)1'\tH1 find nJ{' rH-tJl"€ ?.ttr.,>'.'th·E- tiMn 'l tU.ni:.
            l'ufort>m<dr~ly for R<:.th~rin-?. hf' te:-M h~r h.:- Jidu't hitY-t' '1 ht t;f ti11w k• d.ttt•. Hi: workfO'd t1q-i job.:>.111cy \~·i<ill~d

            diffo~·enr. thingf-. It t"h.~n:fo1'f' re<id .)g rno...~k hr:t\«1do \·•hen Eli wrou. But ym~ e\'<'T jUl.f \\?int to {nd~ pli:-a?-c-pli':<.-$.;,.

            iJ(ill~r ,1;t. me c..:;ol?''!') Ho:- ;_>,._idi:-ti his n;\rnb<Cr,




            K.'l.tb~rin~ like<l th.c;t he •>'-<li' :'>Y>"V.Hf....:·:-   He v:.7\-.: n..um:-· Ho: did. not. Hb~ -01w :?HV. stalt th"" ronverfatic·u \\'tth fl ..)n·r
            ~«:·n \•::1m i<-1 touch my ,1bs? He 5_1.l:1 pl.,.<tf.f·. Eli. tih:<l th3t K;·u:h£.-rin<:- w.i~ Didrr. K,Hh<?ri!H" hT£!ti:-: You <'<m·r b.:-

            ps~·..:.h.o or I \~·iH tdl i_i:wrn~ i:.t mt~bal friend]. He !l~'mt·~thfaed ~,·ith thaL i<K•,




            I first .sign.;:-rl. up fo.:· T!n<lH in ).fay hut found )t sk~•)"Nl h..,L, \'OLmg. {I'm 3".:.) \\'hE"H I looked <i}~·\i!~ in :rnid~
            Ocwt.~r. f."\'•~r_vthiu3 h<iddrnnged.                 r ;rwiped through p<.!ople I la<:F'i\~ fro?""!l t'(•lltg-e, pe-op1E 1 miz;ht\\~ r~Mt<:i;;;;-d
            from the tr-at;i. 1 S<l>\.. it h<.\d gone glf;.fMl •·:hen .l frit>nd in En~b.nd 1<t>$kd ;-.. Tiucfor·lnsyin.•d _p1.wm 011 h<"r
            Fac~bt-;1..">k paic- {:and ht:'re ;u-~ w.:-, Rf.' ;;.;id .:\It>, tJui· t1ith;i::r~u seh:~sn.'ndt'>f·d 3D).                       r ~tarted to chc(.·k it r-e~uldrl>·,
            The wore I tJ:i:etl it« thi:- morr. l u11>-'3ldert'.d hl)W l:mch it \;'On.id hi'ITe he:p-?.d nu~ at other tim<:.::. -in uw hfo,>-1o in at~
            fnend~: ln gra-d -8dR•o1, t<::• m.:-e-t pe.Jp!e .~ftf<r rnnving to a n?w!..'i!y                         ft ~"':f.'i'H'R>.-.-0_ p;}s:;iblt:- th;1.t on.:- neF-d n<:"':erhe
            is<.>fot·i-d ~!<ll!L


            ln D;.;'t'-..,.mlw-r. T r1t'>'- ~•ut tn l.0$. <\J~;:.l;:s_. \dwre:· Tindt>r :s bn::~.>d. l\'< visit rhe <'•Ymjuny·~~ offii..-,-:.s Mld nw0t t\H'> l,f its
            found.;-.rs, SeJll Rll<l ..:ind .Jqst~n ~L.1tt-..::n. both "}_7, (The 1hird i."- .fo.:.~::itb~n H-'d<:'."11, th.; "-'UginN'l''Who bui1t the
            ,1pp.) R-l.tl b fbr. r.hif:f h'Uti\"E' offi(<?r: ~ fatet-n is d:nt>f mA;·k~ti:n;:;. ~)ifi<.'>?r. "11H:'Y Mt:' ,,}s.._1 h.;>.:..:t friend.,:. t\ll;ne- ·\
            ri'f€.'n1Manrv to D<:\•.:irl Schwimme-. ~H<d h;;-i:~ ~n kn•)w1; to .slh1-..;· !tp for work info<:- s:u:nt: outfit.! 1.ns M•\..·in:g
            onlv <1u-:il~11-om Tforier's offic£>.o; in \~'e.:.t l·ki!l:-.•,·o:..d. ,1n<l h'ithin iorty-ei"_ght hff'<r.i· l.>;.:>th T.:iundt>r.s ~ht•">'-"ed u1-; ,·m
            my Tinder te~d. Od1e-r m;:-rnol«'l.bb ;:ppear~nN:~ on rny tr:--ed in V:.3- .·\Hf<f1e.s. indu.-:t.:·d 21 :?ll~- hvlrling a b;.;;b be."'l:r.
            a guy und his Yi.:·rkshir~ krrie-1:, iu111atchir.g .ii.-..·t..'«U·:s. ;.rnd a pi-p-t~:..11-.<.l~tng. dJ.nd~ ;\)th.\ R:\s:putin b€ard. borh-
            1im.rn.<:d :!lit:~s ...~s, ~rnd ~\ f.•Ji.J rin~ lh0 cx.:\ct ::ih~.P'-" J:n.J. ;;;.i"l:-e of a v!..·<,.1.l"'.


            R.:..d 1.md \l"<1t<:~n iW<? Joe~.\ ho\;;. The;: both gre\\" up $.a Ben:-1-h- HiU..s. akh\°'·r\~i;:li the\· ~1tt<:nct-ed r.tiff~r""nt pr-i.Y<i.t.;-
            s~hoofo. Tht<y firM <:'J~,_·oirnter~,·l f'.<ih othe-1 .Pt q. \..._·iwn 51",'ln m.<c'I;:. il pl,;;y frH ,hi~du'.:;. g;rlfrien<'L ('\'"' m.-.r

            t..:c-.tUJ:{;' ·we- both hb:d thi= ~--un-:- ,girl ····but nw gii i \\_.,,;_;_ m~ 9ir~1·~·i.:ud, ~-\\.,:.! ,Jti~lill.} TL..>y reco11ni;o•.:tezt (l:t l -~c, ,md
            th<.:'11 both st,\rtc-d i.rn.1'2'pt'1ldt•nt eo:np«.lli,.:-s. Jnitin ·s. •\·~~ r>. ~oei.a! n<>twork f<r; t'<::1t>b1ities . .Se3n ·::. t>.<\SA..:Hy, ~J
            µiatform th21t ,:,Hows comj..lt1l.ii..:~ t« .Hin::1tist· ·:iii c,;-h:bril~>:.:!t' ~odal n.etn:ork~ Hi.;o suld the nBjmi~y vf hi~ :r.Jkt· in
            :!01""J, I didh-t y:.::.1<t t<.' he in th~: Ml bu.:;;.iw:$S, h~ s:<!ys. H~ <1h..::i il.ltin't -,;-;mt to n1•ik>:- thing;; for comr•uter~··
            -Con~pm;;-rs <;re $ .."'iuz_ l'XHH.ct, he f-1.\':'>         Compnt..•!s .~H· iuA v.-ork de-~:ic~;:;. F<-•r pe-()J';1{' his ;1g.~·. thf:' prir.:.~ui:,· ...-,,~·to
            in1E"rf,,,.r.~ v.i!h th.:- t.i:dm.~-:al ~,·<>1kt\"l-0 itS thl.91.l$h ;:i. nwl->i1.:: d<"Yi<~-



            P-"~d and Mai.e<'1> ihT'•: sh<\n·d kE~frw!iS ii.le<>:> 1\ith ~.-ich otlu:1 fo1 _;.-e,'l.rs, <md•:n"n·idt><1 bt'51Ji~ -..~1n, .:1 prDh:i:m.

            The- k11y ~o sddng_ tht.' probl<::m that :utH<:::te.d Tili:der: 1 nutiz·ed th,'\t r.o nrnttc-r '-->'ho yi.::»u iil'(>, yon f,!et r.no:t>
           {t'.H1\forrnb!-r J-¥J-'r<;-.,.ching SL\lY1.E-b<r..iyifyw)J. k1ww the_\'\•:i!nt _\·cu tr..' .:ip-pv<:>N:'h th:en-1, .::;,1y~~ $~.;}n. Th>O')' had 1)')lh
            (·~f>\~rl<:<Htffi th0 i.ruf-.fu,tkm 'Jf :wnding.snwkf.- sigrwh !hrw-igh ;;-oci<>l n.1.,-di<~. Then~ .:u«" p~L-·~p1e that ,,.,,u:t ta g,"t t(l

            kno~-.- _r(<\l who don ·r kn'.>'Y ~,-,-,u, S<) th<?y·re l~f<i"'.ffting tl"J F~l:'ebo(i1::. e::xpla1.n:,;; Ji.1stin. ''°hE>n !ho;R ;1.d'\\'!lK-?.S or

            iri.rnci.lngs i)r fofiov:in:?;s are lHl~.,_·;mt<"rl. they$i(1.'. th.;o DYP.t1m·e-~• ._~.111 ~e·:·m ,1.l!ttl.:" c-ri:-epy. {('01wirler, fur ,.;.:.;-;-mph•.
            the 1c>ng-Sti\nding: rnystery of the F'a<'ebock p-cke.) ~~r<in h'a.:; inti:-re.St€<1 iu the itle.::: of the-ctouh1e opt~in-som.e
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        _,:._.nd 5•) TiI:lh>r ;::uNred ,\ frn:.~~ifo:i.1;z, industry. )fost of the 'big pluycu- (including 2'.I~ld1.~on:;.~ Plf:nty of Fh,h.
        OkO.;yid, E"H;.nnony, .~fanlumt. JD,\te, <'i.Hd Christi.'lli 3.liug1~) e;t;1bli:=>h.e<i tlw.rnselve:<. hr.fore hi~lfous nflm.manf;
        f'i'u·ded min.;.:tturi: S<'it~Jlite-<:01iH•:<ted dJta pn-...-:~.;:rnrs l.n th.;.ir poc-ki:t.-:::, helor~ most _µe(ij)l~ fe!t {·on1fDrt:1bl.;-
        nsi11z tho:-ir n:;;ii :wm.:s t-o ~eel; co-1·.ipiini0nshlp onlin~, an<l h:-fore .1 hi.Hwn pNpll'! i-cln.:d Fa<"ebook-hP.for.;•
        Fac.;-book t:<.--:n e.~iste<l. Tmd.er'"f' major .1<l\·Jnh1gE:-.s. r·ome from t::ipk•irmg_ e,\ch l;•f th.:H r.;-cem de,·e!opments. Th;:-
        cY~r.~p'lny d:;.o nrn1t.:~~.:d tf'.,· accnH.·. ir; l·:-:;s 1h.1n ,\ y.:-m ,_°!'f .:xi,:;t~n1ct>. fl<,~ ;>nly truly ITI\f•<•rt~u"Jt ~'k:.-:..~t of ,111y <l<ttir;_g

        sil<': rnHHQns ,\nd m.iUiuns >::.of us~·r:.




        Xico-k i:J JD.~;_ '-'·fltov,y bnmet::e \'-)th ·::n.dy han >dl.,) d·~$.;;rib~~.s her~:.df\.;n Tir:...:k1 <;:S t>~m.:.-\."f, :::rnikT, h;:i\•.::y. taH.
        Likt.• 60 L>..H. Seine~ }l'lHi:t~~ Tim.fol :~iSt SiUUllH.•r <AH· h:i,; t.:h:.tlkd \'.ith <lo.t.?1l.S (.'{ g.uy-:' but (;Lily v>n,_> i..>!l tv.·oTihd(•r
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        S:onwfo.ne~ shf''ll st~n Tinrlermg ''>}11Je en the n-J.in ;:;ud '>-..ill gEt so i.iJ;:trM.t<7d she·a mi;s her stop. Sh~ rind~~ she

        ;;orn_fi(m<?-s fa1ls into a :5•X1thing ::n-;iping rhyrhm 1-.·her.::- $he·;S not really looking at thE- mrn. ju:St {"-<lln1in,g hei,;elf
        w~th .1 n:•rx-.iiti,·ti paHt:rH cf i.:-ft·right ~~v.'lp~R -Gdti.ng..:t match St'(>trtS tt.~ ~Kti\"«tf.' ~om-2" vrirnah,1ratifa_·~ticc cetH<H'

        in hH mind. Sh~- tikes th<H it'$ phye-d Hke- :a g.unt>.


        rm dt'finit<.·ly not the typ;: of \\\il11<";H ·rshn \\'3.iks :m_;untlthinkinf that eni"l')'Ct!f.' think£' rm h1'1t, Nii.XJlt> t<:.>11.~ BH.:.
        ::.'he rfof:'~' .not f~f:'l li1~ th& people \:·ho \\'rtnt w <l,ui-> l>e;· ,n·t> ahundant rrn<l everyv,:h~r<:', ~'O when a tut of mJh.~llh1g
        hap:x~n.::, it ro1ne;: ~5 a r~al h('('S.C Ir m<'l:l:es u1e li;>o-k ;;i.t my \"~t.:inral ;,·r;rld in a mone foyorable- , ...·,1y. ~he says.

       "\Vh~u she's bored. she gcf--s on Tinder. \.q1,;.n .::hi:- h'.lDts v:i:Jid.'\tion. she find.:: 1t on Tind<"r. She- n;:;~-s it ·wht-n shF.--'s.

        fo<?lin_g <lo, . .:n. (Tinder get:s.~1 siigin uptid~ in us-eon .SmJil~ys, that d;;,y c,f hango\·€B, b01't'<lom, and planning.)
        Sem.Hur.. -S-i..'lt'<.'nGho:.;. .;,f \he m~'l:;t 1:idicul0u;; pholvs thi1t <·omt' up h.:1~~ b~.::onv.1 -..1 ~~urn' of nwniment for lK'f 4t:d
        h~r irl~n;:;h. Th<':r~ ~;<:~ms to b{;' l1 pn:pon<:krlli~~.;: ..,f m<.>H P~'sing wirh ti3€'r~. she ~~ys.



       A-tm.:dl:-.-(·,·mununic?.t-in;~ '\.'<-ii:b. pe<;1)k is :.moth~r ftOl')'. Tdo.:... J;:-.t .;,f not re.;;-v.nding. whi<-h is pro:<hPhl:-.-· ho:rrihJe

        po1lt.:-n.:-sswtse. shE" ;;t1ys.. H tak.,.s an e:;.ped,·1H;: 1iyn~mk p.:~rf:.on to ·w-in h<:>r ov.:r ~~t ki.'1 rn.e:;s.1g_ing. The u-::n<>l Hi.
       ho,•-<>.n.•you::• b<irb h~r. I'm,, .:>otL'!l w-:.-.rfo~r. and l tzllk to people ,'tl!d.:;y. she.::.ay.s.. l'm not inti:1~Hed iu
       son;..::.;.r;C"'t- Ho<\' Jire )-'t'lu: qu •.:stio1:. Her n;·o dak~ bod1 vt:r:maded hi!r to .~v- 011t by k•irt:!'. n•,,11;.· ~oHd tvxt
        conn•r:S-<.1ti.:m,\li:1ts.


       ·n:1" <l.ih•r. h'>?rr. finf'. Tht>y did not t"nd in S.fi, an1~1;i:- m?lrrr of br.-r fot:t ...ht<"s on OkCuplrt P-:.ut nf th!:. ,\·a.s 5irirp1y
        drnt e:i.;r,,;_·ct.::ttion8 •tr-~ sn :nu.ch tower on Tinder: "11 you kn•;;\·<: .:thi:iut the pe{•ple- in vo;t:· fr;lder ;{, th.:it. ;;.;mr
       ii<lv.:tnces a'l'{" ,.,·.:-kom.::. Tho;> bd~ •:>f st.~ted pur-pc~e in .:-a.:-h profil-e <'<tn Je.,::td to sunw .i:-•:i-nfo.';ion. ln fo::::t, :n.:tny ·Jf
       l ht' peopb I hit~•iyfow-?d a!;k,:-d mt.' 1.\·}wt ~ht:· !-.itt• b s\;ppose<l ti;. b-1."- f;,_:,,. :0:>1:inH· pei:.p!:c>. ;,~;;.ed to nadiug bt•tw,?Pl; J-:,p
       hn,,c:; in_ ~uch m<1tt•:T:.•. :sirnph as~nu~k' c,t:;'th'!.~ :<t•x . .!'\in r..:i ..x1k. I a:;:k htw-.: ~hr..' nh~L.-::s dtdl r;l;,,,w :·md :::d'J,,c :ki.n :;;!w




       Sh-f has u.'i-ed the sit~ bot.h m :::..:-~wYork. \-..:hi::·;'>'? sh<.'-li,·.:-:;. ;;,.nd .in thE B-,1:y Aff>3. \\'1H·r<:" she-i;; i~:.m. She d::f..:-r-.:l::':'i a
       d-.:ar t.'tiff~r~rKe. \\'hen she signed on iu the Uay. she felt a flood of r~cc•,gnitkm: The~i:- <>l.'e my pe<.;pie: ;f.h-t ~Jid.
       They 1-e- on Tind~r hH(;; 1 ask \'.:h.'tt thal i'f!Nms . .-"ln<l she .:Si!J'$. ~foH· t-.Wllw, hip-$.tely thirt)·~to1nt>t'bing folb. Sh~
        b,1d mVH-' JU{';td1<.·.>. Tb.<:y '\\.'<;:H' i!ll $<".; 1..·utf:' •'<ts.d foi:::;k.}d -:So id~:ndly and \'-'<".nn and fon. But ht•1•· d1..-.0s she
       d.istil'J~rdsh that fr.om. p~oplt' in _;.:;t'WY~)rk? Sh!'.' <lercrib<:>.~ a typical pb..~w (..)fa N-ew Yod:.-(·r a.s a ~f:"ifie takt•n in<~

        f~Uit.'Y lonngt' h,1\hHl~)fl-l \Yhik-we.:wiug it s.uit .




       •-".i' a c:oHege :.:.tu<le-Bt, -Lo-founder Justin ~fatoten pt-rfoc-t-.:d <\- sp.tt'm. (1f JH1tty promotion. H-t- \\·ou1d $tdke ,lfi

       il£.H."~m.;.·nt with <1 d'1b to iC'n~:un.• il mininmm of drink sd..:s, Ht:' would hire,, p"'rfonn,;-r. The-n lH:'\rnukl cnii:>-l

       x~p1vst"'ntutiYt-$ from thl~ fr;m.·mitiH and ~lor0.dtli:>~' of l. 'SC and r.".'CLli. VJ r-.'K'n.tlt T>f:\)ple~ r.1-1-omis-in~ ~' fre~tid:e-r
       for ~Yer:-· ten t1d:ets sold from <h.:ir h1>us~s ,md rt IUQUHary _prir.<!; if the:-.· brought cu<: lmn<lrf.'d p.::J1rsoer;;, Ht>
       t:o(l-k .-,, ,;·ut i:·r· szdei;-tht> Bl•)r<i-' n:ton<:"~' the bar i.-na<le. tfo: 11~_g.:-r hi:s i:ut. 1t v:<i:.» a good littlf' gig untll hi.£: par-:nts
       ·1:u:gan to bofo.•:r him ;:iil)i,:.ut it; \-\'e-rimd y.+,;mt you to 1~£: v. p.v.rtr thr<•wer, they s,1ld.


       Bnt il hdp(';_l ,-.-h~n SNn ~rn.d ,_,h1.:::..;i11 s,tarted Timk::r, th;.tl Justin kw:•,,; how to po})ufofo A p<uty '11F.·y lu.d di~dAin
       f\Yr tr<<ditio1Fll "-dveJ:ti.$iug; th~~· ~\·~mH•rl il Ht'\\' dw_U-t>nge, H'-' w~1Hi?d th~ v.pp tD" \~itt~h oa with the ntt>s:t <liffknlt
       group of pt>oµlt:-f'ilB~g,e f'.tudenls too young alld.St.)i.-..J;tH)-· ;1.ctiv:> to n~d m1iini:> ;,,·L1t11ig. p~Gpll"' \\·bi.·.. s:ni:it;.. .s ;t
       $-li£nH.tize<l prI\'i~tk"', H~ Wr}l\;f.-d ri::-01Je to j1:.in Tind.:-r not b~(1:1.'c.lS.;" thf'y S.;:t\1.; :m .Gd (ill F.:Kehook but h.:-OU.f'F. th~\­
       rKf>ptl?.~d i!-~ S.('Ai.1i •:ahw.



       So Justtn minC"d his contact~ foL· r.tv<l'fts and iir.;rority !.i1·l$. \\.hitney\\~-oh(>-, Tinder's ·dre p-N::::ident of m:\d~eting.
       r'-"Hl€-.mh~1s g(;lng t~• th~~ Appl(' SlC-H· «nd t~>Uing 1he .!iUY behinci. ;Jw {"Olmtc·r ah-out Timh~r .rn<l wr:rtC"hiug h::; i:'Y\~

       pop Vl!t a.:~ hr. b~g.-1u s-1,,-l_pil<?- dt!.\)i.tth; ~1w1~ n;<t~· h.n·(• b~:n ouh· 2.0l"< pt·opk-. ,~h<: r~men\lwr::.. b\Jt tht>:~: \·-:1,;'\·f: ioo
       <:',f thi:- prettit>:tt girl.'!- you v~ fl'ef 3'-'C!1


       In th.:- bi:~;imrin.r, ~ln$:t.in nr; indit:idual Cil:ml:;,;;.!g_n~ t!J <'lKOUO.KC p€'opi-e w siga \lp. He \\·oui<l text ~.-irh pe!'30ll
       ]J{'!'s.on<tlly. H-€' t.ny~ted ~Yhat hi~ .:1Hed so.:::!.1l infk~w;,ep.:, ,1vi:;ldin.~ thl" .:1\-.--bt<Hd t·rrn~·d of ~·~op!~· p1ob-.:1blr mo.5:t
       in nt-=-d of .'I. UF\-<: v:ay t01w1ke i:fo:1d~~. ·nH.'H lw h~t 1 !SC. t>Hbiitiug th .., lh'lp cl h15' Y'-)'.Ht,S.-t>r brotht.'r :':.n<1 ~~Ste<« 'ffho
       '"''H»· ,!tUdE:<llt.S rh,,;:c-. Ht> L-nmd•-~d Tfrdt>-r M: t'"r:ili)n:i' with <1 p;i.n.y fot JOO rsc :itUdE-nts at hh p<'IH·flt<'' ho•u:"-.•.


       Hi: shov:s m~ a ph(;to oftt iron1 .h1s.t<'gr~i.n1: il r·')''Jl in th~ $\WShin~. ;;hirtl.:-ss p2rt;:gofls, lanterns, i!.U inflat(1bl<:>
       $hde. To hi;;:; mother's dnglin, he hung a gi::int Tinder hann-?r tro1n the roof. Th,1t \Yi!$ sixty-t'-"'D we<2':kS- <"t:?O. he
       -s.:1y~. usin.t:: In,$l'ligr,1m·:c< prefc-TTedn;Nric of time. A vi:?<~r nnd b?n w.;-ek~ ;.>,ftfl tlw pl)i:,;1 p;irty. th;;-- c.ornp.:iny d:\hn.~

       w kw~ m.'1-d.;- a hclf tmi,::m m.:ttdi.ts ;;ud rt-gbtuu. .150 million :c<.\•,·iJ*-::i- <; tfoy_

       Inf.pirP.'<l in p.:irt. b\' th-e path cf F,ltt-b(}ck, v1:hkl1 bnn,:lw-d first at ~~1ltf..> r.•clle.gf..>.::>, ~lu.stin turned Jtt->l -j;_~st to th;:- J-.~­
       Le,~UI': hut tc sch.::•Ol;? kH0\\1)_ for th~-ir good p>'lrtl~s. After ;:.~.z-ding         rsc. .Justiu .:-in<l '\\'hitney tr..w.el.:-d tv f<hoolt;
                ..n: in Dr.H.1£:. \\11itn.:y nii2.ht 3;:,)JJ<l on ;1 tahl<? in .1 fr.:tti:-rnif}' <md iHnKnmN th,-;.t thi:-re "YE-re 200 hot
       iii:<' :s~

       sorority gid:: (;n rhe ,1pp •....·a~tin:!- for the n:n:u to si£ll up. then nm to th€' S\irnnt;.· ;_i;nd teli t:h~m th~ re<:.:-rse:-. The-y
       ieft .1 tl'<1i] nf st:i(:l.:<.:.!'$ behind them··-in the lx•.::-1 i~...=nnpvs. bJ-D, in the mo$t eselu;;.ive nig_htdub-:.:.




       1 w<'is in ;:-, :mrority. so l law~'-· iK>V< to ~ct into th<: l1r.ains of ~~orority gids. sa:;.--s \'>1u:tnA_v, \dK1 is il<;h· :q .•Jwtin
       knH·> hov: tc :get t;1H, tht> brain ..,: 3n,fi thi:- pitr;ts of s.:;r<irity 2irh. For colieg.:-sthey fl.irl iwt -.,.·ts~t, .f1.1s:tln hin:--,1 a
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        i\!y 1nt~rYivv.;; h'ith Tind<!:r·<; ernpby'-''='''l. tt..'·nk pli.:C<: lo.:.; If in thf;-1r <;ftic..•s. half in thf: le;_,_tlH.'< rut(:'rior~ of lu~urr car:<;,
        or y.·hUt" desc<?n>ling in thi:- l?~o;;.\·at<·r from bnui.iJ~ rit :3-oho Hons\" or \\\'liti1l.g for th\" >"«let in the :ga.ni.:-ni?i·:<;r.~nted
        dri-..·.,.. 01· the Sr.\">:'rly Hms H0td. ,hstin 3n<l 5<2an g_re\,. !,lp rich ~nrl. porul,w int (it.v of .suri«('f.> ;mrl i-h;:.en. The-~·
        ln;:f' nont> of thE> afr.:-n;1tion~ oi HoH~·'h'Ood <?f1.1ti\'FS. (11h"Y \Yf»1:r fl;uu;1?'1 Bhirtr> .1ud sne.~k~rs: th<?ir sharE>(. <1tfi-t~
        is lilt'-'l1.><1 'dth :'71:·;-f f,Un dmt~.J StiU, their .i~lHt: i.mdu.s.t.:;adiri.~ ct the nwlric.' of S<ld,<l st.',tus ,,_eem:> il µr•>du·~t of
        the-ir t'nviromnen\. SE-an 1::.- the ht.":nebod~· ,:if th~ th«), µr~f<::-rrir.t,S. tht" <>~11.np.any of his gidfri<!lh.1 of s~x muntk>.
       AL'x.i., who i;; tht< 1.fou.shtn 1)f .:<.Hc:t;;d DcH, thf; fo~_m<li.:r an.J CEO of Dell. 'l1wr met on Tmde1\ <md hE:r friends
        C'<'ill ht;or Tind:~rdki, Thinis $-i.~t .:rxh~-:1.r<l it! famih· fun:::ti~m~ 'dl.?-n se-~m Ct)iiW:s thii.t ~t)liipUt('l'S /;l'f.- dr'-ad


       .Justin is. rnore r~ffoih. li he i.:. ie5s intei~st<:-d in ha\-ing a .:.erious rdrttionshit> th.m Se<in, it is l,s:-<.'au:s<:< what
        t,.~nuinei;...- S•~ems to nHke hiln h<q:pi1;-.$t i~ ]$Gil~ l:>Ut in th><; \\"Orld. ffl.i:thng lH;>\\" frien;::h, .1nd pC-i."t~Ultd:ing_ tJ1.:m to

        dv1rn!o:id Tin<:l~r, His h(•me. <'t sp<tdou;_;; bung.~JO\'-" on the ·tordE'i· of Bt>Yt>rly Hilb ;,md 't\'(>J.1. Holh•,·ood. foc-l.5' Ek.:-
        " b.u dy ou•up~o'.'.'d iwtd. (He s..:k'<.'t<::-d hi:;; dilliug-·w:iom Vtbh• beetHlSl~ lt rdnindc-d him 0f tl~e k•bhy of lht~ Debnn
        So\~th B<.:·<u;h in .:\lhmL)




        On<? <la:-.-· hr li<i.d . -1 1nnd1 meeting \~·ith th{> produu•r.s: of 11h• :itindy P1~fect ;1•;hi~·h \\m he- pu.ttlng Tinder i;1 .an
        up«>Jnl.~'s-epis~•d.:-, N         l 1-vd<:-- r.foni \\.)th him. ..-\s l li~tene<l to 11imchat 'd~h lus art ('Oflf'.l..1lt"1nt-:: oYer Bht.;-taoth in
        h~s bhd~ Merc.:-de:; ST.:Y\<.'ith its Tin<loer t>tkh-r on thE< ~pare tire. I wond~re<l •~·hi:ther LA.'s \.'1P·o"iJs~S$ed
        r:·ultun• h;:~d 2mn~thin.g lo do -.--:iih tht~ <.'<..HnpJ:m.-'":.> exponenti<ii gFJ\\·th. It's diffo:uh to im.Jg-iw::· TimlH' z+oming
       frorn Silit'on \\1.lky. The b:y tc 1.\;~d•:r····thc <lot~bi~ OJ.·t··in···fa an id<?« born ofre-.d-\-.·od<l -experiem.·e- (this is l'drnt
       ~\...,U w..tnf in. it bnr··--to kn::.ns th:tt tlti.:' ]!{'i'S:<.'?D you ·want whkon •Y<lnt:t you t"t! hit on him <.;r he1) M 1;.pp..)5ed ro

       ~~;:.phistkrttf"d c...1mp1H<"r me.hi<":".. Fm cn<e in th.?: ti?i'h 'Soi ld. t1lf' wci>tJly g1it.e.1 <~Te l-e-.1•.fo;g the son-1Hy stuntt?d




        B•:--n. ir.;r:-:>3age.d uw fa:H. H0 \o.::,i-:; irHele:,tin,~. bi!"t~ui:'e bis i.<:tgHu{; .said. Tan. dvminu.nt rn<ui ~~(;-ek:s ~uhmi~~siY.: ~id.
       JntcUigenc.::: «nd humor il m!.<.~t- Hf: at.rHd h.~ b.~ 1nt.:-1-.;iewvd, then added. WiH stiH put the n«.-.n·$ ~·n y0n,
       (;i.)yion,;-:j:--. Good, l thot.;~ht, st:;;;rh~ with bor~d.o-m ,'l:nd r<?stntm.€n! ilt m.y phc•n<:-. H~ uu-n€d out to h~ ,1
        '!.<:.nti<2'm,1n, $<1',in;~ ht'' h~1s us,;:d tht' s~r\)~·2 t.i:i thi>.l;.P fri.:-ni-l.-; :l-s nnh'h ,,-,,_,..,hi:- has to f..'ti~thrntr his .BDS)J iE-tlsi>. ~am
        no~ into f.lDS:d, h1n I did feel h.1p]JY \-..·hi:-n Bf>H kJ~,s~d me- i"llid th.;;r, \Vhen h.:- te:t-nt.=-t.s:t_.~?d mt> a 1Yerk l<lt~r .1nd

        f:il!fod m<? d.a::.fo~g.


        l l;dh>d iu :t fur~)p-i.><:11~d-w11:-..~·s. TtndC:!'\t"hilP tr~w.;•ling for wcr}.: J uotic{;d \\·L•..:n 1 •-..3~, il: tht' l\iirh,-<",."t thn1 ;.:1r1::-.
       weu far more apprn.adB.bi<:, h?> s.1!d. The\· re-tun~ed lne-s:.'ng.es U'l..01'~. I t:tU~·~d to- a H·<'h CQr;:;:.nlu:Hl in L<.>.;< AU§1:"'iN
       Fho m;es Tind?r t•:< f';1\i',·t>n & <lnH .-;r (ff»l·h- i;:.1lf' -s;""Jf'i-11.-::itu,~tio:1--Eki' the k,:.r had<f-lnr ',J,1.rtv he 1v;:-nt to in L:.~.
       \-"'_g:,1L Th? ;1:uy~-; mf't :;(1.m~ ~,·.-:,rne~r on Tinder. P~<".>p}e('•)upjed off. Pei:1pie got n . . l;e<l ;'.Llyh~m <"ESt:.ed.1 a~t.;oi:l
        about ihe \\·omen ·--\-..l;'te tb:y, ,:r._...:·om La~ \"J~ftt:.<? ·ni.<:y ;\·enm"t kKab. ~uid they ~\-~r.;.n ·t hooktT.!c-. he s_1,i<l Th('~
        didn't n~ri:o;; to he: l"b.:- ah.);'~ l':Spe;·i~nce i:t \,·}nt p.:vplt" <?ir~ 0ptimizing. frir -;xh.;-n tho:::--y're sing:k in V~_g.,:s, h~ .:>c.y.:;.
        H;~ ~~Aid b~ lM:-. friend:; thM $!.-ii'rt h·ing np tht· ;,l>P <l:.~ ::'(X'JH ~is tht•;: l<1Hd :o\t Hi~ ;\irpt•tt.



       O:ne <'<'lnar<l is th<1t Th;.drr disprnronk)n,;tely fa-..·(;;rs th<:- b~ant~foL I S\-.":ip..:d f)ni:- ;pi.y, David. to the 1·i:?;ht lr.>.:.·::ni:se
       h::is phi.>to nh1de tu<c" }.;~h. H<? had t.1k-e~1 a f"ommon trnpE'-the pt1infoHy seri<>Gs r,.;_;lfie-and tnmE-<l it intc ., .~·:<kR


        lie mcssag-ed::. f~•Y dars later and tunwd •.1ut to he Ih€' most overtb· .::.~xna1 penim l ehatti:-d with (·n Tinder. Lit.;:-
        mo5t het.:-r ..-..s-0xtml$. I h~iv~ spent ;:-.:-an;. \\'itt.:hing my g.1.\' frit·ud::.. uuise app:.:. lih Grindr 'idth n:mted fascir;..,.>.i.100:1.
        Haw t'"-\$)' it '·"'il$ for \Vining mE'H :.t_; haYe .f'pauta1wous: S'.i?-X with \,lctranf.'~f:'r~~! \\l:1.~l w;.i.-; wn•nK v.ith wonwu likP me,
       e".in~Hy i,.\'ilHnz: .rnd <l~!'Simm:. <>t k'.ts.t in th.:;>orr, hnt m pnNk ...• :s:-o finH'k.\· Jnd inhibit<.'d? 11k• i<](',) ~A a Gii:dr for

       ~ti:;;ight people too1;; hv1<l in th<f' herero.$-?.XU·'."ll in;.1ginatlcm, h~('<)mlng <: ~~<.trt of holy grail                   But it ri:~;.·.;-r sel?fiWd to
       \~·or!~ out. Bif.-nd1· iws a prett-; sordid fi:-eling to it. B.1;1g With Fril>"nd.-. wa~ com:.ri;.·e,] <lnmJ.:r.-n1~· and i:-n.d'"'d in a
       }iHS!>Uit.




       \\"h;;on Tind.er J.PP~•'1;t€d. its rnimi>2'ry ot Grh;dr·s !oct<ti..,n··b~\sed .lppt'O,\•.'."h ~1 €erncd to in<li<.:-at;:; tlrnt Grindr fol'
       ;..trJight 1N;9Vfo h<.,tl fin:tll).· arrh~~t~. S<.>.'l.r• ;;ml Jnstin ir:~b-t that th::tt'~ ,1 nl.i<::chzu.:Jxtt>riz~rtk1n. O,Jan·i-c<l p,;-1,>pl:.> . ·..-u1
                                                                                                                                                              .
        ~•Se' it t<.• UW'(·t tenni:ii pJ.rli.i-...'1::. !) B!lt !ik~ most ptx~pk . r k1oh· th<:' diff~.te1•.,.·e- bf.'-t'i:·<O'~n f..'Drp<n·de ~·ky\~Tit1us <1-tid

       y:hat hun.nns i?:r~ ;;,ctu'1Hy hk.:-. lf >formons in l.~t,1h <trf' using Tirn:'!er to find hus.bands .:lnd wiY;;.~, hf:doni;ts iu
       Z\o:w York iHf' fn1fiHin.g, n,f.'ff rln:.1ms of.:; fn~uri~t.ic lll(Jbih?·plwne-~o:s: Ut'.~piil.


       J h<.tY0 .~h._w::1y h.:td \'. l\~(~ f \\"(J\.;ki. <'.:".HJSith:_•r 5(•Hl0 prcli)' iJMpproprii'.:h:- thf;,;lgt:t3 i;om·<.'1Hing :nm HJ f.;n-. \\TOk
       D.-sid. He h;vl u_,;e-d the 5.:?r•;ic:~ fo-: zasual sex lJt>fort:<. )iy h--.,x-1 ~;f.l~ll<)w]edg:~qdwn .h <.'Ornes to SEX, th~
       1.JSychvbr,~ f;ehlnd it           an illi.<l l<".>t.0 ("<{tun i'tuff i:,: not H>mc-thiu.5 11:id~, H.:> $,'lid ~~:•,:1?r,;.t ;yom.~n h,'l\."l' lr1.b.n
       ,'!dx·,:mrnge othi~ ron)fr,rt and C(•nfide.:Kf.' t•;. use m~ for f'?X .an<l ask ru.:- tv h.flp then e':P.Hienci? .new thing.::-:.




       1 to!d him l ;-,·;:,>t~H b~ i1attl"::.:.t~d ili m~et>n( t:p"'_at i><H!ii7 ~~vim This \>'k.> t'0fftjin~· - lL• ,,:antl.•d H.) n<<..>.::·t up d1~t
       nig~H. \\-h0n l .;;aid no. lh~ aski.•d \\'h~-- l t\.-.hU1hu 1 had pbns >dth frlencb . t:fr ._)if;:-red to pi<:k me up frr)m th ..~

       rJ,)li'.l l   "'·'<$ :;.:<.)lH~ lo. 1 \\rf~i<o', ~'J, f"!.n fl;.o.th~·rrd hut jn:>t "\l",lJ>f h• ihHtg ;;ut v;ith fri!=-n.<ls tolliKlit. H<i sug~<:'st:-d ,_.,-e
       nw~t ;;.ften>-.wd.. X0t t<">night, l \-,1.ote. He «f.Fed ,,·l:i,1.t th<: r.:-,11 re:6on ,~·;-..t-, l y,·:L~ guikvof making ~m ow·rtJ.:~ l n-o

       k-ngs:-r w;:mted t•) h ..:-p . .:md thing:: snrts:-d (i:i:;hng l<:-ss lik'2" t1frt,1tion th~n. UH\\·ant<i!d pres.sure. Aft.:r a .;-.:-;t,)ill
       point. l !a:.e1~- i would Hot be h;v:ilJ.g c~'t:::u.:1t 5{':\ >\-ith D.:wid.
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        thilt \'.'<:t)'-·· l 'kn<N' t{J(J many·w0men \-.:ho h<:tYC- U::'(:d <la:tin$ 5k'f\'l('eE. for ('MWll ;,;.t·~. ~fo.'>t ut.o\fo:stxeam di"itir.~
        rnn•p:zmii:-f, ..fo\\·npl.:iy or ignni ~ th? ust" of fo<'"i.r ;;:ervk<?.~ fr~r f'a~n.al i'".<'"X, th'f phi.kisophy hei1:g th.1t })rop1e v:ho
        "'·,:..nt til.:it wiH find it. H ~;isud ::;e:.; is the m.:tii;. sening µ..•int, h•)'se..·~r. p?.ople- \'.'ll<.~ dr;-;J/t w.~m it will be' aii-:-n,1t('>d.


        B-tu ~•onwhm<:~ one whh:t•.:. the jt(•:uius{cS of lhe 1ech wo•kl "•;;·uld ~tddn::>s e<:rt~dn p.i-ohkrns <.·ven rri.01-.:-dit.:i:·tly.

        E~\~~ib~tri~!~:~~i:l~\~ig;~ ~·;~ ~~~;~~~~w;A~~;;;~~:;~~~o~·1~~~.~~~ 1;g~~-.;.;~~i~€~\~1~~1\~~g1:1gf1~~1fffoi~~·13i;.rcuy.
        B{'yond proYing th»1ol u::;ers are r.:-~I b<:.....·..:n.ts-E>they IHW' <l. F~tcx,1x;ok ltl'C<:<lH»t. h,:i\~· .:-oukl a dMil1g app hdp <>
        ::t-Xlt.:<Uy n<ln:nrm·mt:! -~·omjlH 1)..:•th purs::i.i: -1.·.:isu.,t encount{'"n: ~wi:d ;:efotbly n-t potential y,;:111.nE-:i:.·s? H(.,._\, <;0:J.l<l it
        ht>lp hP\- minimfa<.:> the: rl.$.k (Jf 1'.:rpt?


        I thought .1t::o f"ff the- plGi,y I 1ns hf'~1d<:d ro, ,,f th~ prohl;:.ms of cre-:<pine.r-s that Tinc<~er p\1,rported tc H!ln•, Th.:-re's
        cr.:-i:-:pim:.ss. :.i.nd then th;;-re'r th'E' ,siigm.<t of eYeiyd~lcY !on.:line.ss <1Hct dt-sir~. B\1t isn't d('spen.tion on.:- ,)f th<:"
        ::~nimating for;:~·s oflit?? 1 hn1:.i:--1.t my fri•!'TitL ~~·onld not 'l\·;;il for the <louble opt-in, th..;11 they '.HA1ld (Tt'."l"plly ~~:-:..!~

        thdr ;.'n~;;h~,: ;t; be. !heh Fac•:b<.)tlf, fri~nd.-: 1 ih?:t th('y ~,·Ndd ~.>:<:~\H' at f:'ad1 otht•)·, ,:-,ad reY~Jil theirvulnernhiht~\
        and m?th• &w.r-nt,l_<iting. -1.-'\-€rtun:':'- tlwt ".\Uuld he ntt::t with cat,:strnphkaliy emb,'l.lTh;.,sing rejE:cti-(tn.f'. 1 •·nmt V> my
        p.<r1y cli.u·in.1_:; \1.'hi-.'l.i D:l\~;d ·t1:-xl('d ~W!<.""e··-imd 011<:(' th<.· !h.'Xt 1nornine. ~uki 01.Ki'" rhi! <la}· .:1.it0r "t~.h1t. :-m<l tWK•'" thi?
        folk:.,•"'"\1;~ :\Jon.day.




        S<n«:ih i::.: th~· kind of peo:-;;. ...>n 1dl".Jj<--'}Jl\.'!><.>m:~ on «H o.nlir'{' d.:ttfog :.ili.? "'cm·ii>-t.'<'.::.O i::·Ye-r. . ·cn;.' (•1$0 th,~t i1\;. iwnu.:.i.1 to
        l<se it. Sh<: i,;; ~\ nJtiYe I\'f."~<\~,.)lk(>r. :1'13 ;:~aff old.. be-~mtifol :md ~~y1i>h. \dth .:J. job at .J. tt>d1 •A)n:ip<::ny il1.l.'J ;t i~rge

        n<:>tv.-r11"k of t·;.i;;-nds :m<l farni1y in tht- <"if.\', and :;.be'£ ~mme<liatt"lypH~'i'i\':'.<bh,. .1..-; ,,, hr..vp;,'. \~·fll~roun<lP<l p€-<·fon.
        Likt": m.o-:;t p:;>r;f•lt> l inte1..,<iewe..:'!. :=>hi;- h.:'1'$ trl-e<l other rb1..t!ng ;0itE's-HowAl:n)u(\\"e, G-.·c;np•:T. ~)lz('upi.d-bl\t she
        \\"2<.S ix1os.t drawn to Tind<:r b.;-c-aus~ sh€' d1:>-eBn't h.a..-..;: to :proYi.de any infortu<i.tion. She- found BH•St pe-oph~·~ ;:::elf-
        pn•:S-fl:t;itiou on Ol.:Cupitl t<:<i) <'.'akti.i.atl'd: ·"lsr.i, you h,1\-IO: tO"\\'Tite so nmeh. Tbldl'l. she s<ty.:i.-, i.-;. ju:;t ho'<\" ycu
        ~"·oulti :;o i1b0ut thinis .at a b:~r. m;d a.s -:?-tisy a-:.;<' Ft;\:'<.> book hb.'. You fook i~t -people. pid~ on-e \\·ho !ook:i> uke to

        ~\..,.ll, thi:n try tt) t&lk to him,



        Sar.)h 5-{'em:.;: t•-, proY.;> ti:.;- t11i;-1;ry that Tind;:oi.'_s s-.1-i:·c.:s:> h;-;.s to rl•> '-"':ith ir..:"'' .appl:'<il to \-.--em.:--n. R.>therth;m ;1 totd
        inund:nion •~·!.th mes-;.ag~s by strauger--s on OkCupid, ~;.a rah g;i;t;s re" divos~ whom she iikes. Go-ing through
        po:.euti:il dnt<•:> does r.ot t?tk.:- nr, aU her time--she eafi e,Hi"ly-<·,)~·e1· a fr·\'-. do:,;-n in ,'I :,.p:rn <Jf minuft~~.


        She j<;in"'d Tinde· in th._,. mi<ldk· t';f :S...>pt~rnh~r. Sh~,. was .cih1)li"f to switch ),)hs <ind w:u: \\'indin~ tbin.g; dom_; at a
        pr~~\·ion~ job. 29 shi::- w<;uJd. s~)<:>nd {ou;; c,f l.inu; pL'!.!ing on Ti.udt:-1, Sh":' 'l'>'Af: th.;- fir.st peJ.-sou T ink.i;Tie\\'i:d, though

        not the only on<:>: ''-·ho rt>ferred tn ash-,g: Tind.et''lVith the-Ye.rb play. Contr::ny to ;;:om~ .opinion:::, S:-.rah found ~;ht­
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Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 176 of 189
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      Case 6:21-cv-00147-ADA Document 15-7 Filed 04/22/21 Page 177 of 189


               Sarall Paulson's Career Advice?   Life On The Move: Look Book
               Don't Succeed So Early




Magazine                                                  lnstagram
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                                Let us know.




                Tinder's First Non-Dating Feature Is Speed Networking
                For Forbes' 30 Under 30
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      How Tinder Solved Online Dating for Women
      By Ann Friedman




        In July, most of my single female friends weren't playing around with online dating at all. They
        were busy with work and friends and not looking to settle down immediately, so why put the time
        and effort into meticulously constructing a profile, screening dozens of messages, and going on
        dates with guys who look nothing like their pictures? By August, all they could talk about was
        Tinder. They were each meeting a couple of men a week. By September, two were exclusively
        dating guys they'd met via the app. My friend Jenny refers to her boyfriend as her "Tinderoni
        (http://www.dailymotion.com/video/x1vd1k_bobby-brown-tenderoni-live_music) ."


        The app (http://ny1nag.com./thecut /201;3/ 03/dating-app-that-truly-appeals-to-all-genders. html)
        is simple: You're served a succession of photos of people who meet your age, gender, and location
        criteria. You sv.>ipe right if you want to meet someone, and swipe left if you don't. If you both
        swipe right, you can message each other. It's fast and casual - a far cry from many dating sites'
        detailed filters for religion or hobbies. Tinder just pulls photos and basic data from Facebook,
        and in almost no time at all, users get to do exactly what we all do in social settings anyway:
        judge people based on appearance alone.


        This is exactly the sort of scenario that we've been told women don't want. "I think that women
        more often than not v.ill say that they're looking for something casual, and there's nothing wrong
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     with any of that. I think deep down, though, most women don't actually believe that," says Anly
     Webb (http:/ /wvvw.ted.com/talks/amy_\vebb_how_i_hacked_online_d.ating.html), author of
     Data: A Love Story (http://www.datalove.<;tory.com/) , summarizing the conventional
     wisdom. "Most women do want to be in a long-term relationship." But 45 percent of Tinder users
     are women - and they seem to be just as comfortable with the app's low-commitment
     objectification as its male users.


     Before Tinder, hetero dating apps were something of a non-starter. Years after the hookup app
     Grindr had become fully ensconced in gay life, the online dating industry had yet to counter with a
     version that would appeal to women
     (http://wvvw.newyorker.com/onl ine/blogs/cult ure/2013/ 02/ <la ting-a pp-for-;vomen-that-isnt-
     av,ful. html). Tinder has quickly surpassed previous efforts - like Blendr or OkCupid Locals -
     and is now the fastest-growing free dating app in the United States, facilitating more than 2
     million matches per day. Of roughly 200 million ratings per day, both men and women swipe left
     about 70 percent the time, and swipe right about 30 percent. Women are using it, and in roughly
     the same way as men.


     Pulling in data from Facebook profiles was once thought of as the third rail of dating sites,
     betraying the lingering shame users felt about connecting their "real life" with their online
     courtships. But women like the fact that with Facebook data comes social accountability. Even
     though a profile picture might still be five years out of date, Facebook is ruthless about cracking
     down on fake accounts, and Tinder shows you if you have mutual friends, who can offer further
    vetting.


    Then there was the old trope that, unlike superficial men, women need detailed information on a
    guy before they decide they're interested. This, too, is disproved by Tinder. As a bonus, its non-
    profile profile circumvents the panic that comes v.>ith signing up for most dating sites and
    carefully answering dozens of questions designed to convey who you are and what you're looking
    for in a life partner. Webb, who recently gave a TED Talk
     (http://www.ted.com/talk.s/amy_v,'ebb_how_i_hacked_online_dating.html) about her strategic
    approach to online dating, has gotten 1,300 e-mails in the last week - So percent of which, she
     estimates, are from "people agonizing over what to put in their profile." When the profile goes
    away, so does much of the stress. "I wasn't really open to the idea of strangers (or even worse,
    friends) coming across an online profile v.ith me describing in depth," says a 26-year-old woman
    who lives in Brooklyn. On Tinder, though, "I'm not embarrassed to know that they might have
    seen five pictures of me and a Simpsons quote, as opposed to my deepest, darkest desires."


    Crucially, Tinder also solves the inbox onslaught problem women face on conventional dating
    sites, where some men send messages en masse, overwhelming female users with the same
    useless "Hi, what's up'?;)" On Tinder, users only get texts from people they've indicated an
    interest in. And Tinder doesn't allow people to message each other with photos. This is a perk that
    gay users have come to appreciate as well. "It's just way more mainstream" than Grindr, one
    friend told me. "The whole dick pie thing is not part of it."


    Perhaps most important, Tinder is a far cry from the exercise in self-flagellation that online
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           dating has come to signify for many women. "It didn't feel like offering yourself on a plate to a
           collection of the world's 'lonelies,"' says Natasha Bird, who lives in London. "It also allowed for
           the more casual type of connection vvithout seeming totally sleazy." Tinder is fun. People sign up
           because they're drunk and a friend dares them. Or their circle of friends gets to chatting about it
           at a party, and everyone signs up together. Several people they told me they call it "playing
           Tinder," and a few had even invented drinking games: Take one tequila shot for each bathroom-
           mirror selfie you come across, and two for each person you know IRL. (Or find your own meme.
           My friend Kenesha has a large collection of screenshots of men posing with tigers.) If you haven't
           sunk hours into meticulously creating a profile that you hope conveys the "real you," then you
           aren't as hurt when you're rejected.


           "Tinder was just this funny but also kind of exciting and socially acceptable thing I could do, and
           with low expectations," says Erin, who lives in Minneapolis and met her boyfriend when they both
           swiped right. Even online dating veterans crave the serendipity of meeting a partner "organically,"
           without the comparison-shopping pressure to determine whether he or she is soul-mate material.
           It's hard to feel romantic when you're running through the list of red flags you noticed on
           someone's profile, or if you've spent the past week obsessively Googling them.


           Still, with less information and more spontaneity come a certain amount of confusion. One of the
           most common complaints I heard about Tinder, especially from men, was "I don't know what it's
           for." If pay-to-play sites like Match.com are for serious relationships, and free sites like OkCupid
           are for dating, then what about Tinder? Right now, the answer could be "casual hookups" or
           "last-minute coffee dates you feel free to flake on." But that may change as use of the app
           expands. Tinder co-founder Justin Mateen says they've heard of more than 100 marriage
           proposals among Tinder-matched couples.


           Webb thinks most unhappy single people are dissatisfied with dating, online and off, because they
           rarely stop to think about what they really want. Tinder's popularity offers evidence that even
           thoughtful singles have no clue as to what's going to make them happy. Both men and women
           sent me dozens of stories about how they signed up as a joke and planned to use the site for
           casual hookups, then ended up having meaningful relationships or, in one case, a two-week
           romantic getaway to South America. Maybe, when it comes to online dating, ignorance leads to
           bliss.




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                      APPENDIX5
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